     Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 1 of 182




1.                  Attempts to Confer                 3

2                   Jamea Deposition Excerpts          21

3                   Purchase and Sale Agreement        40

4                   March 2, 2022 email                85

5                   First Amendment to PSA             88

6                   June 17, 2022 email                93

7                   Second Amendment to PSA            95

8                   June 20, 2022 email                99

9                   June 21, 2022 email                102

10                  Appraisal Excerpts                 106

11                  September 16, 2022 email           112

12                  October 19, 2022 email             114

13                  October 21, 2022 email             122

14.                 Revised Title Commitment excerpt   124

15                  Grant Meadows RFP Responses        128

16                  June 7, 2022 email                 135

17                  Grant Meadows RFA Responses        138

18                  CenterPoint documents              143

19                  Emails produced by neighbor        150

20                  Notes produced by neighbor         155




{W1256485.1}
     Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 2 of 182




21                  Text messages produced by neighbor   157

22                  Declaration of John Lyons            159

23                  October 20, 2022 email               162

24                  Affidavit of Matthew Baumgartner     164

25                  March 2, 2023 email                  180




{W1256485.1}
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 3 of 182




                EXHIBIT 1
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 4 of 182

                            ARMBRUST & BROWN, PLLC
                              ATTORNEYS AND COUNSELORS
                                      100 CONGRESS AVENUE, SUITE 1300
                                          AUSTIN, TEXAS 78701-2744
                                           TELEPHONE 512-435-2300
                                           FACSIMILE 512-435-2360




MATTHEW BAUMGARTNER
(512) 435-2308
MBAUMGARTNER@ABAUSTIN.COM
                                                 April 4, 2033

Via email: robert@porterfirm.com
J. Robert MacNaughton
Porter Law Firm
2221 Voss Road, Suite 200
Houston, Texas 77057

       Re:     KH-REIT II Funding XXII, LLC v. Grant Meadows, LLC; Case No. 4:22-
               CV-3730; In the United States District Court for the Southern District of
               Texas

Dear Mr. MacNaughton:

        This letter follows our conference call on March 23, 2023 in which we discussed the need
to exchange documents soon. We have still received no documents or supplemental discovery
responses from Defendant in the nearly two weeks since that conference call. As you know, the
Court’s scheduling order sets deadlines that are fast approaching, including: May 9, 2023 (for
joining new parties) and May 26, 2023 (for Plaintiff’s expert witnesses). We served Plaintiff’s
discovery requests on February 16, 2023, shortly after the Court issued the scheduling order, so
that we may meet these and other deadlines in this litigation. Unfortunately, Defendant has not
responded with meaningful discovery answers and has not produced any requested documents,
and has therefore jeopardized Plaintiff’s ability to meet these Court-ordered deadlines. In addition
to causing needless delay, Defendant’s inadequate discovery responses have also caused Plaintiff
to incur avoidable expenses, including for repeatedly having to request that Defendant comply
with its discovery obligations.

Defendant’s Initial Disclosures

        Defendant’s Initial Disclosures are inadequate. In fact, Defendant served its Initial
Disclosures after Plaintiff served its Disclosures, and did no more than copy Plaintiff’s
Disclosures, nearly word for word. Defendant must make its own disclosures. If one party simply
copies the other party’s disclosures, it defeats the purpose of the parties telling each other the
information within their knowledge –– e.g., the names of non-party fact witnesses with knowledge
of the disputed issues. Please supplement Defendant’s Initial Disclosures immediately based upon
the information Defendant and its agents have.




{W1221684.1}
                                                                        EXHIBIT 1 PAGE 1 OF 17
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 5 of 182

ARMBRUS T & BROWN, P LLC
Page 2


Defendant’s Documents

        Plaintiff served requests for production in part so that we could gather the documents
necessary to determine if we need to retain experts, and, if so, to provide the relevant documents
to the experts. Defendant has produced nothing in response.

       Defendant has lodged only two sets of objections, but neither allows Defendant to withhold
requested documents—and certainly not its entire document production.

        (1) To the production of communications with, and other documents concerning,
Defendant’s investors and lenders in the property: As to these documents, Defendant has claimed
at least some of them are not discoverable because they may contain proprietary
information. These documents are clearly discoverable. The facts show that Defendant balked at
its purchase obligations after the market declined precipitously––which occurred after Defendant
signed the contract but before the closing date. Defendant’s communications with investors and
lenders in the property are obviously highly relevant to this issue and must all be produced. We
agree that Defendant can mark any documents that contain proprietary or other confidential
information as “Confidential” pending entry of a protective order.

        Defendant’s objections that the words “Investors” and “Lenders” are too vague to
understand are not valid objections. If necessary, please use the dictionary definitions in
construing Plaintiff’s requests. See generally, VeroBlue Farms USA Inc. v. Wulf, No. 3:19-CV-
764-X, 2021 WL 5176839, at *8 (N.D. Tex. Nov. 8, 2021) (“as a general matter, if an objection
does not preclude or prevent a response or answer, at least in part, the objection is improper and
should not be made. To make such an objection in the face of these considerations is to engage in
the abusive practice of objecting to discovery requests reflexively – but not reflectively – and
without a factual [or legal] basis that Federal Rule of Civil Procedure 26(g) was enacted to stop.
Serving unsupported and boilerplate or stock objections does not preserve or accomplish anything
other than waiver and subjecting the responding party to sanctions,” including – on a party’s
motion or even a court’s own motion – under Federal Rule of Civil Procedure 26(g)(3)….) (internal
citation omitted).

       (2) To “internal” communications, Defendant has claimed that such communications are
attorney-client privileged and may constitute attorney work product. To clarify, the Requests that
seek Defendant’s internal communications do not seek the privileged communications between
Defendant and its lawyers. Defendant should not delay the production of its discoverable
communications based on this objection. To the extent Defendant is withholding its employees’,
agents’ and owners’ communications with each other based on any privilege, Defendant is
requested to produce a privilege log that meets the requirements of Federal Rule of Civil Procedure
26(b)(5).

       Defendant also states in response to Request No. 31 that it does not know of any liability
insurance (relating to the power line pole) that the First Amendment to the purchase contract
required Defendant to purchase. This response is inconsistent with Defendant’s answer to Request
for Admission No. 6 in which Defendant denied that it did not obtain such insurance, presumably


{W1221684.1}
                                                                   EXHIBIT 1 PAGE 2 OF 17
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 6 of 182

ARMBRUS T & BROWN, P LLC
Page 3


meaning that it did obtain such insurance. This insurance policy must be produced as it is a
document specifically contemplated by the Purchase Contract.

        Please confirm that Defendant will produce all required and requested documents by no
later than April 14, 2023, or Plaintiff will move to compel.

Defendant’s Responses to Requests for Admission

       Defendant appears to have simply denied every Request for Admission without serious
consideration, including those asking for admissions to what Plaintiff believes to be undisputed
contract language.

        Simply denying all RFAs without any explanation is not acceptable. See VeroBlue Farms
USA, supra, 2021 WL 5176839, at *4 (“Rule 36(a)(4) requires that, “[i]f a matter is not admitted,
the answer must specifically deny it or state in detail why the answering party cannot truthfully
admit or deny it. Fed. R. Civ. P. 36(a)(4). A denial must fairly respond to the substance of the
matter; and when good faith requires that a party qualify an answer or deny only a part of a matter,
the answer must specify the part admitted and qualify or deny the rest. Id. Further, the answering
party may assert lack of knowledge or information as a reason for failing to admit or deny only if
the party states that it has made reasonable inquiry and that the information it knows or can readily
obtain is insufficient to enable it to admit or deny. And Rule 36(a)(5) requires that “[t]he grounds
for objecting to a request must be stated.”) (internal citations omitted).

       We look forward to receiving Defendant’s documents, its privilege log, and its amended
discovery responses promptly, so that a motion to compel may be avoided. Please provide all such
materials by April 14, 2023.

                                              Sincerely,

                                              ARMBRUST & BROWN, PLLC

                                              By: /s/ Matthew Baumgartner
                                                 Matthew Baumgartner

Cc:    Guillermo Alarcon (firm)
       Rebecca Brown (client)
       Laura Torrado (client)




{W1221684.1}
                                                                    EXHIBIT 1 PAGE 3 OF 17
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 7 of 182


Guillermo Alarcon

From:                           Weston Ray <weston@porterfirm.com>
Sent:                           Friday, June 2, 2023 3:22 PM
To:                             Matthew Baumgartner
Subject:                        RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.



Matthew, the vendor actually said June 9 th, my misunderstanding.

Best regards,

Weston Ray
Attorney




d 713.533.1933 | c 512.563.8114
2221 S. Voss | Houston, TX 77057

       PorterFirm.com


The contents of this email message are confidential and may be attorney-client privileged. This transmission is
sent in trust, for the sole purpose of delivery to the intended recipient. If you have received this transmission in
error, any use, reproduction, or dissemination of this transmission is strictly prohibited. If you are not the
intended recipient, please immediately notify the sender by reply email or phone and delete this message and its
attachments, if any. This communication does not reflect an intention by the sender or the sender’s client or
principal to conduct a transaction or make any agreement by electronic means or to constitute an electronic
signature. As required by the United States Treasury Regulations, this communication is not intended or written
to be used, and cannot be used, by any person for the purpose of avoiding penalties that may be imposed under
the United States federal tax laws.

From: Weston Ray
Sent: Friday, June 2, 2023 12:14 PM
To: 'Matthew Baumgartner'
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Good afternoon Matthew, the vendor responded with June 16 th.

Best regards,

Weston Ray
Attorney




                                                         1
                                                                            EXHIBIT 1 PAGE 4 OF 17
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 8 of 182


d 713.533.1933 | c 512.563.8114
2221 S. Voss | Houston, TX 77057

       PorterFirm.com


The contents of this email message are confidential and may be attorney-client privileged. This transmission is
sent in trust, for the sole purpose of delivery to the intended recipient. If you have received this transmission in
error, any use, reproduction, or dissemination of this transmission is strictly prohibited. If you are not the
intended recipient, please immediately notify the sender by reply email or phone and delete this message and its
attachments, if any. This communication does not reflect an intention by the sender or the sender’s client or
principal to conduct a transaction or make any agreement by electronic means or to constitute an electronic
signature. As required by the United States Treasury Regulations, this communication is not intended or written
to be used, and cannot be used, by any person for the purpose of avoiding penalties that may be imposed under
the United States federal tax laws.

From: Weston Ray
Sent: Wednesday, May 31, 2023 4:36 PM
To: Matthew Baumgartner <MBaumgartner@abaustin.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Good afternoon Matthew, I’ll get a hard date from the e-service vendor for you.

Best regards,

Weston Ray
Attorney




d 713.533.1933 | c 512.563.8114
2221 S. Voss | Houston, TX 77057

       PorterFirm.com


The contents of this email message are confidential and may be attorney-client privileged. This transmission is
sent in trust, for the sole purpose of delivery to the intended recipient. If you have received this transmission in
error, any use, reproduction, or dissemination of this transmission is strictly prohibited. If you are not the
intended recipient, please immediately notify the sender by reply email or phone and delete this message and its
attachments, if any. This communication does not reflect an intention by the sender or the sender’s client or
principal to conduct a transaction or make any agreement by electronic means or to constitute an electronic
signature. As required by the United States Treasury Regulations, this communication is not intended or written
to be used, and cannot be used, by any person for the purpose of avoiding penalties that may be imposed under
the United States federal tax laws.



                                                         2
                                                                            EXHIBIT 1 PAGE 5 OF 17
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 9 of 182

From: Matthew Baumgartner <MBaumgartner@abaustin.com>
Sent: Tuesday, May 30, 2023 10:33 AM
To: Weston Ray <weston@porterfirm.com>; Robert MacNaughton <robert@porterfirm.com>; John Lyons
<John@gorainmaker.com>
Cc: Martha Adams <MAdams@abaustin.com>; Brooke Wilhelm <lawclerklit@porterfirm.com>; Guillermo
Alarcon <GAlarcon@abaustin.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Weston-

Thank you for confirming on our call last week that you intend to reproduce Grant Meadows’s documents with
the metadata intact. As we are now well past the agreed production date, we need a firm commitment as to
when Grant Meadows will produce its documents with their original data. As we discussed, your e-discovery
vendor is familiar with the issues raised below and this should not take long at all. And, my client is at this point
extremely unhappy with the delays and has instructed me to seek court relief if the issues with Grant Meadows’
production are not corrected immediately. Please advise.

Thank you,
Matt

From: Weston Ray <weston@porterfirm.com>
Sent: Monday, May 22, 2023 5:07 PM
To: Matthew Baumgartner <MBaumgartner@abaustin.com>; Robert MacNaughton <robert@porterfirm.com>;
John Lyons <John@gorainmaker.com>
Cc: Martha Adams <MAdams@abaustin.com>; Brooke Wilhelm <lawclerklit@porterfirm.com>; Guillermo
Alarcon <GAlarcon@abaustin.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Thank you for the clarification Matt, I’ll get back to you as soon as possible.

Best regards,

Weston Ray
Attorney




d 713.533.1933 | c 512.563.8114
2221 S. Voss | Houston, TX 77057

       PorterFirm.com


The contents of this email message are confidential and may be attorney-client privileged. This transmission is
sent in trust, for the sole purpose of delivery to the intended recipient. If you have received this transmission in
error, any use, reproduction, or dissemination of this transmission is strictly prohibited. If you are not the
intended recipient, please immediately notify the sender by reply email or phone and delete this message and its
attachments, if any. This communication does not reflect an intention by the sender or the sender’s client or
                                                          3
                                                                             EXHIBIT 1 PAGE 6 OF 17
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 10 of 182

principal to conduct a transaction or make any agreement by electronic means or to constitute an electronic
signature. As required by the United States Treasury Regulations, this communication is not intended or written
to be used, and cannot be used, by any person for the purpose of avoiding penalties that may be imposed under
the United States federal tax laws.

From: Matthew Baumgartner <MBaumgartner@abaustin.com>
Sent: Monday, May 22, 2023 5:00 PM
To: Weston Ray <weston@porterfirm.com>; Robert MacNaughton <robert@porterfirm.com>; John Lyons
<John@gorainmaker.com>
Cc: Martha Adams <MAdams@abaustin.com>; Brooke Wilhelm <lawclerklit@porterfirm.com>; Guillermo
Alarcon <GAlarcon@abaustin.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Hi Weston-

Thanks, please do confirm a time so we can hopefully get this resolved sooner rather than later.

To answer your clarification question, we don’t think we’re asking for more than the rules require. Fed. R. Civ.
P. 34(b)(2)(E)(ii) says: “If a request does not specify a form for producing electronically stored information, a
party must produce it in a form or forms in which it is ordinarily maintained or in a reasonably usable for or
forms.” Grant Meadows’s production is not in the form in which the information is ordinarily maintained (i.e.,
native format) nor is it in a reasonably usable form because it excludes information that was in the original
document (i.e., metadata and attachments). See Gutierrez v. State Farm Lloyds, No. 7:14-CV-430, 2015 WL
13188353, at *3 (S.D. Tex. Jan. 22, 2015) (a party may not “convert electronically stored information from the
form in which it is ordinarily maintained to a different form that makes it more difficult or burdensome for the
requesting party to use the information efficiently in litigation.”).

We tried to preserve the metadata that you’d want to use to sort and search our documents, and we’re just
asking that your production be the same in that respect.

Looking forward to working through this with you.

-Matt

 Matthew Baumgartner
 Armbrust & Brown, PLLC
 100 Congress Avenue, Suite 1300
 Austin, Texas 78701-2744
 (512) 435-2308 - Direct
 (512) 435-2360 - Facsimile
 mbaumgartner@abaustin.com
 www.abaustin.com




From: Weston Ray <weston@porterfirm.com>
Sent: Monday, May 22, 2023 3:53 PM
To: Matthew Baumgartner <MBaumgartner@abaustin.com>; Robert MacNaughton <robert@porterfirm.com>;
John Lyons <John@gorainmaker.com>

                                                        4
                                                                           EXHIBIT 1 PAGE 7 OF 17
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 11 of 182

Cc: Martha Adams <MAdams@abaustin.com>; Brooke Wilhelm <lawclerklit@porterfirm.com>; Guillermo
Alarcon <GAlarcon@abaustin.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Good afternoon Matthew, Robert is out of the office. I’ll confirm a time with him as soon as he is available.

To clarify, are you amending your discovery requests to incorporate the heightened production formatting
requirements? I don’t see any minimum standards pertaining to metadata in the requests or local rules.

Best regards,

Weston Ray
Attorney




d 713.533.1933 | c 512.563.8114
2221 S. Voss | Houston, TX 77057

        PorterFirm.com


The contents of this email message are confidential and may be attorney-client privileged. This transmission is
sent in trust, for the sole purpose of delivery to the intended recipient. If you have received this transmission in
error, any use, reproduction, or dissemination of this transmission is strictly prohibited. If you are not the
intended recipient, please immediately notify the sender by reply email or phone and delete this message and its
attachments, if any. This communication does not reflect an intention by the sender or the sender’s client or
principal to conduct a transaction or make any agreement by electronic means or to constitute an electronic
signature. As required by the United States Treasury Regulations, this communication is not intended or written
to be used, and cannot be used, by any person for the purpose of avoiding penalties that may be imposed under
the United States federal tax laws.

From: Matthew Baumgartner <MBaumgartner@abaustin.com>
Sent: Monday, May 22, 2023 11:37 AM
To: Robert MacNaughton <robert@porterfirm.com>; John Lyons <John@gorainmaker.com>
Cc: Martha Adams <MAdams@abaustin.com>; Brooke Wilhelm <lawclerklit@porterfirm.com>; Guillermo
Alarcon <GAlarcon@abaustin.com>; Weston Ray <weston@porterfirm.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Robert-

I’m out Friday but Thursday works. How about 10:00 am? I will circulate a calendar invite.

-Matt

From: Robert MacNaughton <robert@porterfirm.com>
Sent: Friday, May 19, 2023 10:51 AM
To: John Lyons <John@gorainmaker.com>
                                                         5
                                                                            EXHIBIT 1 PAGE 8 OF 17
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 12 of 182

Cc: Martha Adams <MAdams@abaustin.com>; Brooke Wilhelm <lawclerklit@porterfirm.com>; Guillermo
Alarcon <GAlarcon@abaustin.com>; Weston Ray <weston@porterfirm.com>; Matthew Baumgartner
<MBaumgartner@abaustin.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Matt and John

I am out of the state and in limited communications Monday through Wednesday next week. We are trying to
verify authority with our client however he has said that he is out of reach until next week, but will get to us on
this when he gets back. Can we tentatively set this up for Thursday or Friday of next week? With the idea that
by that time we will have confirmed both John and our authority and are quickly ready to get this addressed
directly by that time.

J. Robert MacNaughton
Attorney




m 713.621.0700 | f 713.621.0709
d 713.600.4314 | c 713.417.4066
2221 S. Voss Rd., Suite 200, Houston, Texas 77057

       PorterFirm.com

The contents of this email message are confidential and may be attorney-client privileged. This transmission is
sent in trust, for the sole purpose of delivery to the intended recipient. If you have received this transmission in
error, any use, reproduction, or dissemination of this transmission is strictly prohibited. If you are not the
intended recipient, please immediately notify the sender by reply email or phone and delete this message and its
attachments, if any. This communication does not reflect an intention by the sender or the sender’s client or
principal to conduct a transaction or make any agreement by electronic means or to constitute an electronic
signature. As required by the United States Treasury Regulations, this communication is not intended or written
to be used, and cannot be used, by any person for the purpose of avoiding penalties that may be imposed under
the United States federal tax laws.

From: John Lyons <John@gorainmaker.com>
Sent: Friday, May 19, 2023 10:39 AM
To: Robert MacNaughton <robert@porterfirm.com>
Cc: Martha Adams <MAdams@abaustin.com>; Brooke Wilhelm <lawclerklit@porterfirm.com>; Guillermo
Alarcon <GAlarcon@abaustin.com>; Weston Ray <weston@porterfirm.com>; Matthew Baumgartner
<MBaumgartner@abaustin.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Robert,

I am available Monday and Tuesday as well.

Thanks,
John


                                                         6
                                                                            EXHIBIT 1 PAGE 9 OF 17
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 13 of 182

From: Matthew Baumgartner <MBaumgartner@abaustin.com>
Sent: Friday, May 19, 2023 10:07 AM
To: Matthew Baumgartner <MBaumgartner@abaustin.com>; 'robert@porterfirm.com'
<robert@porterfirm.com>; 'lawclerklit@porterfirm.com' <lawclerklit@porterfirm.com>;
'weston@porterfirm.com' <weston@porterfirm.com>; Guillermo Alarcon <GAlarcon@abaustin.com>
Cc: John Lyons <John@gorainmaker.com>; Martha Adams <MAdams@abaustin.com>
Subject: RE: RE: Robert MacNaughton shared "2627 Main Discovery" with you.
Importance: High

Robert-

Following up on this. Can we set up a call between your e-discovery vendor and John Lyons to discuss your
production? We need to do this fairly quickly since we can’t really use your production. I’m generally free
Monday and Tuesday. John can weigh on with his availability.

Thanks for your attention to this.

-Matt

From: Matthew Baumgartner <MBaumgartner@abaustin.com>
Sent: Tuesday, May 16, 2023 3:51 PM
To: robert@porterfirm.com; lawclerklit@porterfirm.com; weston@porterfirm.com; Guillermo Alarcon
<GAlarcon@abaustin.com>
Cc: John@gorainmaker.com; Martha Adams <MAdams@abaustin.com>
Subject: RE: Robert MacNaughton shared "2627 Main Discovery" with you.

Robert-
Unfortunately, Defendant’s document production is not usable and we need to request that the documents be reproduced
in a way that preserves the documents’ original content (including the metadata and families). The manner in which
Defendant has produced documents does not preserve the metadata and does not (unless we attempt to keep them together
on our end) keep the families (emails and their attachments) together in the Bates numbering.
As an example, if you open the attached production PDF you can view the email and it is Bates endorsed, but the filename
does not contain the Bates number. You can then click on the attachment icon (paper clip) and view the attachment and it
is not Bates endorsed.
Defendant’s production did not include a file containing the Bates numbers and metadata.
In contrast, the KH production contains the following metadata fields:
      BegBates
      EndBates
      BegAttach
      EndAttach
      SortDate (this date is populated the same for parent emails and any attachments)
      SentDate
      ReceivedDate
      LastModifiedDate
      From
      To
      CC
      BCC
      Subject
      FileName
      FileExt
      Author
      NativeLink (Link to the produced native files)
                                                           7
                                                                             EXHIBIT 1 PAGE 10 OF 17
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 14 of 182

If possible, it would be best to receive Defendant’s production in the same format as KH’s, which meets the minimum
standards for production of electronically stored documents.
I have cc’d John Lyons to work with whomever is creating Defendant’s production to ensure it is received as expected.
Please provide the best contact for John to work with on this.
Sincerely,
 Matthew Baumgartner
 Armbrust & Brown, PLLC
 100 Congress Avenue, Suite 1300
 Austin, Texas 78701-2744
 (512) 435-2308 - Direct
 (512) 435-2360 - Facsimile
 mbaumgartner@abaustin.com
 www.abaustin.com

From: Robert MacNaughton
Sent: Monday, May 15, 2023 7:30 PM
To: Brooke Wilhelm ; Robert MacNaughton ; Weston Ray ; Guillermo Alarcon ; Matthew Baumgartner
Subject: Robert MacNaughton shared "2627 Main Discovery" with you.




                                   Robert MacNaughton shared a file with you




                              Defendant Document Production Cause No. 4:22-CV-3730
    If you have an issue let me know. Bates Labels are without prefix identifiers - wanting to get the documents to
                                                     you timely.




           2627 Main Discovery



    This link will work for anyone.




                                                                                              Privacy Statement




                                                                  8
                                                                                      EXHIBIT 1 PAGE 11 OF 17
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 15 of 182

                             ARMBRUST & BROWN, PLLC
                                ATTORNEYS AND COUNSELORS


                                       100 CONGRESS AVENUE, SUITE 1300
                                           AUSTIN, TEXAS 78701-2744
                                          TELEPHONE 512-435-2300
                                           FACSIMILE 512-435-2360


MATTHEW BAUMGARTNER
(512) 435-2308
mbaumgartner@abaustin.com


                                                  June 27, 2023

Via email: robert@porterfirm.com;
weston@porterfirm.com

J. Robert MacNaughton
Weston Ray
Porter Law Firm
2221 Voss Road, Suite 200
Houston, Texas 77057

         Re:       KH-REIT II Funding XXII, LLC v. Grant Meadows, LLC; Case No. 4:22-CV-
                   3730; In the United States District Court for the Southern District of Texas

Dear Mssrs. MacNaughton and Ray:

        This letter follows our review of Grant Meadows’ document production, which appears to
be deficient in several respects. This letter is an attempt to confer as to the apparent deficiencies
before seeking relief from the Court. Please let me know if you would like to schedule a conference
to confer as to any of the requests at issue.

       As a general matter, nearly all Word, .pdf and Excel documents contained in Grant
Meadows’ production are attachments to emails. This leads us to believe that Grant Meadows’s
document production may not include documents kept outside of email accounts. Plaintiff’s
requests seek not just communications but also other documents. Grant Meadows’ complete
business file on this Property should be produced.

       As to other specific categories of documents requested, but which Grant Meadows’
production appears to be incomplete:

        Plaintiff’s RFP Nos. 1-6 seek communications and documents with the Title Company,
including as to the removal of the Power Pole that Defendant made the basis of his title objection.
However, there are no direct communications between Grant Meadows and the Title Company—
all communications appear to have come from Grant Meadows’ attorney Travis Huehlefeld.
Please confirm there are no such direct communications (or any communications to and from Grant
Meadows’ attorneys) that are being withheld.




{W1241581.1}
                                                                         EXHIBIT 1 PAGE 12 OF 17
  Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 16 of 182

ARMBRUS T & BROWN, P LLC
Page 2


       Plaintiff’s RFP Nos. 7-12 seek communications between Grant Meadows and “any person”
concerning the property, including the Power Pole. We believe that people with whom Grant
Meadows had communications with, but who do not appear in Grant Meadows’ production,
include (but are not limited to): the neighbor (Main 2601 Partners, LLC), Davis Adams of JLL
Capital Markets, and Riverway Title Company. We ask that Grant Meadows determine what
persons it had communications with concerning this Property, conduct a sufficient search for such
documents and communications, and produce them promptly.

        Plaintiff’s RFP Nos. 13-18 seek communications with investors in the property, including
communications concerning the Power Pole and the contract amendment that addresses that issue,
as well as the Title Commitment. Grant Meadows’ production appears to contain no such
communications. Please confirm that Grant Meadows had no communications with any investors
in this project. If such communications have not been produced, please explain why they have
been withheld.

        Plaintiff’s RFP Nos. 19-24 seek communications concerning the Property, the Power Pole
and the contract and Title Commitment with any lenders. Grant Meadows’ production appears to
contain only very limited, initial inquiries concerning a loan for the purchase of this property.
Please confirm that Grant Meadows has not withheld any communications with lenders, or, if it
has, please explain the basis for withholding such communications.

       Plaintiff’s RFP Nos. 25-26 seek internal communications concerning the Property, but
Grant Meadows’ production contains mostly immaterial internal communications and is
completely devoid of documents that we would expect to see, including communications relating
to whether to purchase the Property, at what price, the source of funds to be used to purchase the
Property, the decisions to renegotiate the contract through a series of amendments, and Grant
Meadows’ ultimate decision not to purchase the Property at the closing date.

        Similarly, Plaintiff’s RFP Nos. 27 and 28 seek documents and communications relating to
the Property’s value and market conditions. A mere two weeks after Grant Meadows was supposed
to close on the Property, it offered to purchase it for $6 million less than the contract price it had
agreed to, so it has obviously done work to place a valuation on the Property. Please produce all
such documents, or, if they are being withheld, please explain the basis for withholding them.

        Plaintiffs’ RFP Nos. 29-33 seek every possible category of documents relating to the Power
Pole, including all documents and communications, liability insurance required by the First
Amendment (and which Grant Meadows has denied failing to purchase—see RFA Nos. 5 and 6),
documents and communications with CenterPoint Energy and the City, and plans and proposals
for the Power Pole’s removal. No insurance related documents were produced. Grant Meadows’
production includes some emails authorizing Center Point to remove the Power Pole, but even that
category of documents appears to be incomplete. Please be sure that Grant Meadows has conducted
a comprehensive search for documents and communications relating to this critical issue and
supplement the production accordingly. If any such documents are being withheld, please explain
the basis for withholding them.




{W1241581.1}
                                                                    EXHIBIT 1 PAGE 13 OF 17
  Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 17 of 182

ARMBRUS T & BROWN, P LLC
Page 3
      As this case has already been delayed by the several months it took Grant Meadows to
produce documents, Plaintiff requests a prompt response and supplementation of Grant Meadows’
document production, but in any event not later than July 7, 2023.

       Please contact me if you would like to discuss any of the matters addressed here.

                                            Sincerely,

                                            ARMBRUST & BROWN, PLLC

                                            By: /s/ Matthew Baumgartner
                                               Matthew Baumgartner

Cc:    Guillermo Alarcon (firm)
       Rebecca Brown (client)
       Laura Torrado (client)




{W1241581.1}
                                                                EXHIBIT 1 PAGE 14 OF 17
  Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 18 of 182

                              ARMBRUST & BROWN, PLLC
                                 ATTORNEYS AND COUNSELORS


                                        100 CONGRESS AVENUE, SUITE 1300
                                           AUSTIN, TEXAS 78701-2744
                                                 512-435-2300
                                               512-435-2360 (FAX)



MATTHEW BAUMGARTNER
(512) 435-2308
mbaumgartner@abaustin.com


                                                August 15, 2023

Via email: robert@porterfirm.com;
weston@porterfirm.com

J. Robert MacNaughton
Weston Ray
Porter Law Firm
2221 Voss Road, Suite 200
Houston, Texas 77057

         Re:       KH-REIT II Funding XXII, LLC v. Grant Meadows, LLC; Case No. 4:22-CV-
                   3730; In the United States District Court for the Southern District of Texas

Dear Mssrs. MacNaughton and Ray:

        This letter follows our call yesterday evening concerning the state of discovery, and an
alternative to settle this dispute before we are forced to seek relief from the Court concerning your
client’s obstruction of discovery.

        I will not again describe in detail our efforts to obtain your client’s compliance with its
discovery obligations. Briefly: as you know, we wrote you on June 27, 2023 pointing out several
deficiencies in your client’s document production. We received no response, and took his
deposition on the basis of the existing discovery. Mr. Jamea’s discovery obstructionism was then
confirmed at his deposition. To name a few notable examples of the discovery misconduct to date:

        Your client has failed to produce emails that its principals and agents (including
         Mr. Jamea) sent –– the production included only emails from his “inbox” and not
         sent emails. Thus, your client’s discovery conveniently omitted nearly all of his
         own statements to anyone about the subject matter of this case. That cannot have
         been an accident, or the fault of the discovery vendor, as you and Mr. Jamea have
         asserted. (Incidentally, that assertion opens the door to seeking this information
         from the vendor.)

        Because of your client’s failure to produce relevant communications, we have had
         to subpoena third parties (the neighbor and the power company). Those third parties
         produced communications that your client should have produced but failed to do
         so. It is now apparent that we will have to subpoena additional third parties, which



{W1252244.1}
                                                                          EXHIBIT 1 PAGE 15 OF 17
  Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 19 of 182

ARMBRUST & BROWN, PL LC
Page 2


       will almost certainly reveal even more improperly withheld documents and
       communications.

      Your client has failed to produce communications and other documents with
       lenders, investors, and agents—to which Mr. Jamea admitted at his deposition; and

      Your client has served false RFA denials, including its denial that it had the power
       line pole on Knighthead’s property removed, which Mr. Jamea also admitted to in
       the deposition (but only after we obtained documents from the power company
       showing that he falsely told the power company he was Knighthead’s agent.)

       This is far from an exhaustive list. Mr. Jamea has been involved in several lawsuits—
indeed, he seems to end up in litigation on many of his deals; he certainly knows how to comply
with discovery, as do you. In fact, you committed to remedying the discovery shortcomings that
were exposed during the deposition, but still have not done so.

       This turn of events has left Knighthead no choice but to seek discovery sanctions, including
against Mr. Jamea personally, since it is clear at this point that he is personally obstructing the
discovery process. After obtaining compelled document production, we intend to take his
deposition again since the first deposition was rendered a waste of time. We also note that Mr.
Jamea’s repeated claim to not remember virtually any facts may also subject him to penalties and
sanctions.

       It is unfortunate that the case has proceeded in this fashion. As I mentioned, we simply
wish to gather the facts and present them to the Court for a ruling on the merits, but almost all of
our time in the last few months has had to be devoted to exposing Mr. Jamea’s discovery
misconduct. If Mr. Jamea expects to benefit from his obstruction of discovery, Knighthead assures
you that will not be the case.

        However, as we discussed, Knighthead has authorized me to extend an offer of settlement
in lieu of any further work on this case. To that end, Knighthead offers to settle this dispute with
Grant Meadows and Mr. Jamea for a payment to Grant Meadows of $50,000 out of the earnest
money currently with Fidelity. This offer of settlement reflects Knighthead’s desire to end this
case without further expenditure of resources or court intervention. Due to the looming deadlines
and Mr. Jamea’s obstruction of discovery to date, Knighthead must move for appropriate discovery
sanctions quickly. Knighthead therefore requests Grant Meadows/Mr. Jamea’s response no
later than Friday, August 18, 2023, after which this offer of settlement will expire.

                                              Sincerely,

                                              ARMBRUST & BROWN, PLLC

                                              By: /s/ Matthew Baumgartner
                                                 Matthew Baumgartner




{W1252244.1}
                                                                  EXHIBIT 1 PAGE 16 OF 17
  Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 20 of 182

ARMBRUST & BROWN, PL LC
Page 3
Cc:    Guillermo Alarcon (firm)
       Rebecca Brown (client)
       Laura Torrado (client)




{W1252244.1}
                                                   EXHIBIT 1 PAGE 17 OF 17
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 21 of 182




                EXHIBIT 2
     Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 22 of 182
                                      Shahin Jamea
                                     July 26, 2023                               1

·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE SOUTHERN DISTRICT OF TEXAS
·2· · · · · · · · · · · HOUSTON DIVISION

·3· KH-REIT II FUNDING XXII,· · ·)
· · LLC· · · · · · · · · · · · · )
·4· · · ·Plaintiff,· · · · · · · )
· · · · · · · · · · · · · · · · ·)
·5· v.· · · · · · · · · · · · · ·) CAUSE NO.: 4:22-CV-03730
· · · · · · · · · · · · · · · · ·)
·6· GRANT MEADOWS, L.L.C· · · · ·)
· · · · ·Defendant· · · · · · · ·)
·7

·8· · · · · · ·-----------------------------------

·9· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

10· · · · · · · · · · ·SHAHIN "SEAN" JAMEA

11· · · · · · · · · · · ·JULY 26, 2023

12· · · · · · ·-----------------------------------

13· · · ·ORAL AND VIDEOTAPED DEPOSITION OF SHAHIN "SEAN"

14· JAMEA, produced as a witness at the instance of the

15· PLAINTIFF, and duly sworn, was taken in the above-styled

16· and numbered cause on the 26th of July, 2023, from 10:03

17· a.m. to 1:39 p.m., before Velma C. LaChausse, Shorthand

18· Reporter and Notary Public in and for the State of

19· Texas, reported by machine shorthand, at the law offices

20· of The Porter Law Firm, 2221 South Voss Road, Suite 200,

21· Houston, Texas 77057, pursuant to the Federal Rules of

22· Civil Procedure and the provisions stated on the record

23· or attached hereto.

24

25


                                U.S. LEGAL SUPPORT, EXHIBIT
                                                    INC     2 PAGE 1 OF 18
                                      713-653-7100
     Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 23 of 182
                                      Shahin Jamea
                                     July 26, 2023                               2

·1· · · · · · · · · · A P P E A R A N C E S

·2

·3
· · FOR THE PLAINTIFF:
·4· · · ·Mr. Guillermo Alarcon
· · · · ·ARMBRUST & BROWN, PLLC
·5· · · ·100 Congress Avenue, Suite 1300
· · · · ·Austin, Texas 78701
·6· · · ·Phone: (512)435-2300
· · · · ·E-mail:· galarcon@abaustin.com
·7

·8· FOR THE DEFENDANT:
· · · · ·Mr. J. Robert MacNaughton
·9· · · ·PORTER LAW FIRM
· · · · ·2221 South Voss Road, Suite 200
10· · · ·Houston, Texas 77057
· · · · ·Phone: 713)600-4314
11· · · ·E-mail: robert@porterfirm.com

12
· · ALSO PRESENT:
13· · · ·Mr. Corey LaBorde, Videographer

14

15

16

17

18

19

20

21

22

23

24

25


                                U.S. LEGAL SUPPORT, EXHIBIT
                                                    INC     2 PAGE 2 OF 18
                                      713-653-7100
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 24 of 182
                                    Shahin Jamea
                                   July 26, 2023                                     11

·1· in Harris County District Court.

·2· · · ·Q.· Is that still pending?

·3· · · ·A.· We've resolved it.· The case is still open.

·4· We've resolved it.· We're waiting for an action to

·5· happen before dismissing it.

·6· · · ·Q.· Okay.· What about in the past five years?

·7· · · ·A.· What's your question?

·8· · · ·Q.· How many times have you been deposed in the

·9· past five years?

10· · · ·A.· I couldn't tell you.

11· · · ·Q.· So many that you can't remember?

12· · · ·A.· I just don't really have the memory of how many

13· depositions.

14· · · ·Q.· Okay.· Well, how many times have you or an

15· entity that you control been sued?

16· · · ·A.· I don't have an exact count.

17· · · ·Q.· Can you give me an approximate count?

18· · · ·A.· 20 to 40.

19· · · ·Q.· Okay.· And those were 20 to 40 in which you

20· were or one of your entities were a defendant?

21· · · ·A.· Or plaintiff.

22· · · ·Q.· How many were you a defendant?

23· · · ·A.· I don't know.· I don't know the breakdown.

24· · · ·Q.· Approximate?

25· · · ·A.· No approximation.


                                      U.S. LEGAL SUPPORT, INC
                                                            EXHIBIT 2 PAGE 3 OF 18
                                             713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 25 of 182
                                    Shahin Jamea
                                   July 26, 2023                                 12

·1· · · ·Q.· Have you been sued more times than you have

·2· sued?

·3· · · ·A.· I don't know.

·4· · · ·Q.· Okay.· What law firms have represented you in

·5· those 20 to 40 lawsuits?

·6· · · ·A.· Porter Hedges, Wilson Cribbs, AZA, Porter Law

·7· Firm, Fetner Thompson; some of that I can think of.

·8· · · ·Q.· Okay.· So how long have you been in business?

·9· · · ·A.· My brother and I started Oxberry Group 2004 or

10· 2005.

11· · · ·Q.· And those 20 to 40 lawsuits have all been after

12· you started Oxberry Group?

13· · · ·A.· No.· Before -- before and after.

14· · · ·Q.· What were you doing before Oxberry Group?

15· · · ·A.· I was a practicing attorney for a few years,

16· and before that my brother and I had a number of

17· restaurants.

18· · · ·Q.· Okay.· When you were -- what years were you a

19· practicing attorney?

20· · · ·A.· I got my license in 2001.· I would say between

21· 2001 and 2006 or '07.

22· · · ·Q.· Was that with a law firm?

23· · · ·A.· No.· By myself.

24· · · ·Q.· What kind of law did you practice?

25· · · ·A.· Business, both transactional and litigation.


                                  U.S. LEGAL SUPPORT, INC
                                                        EXHIBIT 2 PAGE 4 OF 18
                                         713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 26 of 182
                                    Shahin Jamea
                                   July 26, 2023                                 14

·1· · · · · · · · MR. MACNAUGHTON:· Objection; 401,

·2· relevance.

·3· · · ·A.· Yes.

·4· · · ·Q.· (BY MR. ALARCON)· When did you form Grant

·5· Meadows, LLC?

·6· · · ·A.· I don't recall.

·7· · · ·Q.· Was -- did you create Grant Meadows, LLC, for

·8· the purpose of entering into this transaction with my

·9· client?

10· · · ·A.· No.

11· · · ·Q.· Okay.· So what -- what sort of business was

12· Grant Meadows doing before it entered into this

13· transaction with my client?

14· · · ·A.· Grant Meadows -- Grant Meadows is a holding

15· company that we use for transactions to enter into

16· contracts before we form the -- the entity that's

17· actually going to take an assignment of the contract and

18· close on the parcel.

19· · · ·Q.· I see.· Does Grant Meadows hold any assets long

20· term or is it just kind of a holding house for each

21· transaction until it all gets papered up?

22· · · ·A.· What you said.

23· · · ·Q.· Okay.· Did you form the transaction that would

24· have taken over this deal for the property that you were

25· buying from my client?


                                  U.S. LEGAL SUPPORT, INC
                                                        EXHIBIT 2 PAGE 5 OF 18
                                         713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 27 of 182
                                    Shahin Jamea
                                   July 26, 2023                                   15

·1· · · ·A.· You mean did I form the entity?

·2· · · ·Q.· Yes.

·3· · · ·A.· I believe we formed an entity called Ox

·4· Midtown [sic] QOF, LLC, I think.· I'm not sure if that's

·5· exactly right.

·6· · · ·Q.· Ox Midtown what?

·7· · · ·A.· I think it's Ox, O-X, Mid, M-I-D, QOF, LLC.

·8· It's a Texas LLC.

·9· · · ·Q.· Okay.· Who are the members of Grant Meadows,

10· LLC?

11· · · ·A.· I believe it's me and my brother.

12· · · ·Q.· Individually?

13· · · ·A.· Yes.

14· · · ·Q.· Your brother is PJ Jamea?

15· · · ·A.· His legal name is Pejman, P-E-J-M-A-N, same

16· last name.· He goes by PJ.

17· · · ·Q.· And who are the members of Ox Midtown [sic]

18· QOF, LLC?

19· · · · · · · · MR. MACNAUGHTON:· Objection; relevance,

20· 401.

21· · · ·A.· It -- it is just me.

22· · · ·Q.· (BY MR. ALARCON)· You said before you were an

23· attorney, you and your brother owned restaurants?

24· · · ·A.· Yes.

25· · · ·Q.· Are you still in the restaurant business?


                                    U.S. LEGAL SUPPORT, INC
                                                          EXHIBIT 2 PAGE 6 OF 18
                                           713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 28 of 182
                                    Shahin Jamea
                                   July 26, 2023                                   20

·1· · · ·Q.· I have a question about this e-mail before we

·2· get back to the transaction.

·3· · · · · · · · So if you see at the top of this e-mail

·4· chain, it is a response or a reply that you got from

·5· Mr. Leong at IBC.· Right?· And then lower in the e-mail

·6· chain is an e-mail from you to Mr. Leong.· Right?

·7· · · · · · · · MR. MACNAUGHTON:· So --

·8· · · ·Q.· (BY MR. ALARCON)· And then even lower in the

·9· e-mail chain is an e-mail from you to George Lee and

10· Sunny Bathija?

11· · · ·A.· Right.

12· · · ·Q.· Right.· So my question is -- well, I'll

13· represent to you that you only produced the top e-mail,

14· the one from Peter Leong to you.· You didn't produce the

15· e-mail from you to Mr. Leong or the e-mail from you to

16· George Lee and Sunny Bathija.· Do you know why those

17· e-mails weren't produced?

18· · · ·A.· I don't.

19· · · ·Q.· Did you do a search of your e-mails?

20· · · ·A.· We hired a company per your request to do the

21· search.

22· · · ·Q.· And who was the company?

23· · · · · · · · MR. MACNAUGHTON:· Indexed, I-N-D-E-X-E-D.

24· · · ·A.· Indexed I/O.

25· · · · · · · · MR. MACNAUGHTON:· Yeah, Indexed I/O.


                                    U.S. LEGAL SUPPORT, INC
                                                          EXHIBIT 2 PAGE 7 OF 18
                                           713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 29 of 182
                                    Shahin Jamea
                                   July 26, 2023                               21

·1· · · ·Q.· (BY MR. ALARCON)· Do you have a practice of

·2· deleting e-mails?

·3· · · · · · · · MR. MACNAUGHTON:· Objection; argumentative.

·4· · · ·A.· No.

·5· · · ·Q.· (BY MR. ALARCON)· So you wouldn't have deleted

·6· these e-mails that you sent to George Lee and Sunny

·7· Bathija and Peter Leong?

·8· · · · · · · · MR. MACNAUGHTON:· Objection; argumentative.

·9· · · ·A.· Probably not.

10· · · ·Q.· (BY MR. ALARCON)· Okay.· So they should have

11· been produced?

12· · · · · · · · MR. MACNAUGHTON:· Objection; argumentative.

13· · · ·A.· I guess it depends on your discovery request

14· but --

15· · · ·Q.· (BY MR. ALARCON)· ·So --

16· · · · · · · · MR. MACNAUGHTON:· Objection; calls for

17· speculation as to the process.· Objection;

18· argumentative.

19· · · ·Q.· (BY MR. ALARCON)· So I don't know if you're

20· aware, but you produced approximately 960 e-mails.

21· · · ·A.· (Nodding head.)

22· · · ·Q.· You didn't produce a single e-mail in which you

23· were the sender.· Do you know why?

24· · · · · · · · MR. MACNAUGHTON:· Objection; 701, calls for

25· speculation.


                                U.S. LEGAL SUPPORT, INC
                                                      EXHIBIT 2 PAGE 8 OF 18
                                       713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 30 of 182
                                    Shahin Jamea
                                   July 26, 2023                                 22

·1· · · ·A.· I don't.· Again, we just gave the search

·2· parameters that you had to the Indexed company, and then

·3· we just forwarded you the results.

·4· · · ·Q.· (BY MR. ALARCON)· Okay.· You agree with me that

·5· those e-mails should have been produced?

·6· · · · · · · · MR. MACNAUGHTON:· Objection; non- --

·7· argumentative.

·8· · · ·A.· Again, we gave your search terms to the company

·9· that specializes in it, and whatever the response was,

10· we gave it to you.

11· · · ·Q.· (BY MR. ALARCON)· You gave them search terms?

12· · · ·A.· Whatever your request for production was, we

13· gave it to them, and we gave them access to my e-mail

14· account and they produced the documents they produced.

15· · · ·Q.· Okay.· Who are George Lee and Sunny Bathija?

16· · · ·A.· They're real estate investors that have

17· invested with us before.

18· · · ·Q.· Were you communicating with them so that they

19· would invest in this transaction?

20· · · ·A.· Yes.

21· · · ·Q.· Was this the only communication with them?

22· · · ·A.· I don't know.

23· · · ·Q.· Well, how extensive were the discussions about

24· them investing in this transaction?

25· · · ·A.· I don't recall.


                                  U.S. LEGAL SUPPORT, INC
                                                        EXHIBIT 2 PAGE 9 OF 18
                                         713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 31 of 182
                                    Shahin Jamea
                                   July 26, 2023                                    86

·1· the seller, and I understood he had some kind of an

·2· issue with some access rights and something about

·3· electricity, providing some kind of electricity by the

·4· borrowers to your lender.

·5· · · ·Q.· Right.· Okay.· So you don't remember when that

·6· conversation took place?

·7· · · ·A.· No.

·8· · · ·Q.· Was it close to closing?

·9· · · ·A.· I don't recall.· No, it was -- it was not close

10· to closing.· It was earlier.

11· · · ·Q.· Earlier, okay.· Did you exchange any e-mails

12· with the neighbor?

13· · · ·A.· I don't recall.

14· · · ·Q.· Okay.· So you didn't produce any e-mails with

15· the neighbor, but we subpoenaed the neighbor and he gave

16· us some e-mails that he had with you.· I'm going to --

17· · · · · · · · MR. MACNAUGHTON:· So can we go off the

18· record for a second?

19· · · · · · · · MR. ALARCON:· Sure.

20· · · · · · · · THE VIDEOGRAPHER:· We're off the record at

21· 12:02.

22· · · · · · · · (Off the record.)

23· · · · · · · · THE VIDEOGRAPHER:· We're back on the record

24· at 12:03.

25· · · ·Q.· (BY MR. ALARCON)· So as I was saying, we


                                      U.S. LEGAL SUPPORT, INC
                                                          EXHIBIT 2 PAGE 10 OF 18
                                             713-653-7100                                YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 32 of 182
                                    Shahin Jamea
                                   July 26, 2023                                  115

·1· · · ·A.· Yes.

·2· · · ·Q.· Is that your entity?

·3· · · ·A.· Yes.

·4· · · ·Q.· And the amount on the check matches the

·5· invoice.· Right?

·6· · · ·A.· Yes.

·7· · · ·Q.· The third page is another invoice, and in the

·8· description it says, "Cost to remove additional

·9· facility."· Right?

10· · · ·A.· Yes.

11· · · ·Q.· The third page is an agreement.· This agreement

12· purports to be -- well, it says between Barry Espinosa.

13· Barry Espinosa works for you.· Right?

14· · · ·A.· Yes.

15· · · ·Q.· Is he your employee?

16· · · ·A.· Yes.

17· · · ·Q.· Okay.· Does he have any ownership?

18· · · ·A.· No.

19· · · ·Q.· Just a W-2 employee?

20· · · ·A.· Yes.

21· · · ·Q.· So that was scratched out, and my client's name

22· was written in.· Do you know if you did that?

23· · · ·A.· That looks like my handwriting.

24· · · ·Q.· Okay.· And then on the next page it was signed.

25· It says here that you're signing on behalf of my client.


                                    U.S. LEGAL SUPPORT, INC
                                                        EXHIBIT 2 PAGE 11 OF 18
                                           713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 33 of 182
                                    Shahin Jamea
                                   July 26, 2023                                  127

·1· · · ·A.· No.

·2· · · ·Q.· Do you remember if you had a conversation with

·3· him on that day?

·4· · · ·A.· No.

·5· · · ·Q.· You don't know if he called you?

·6· · · ·A.· No.

·7· · · ·Q.· Do you remember having a phone call with him at

·8· all around this time?

·9· · · ·A.· I remember meeting him for coffee in Rice

10· Village.· I don't remember a phone call.

11· · · ·Q.· Did you tell Mr. Friedman that my client

12· removed the power pole?

13· · · ·A.· I don't recall.

14· · · ·Q.· Would you -- I mean, why would you have told

15· him that if you did?

16· · · ·A.· I don't recall.· I don't recall having a

17· conversation.· I definitely don't recall the content of

18· the conversation.

19· · · ·Q.· Okay.· Well, Mr. Friedman made notes of that

20· phone call.· I'm marking that as Exhibit 23 [sic].

21· · · · · · · · (Exhibit No. 22 was marked.)

22· · · · · · · · MR. MACNAUGHTON:· Object to this exhibit.

23· How is he going to prove the contents of this exhibit,

24· whether he's recognized it.· This, he was on a text

25· message on.· Those are notes with Mr. Friedman.· That's


                                    U.S. LEGAL SUPPORT, INC
                                                        EXHIBIT 2 PAGE 12 OF 18
                                           713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 34 of 182
                                    Shahin Jamea
                                   July 26, 2023                                129

·1· applied to.

·2· · · ·A.· No.

·3· · · ·Q.· (BY MR. ALARCON)· He said you were hoping it

·4· had been resolved because the last thing he, meaning

·5· you, wants is to get into a situation where he's adverse

·6· to us.

·7· · · ·A.· Right.

·8· · · ·Q.· Do you remember talking about that with

·9· Mr. Friedman?

10· · · ·A.· No.

11· · · ·Q.· Okay.· You deny that this phone call took

12· place?

13· · · ·A.· (Shaking head.)

14· · · · · · · · MR. MACNAUGHTON:· Objection; this document

15· does not state that there was a phone call that took

16· place.· Mischaracterization of the exhibit.

17· · · ·A.· I don't have a recollection of a phone call.

18· · · ·Q.· (BY MR. ALARCON)· Okay.· It says, "He said that

19· would be great, but asked what I knew about the

20· obligations in general because as he understands it, the

21· seller has recently removed the T-poles in the parking

22· lot."· That means transmission poles?

23· · · · · · · · MR. MACNAUGHTON:· Objection; asks this guy

24· to speculate as to what these notes are from somebody

25· else.


                                  U.S. LEGAL SUPPORT, INC
                                                      EXHIBIT 2 PAGE 13 OF 18
                                         713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 35 of 182
                                    Shahin Jamea
                                   July 26, 2023                                 130

·1· · · ·Q.· (BY MR. ALARCON)· Did you tell Mr. Friedman

·2· that the seller had recently removed the T-poles?

·3· · · · · · · · MR. MACNAUGHTON:· Objection; it calls for

·4· speculation as to this, and relates to the concept of

·5· whatever these notes are for.

·6· · · ·A.· I don't have a recollection.· I don't have a

·7· recollection of a call.· I definitely don't have a

·8· recollection of the content of the call.

·9· · · ·Q.· (BY MR. ALARCON)· Okay.· The next bullet point

10· says, "I said I'd tell him everything I know on it,

11· which is," and he talks about certain obligations.

12· Okay?· And then the next bullet point down says, "Sean

13· reiterated about the seller having recently removed the

14· T-poles, in a way seeming to suggest that this removal

15· would mark the end of any post-closing obligations.· So

16· I asked him what the connection was between this removal

17· and these obligations."

18· · · · · · · · Did you reiterate that my client had

19· recently removed T-poles?

20· · · · · · · · MR. MACNAUGHTON:· Objection; this calls for

21· speculation.· It doesn't identify your client, it

22· doesn't identify the transaction that was involved, or

23· the property that was involved, and asks him to testify

24· about notes prepared by somebody else out of an

25· unexplained conversation or made-up conversation.


                                   U.S. LEGAL SUPPORT, INC
                                                       EXHIBIT 2 PAGE 14 OF 18
                                          713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 36 of 182
                                    Shahin Jamea
                                   July 26, 2023                                 132

·1· a running objection.

·2· · · · · · · · MR. ALARCON:· Okay.

·3· · · · · · · · THE WITNESS:· Robert, just in the interest

·4· of time, let's agree to a running objection.

·5· · · ·A.· Okay.

·6· · · ·Q.· (BY MR. ALARCON)· So did you reiterate about

·7· the seller having recently removed the T-poles?

·8· · · ·A.· I don't recall having a conversation with this

·9· guy.· I definitely don't recall the content of the

10· conversation.

11· · · ·Q.· Do you think Mr. Friedman would make something

12· like this up?

13· · · ·A.· I really don't know the guy that well.· I met

14· him twice.

15· · · ·Q.· Okay.

16· · · ·A.· No.· I met him three times.

17· · · ·Q.· The second to last bullet point says, "I said

18· that I wouldn't think removing the pole would remove

19· this obligation, and they would still be obligated to

20· provide temporary service when our building needs it.

21· But again, I'm happy to reach out to our attorneys for

22· an update.· He said, 'Great.· Please, and let me know.'"

23· · · · · · · · You don't remember that?

24· · · ·A.· No.

25· · · ·Q.· Okay.· Can we go back to the text messages?


                                   U.S. LEGAL SUPPORT, INC
                                                       EXHIBIT 2 PAGE 15 OF 18
                                          713-653-7100                                 YVer1f
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 37 of 182
                                    Shahin Jamea
                                   July 26, 2023                                  133

·1· · · ·A.· Yeah.

·2· · · ·Q.· So, again, these notes are dated September 26,

·3· 2022, the day that you asked Mr. Friedman to call you

·4· according to these text messages, and then a couple of

·5· weeks later on October 12th, Mr. Friedman texts you,

·6· Morning.· I've not been able to tie off with lawyer per

·7· our discussion.· I was traveling, and this week he's had

·8· big closings, but plan to talk late tomorrow.· Just

·9· FYI."

10· · · ·A.· Okay.

11· · · ·Q.· Do you remember this?

12· · · ·A.· No.

13· · · ·Q.· Okay.· And then two days later he says, "Hey, I

14· talked to lawyer (Max).· He explained why obligations

15· run with property and responsibility of bank

16· (Knighthead?), even though foreclosed.· I asked him to

17· send in a letter to their lawyer.· Just FYI."

18· · · ·A.· That's what he says.

19· · · ·Q.· Right.· And then four days later, you asked him

20· to forward you the letter when it's out.· Right?

21· · · ·A.· Yes.

22· · · ·Q.· Do you know if he ever forwarded you that

23· letter?

24· · · ·A.· I don't.

25· · · ·Q.· You don't know, or no, he didn't?


                                    U.S. LEGAL SUPPORT, INC
                                                        EXHIBIT 2 PAGE 16 OF 18
                                           713-653-7100                                 YVer1f
    Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 38 of 182
                                     Shahin Jamea
                                    July 26, 2023                                       160

·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE SOUTHERN DISTRICT OF TEXAS
·2· · · · · · · · · · · HOUSTON DIVISION

·3· KH-REIT II FUNDING XXII,· · ·)
· · LLC· · · · · · · · · · · · · )
·4· · · ·Plaintiff,· · · · · · · )
· · · · · · · · · · · · · · · · ·)
·5· v.· · · · · · · · · · · · · ·) CAUSE NO.: 4:22-CV-03730
· · · · · · · · · · · · · · · · ·)
·6· GRANT MEADOWS, L.L.C· · · · ·)
· · · · ·Defendant· · · · · · · ·)
·7

·8· · · · · · ·-----------------------------------

·9· · · · · · · · · REPORTER'S CERTIFICATION

10· · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF

11· · · · · · · · · · ·SHAHIN "SEAN" JAMEA

12· · · · · · · · · · · ·JULY 26, 2023

13· · · · · · ·-----------------------------------

14· · · · · · I, Velma C. LaChausse, a Shorthand Reporter

15· and Notary Public in and for the State of Texas, do

16· hereby certify that the facts as stated by me in the

17· caption hereto are true; that the above and foregoing

18· answers of the witness, SHAHIN "SEAN" JAMEA, to the

19· interrogatories as indicated were made before me by the

20· said witness after being first duly sworn to testify the

21· truth, and same were reduced to typewriting under my

22· direction; that the above and foregoing deposition as

23· set forth in typewriting is a full, true, and correct

24· transcript of the proceedings had at the time of taking

25· of said deposition.


                                          U.S. LEGAL SUPPORT, INC
                                                              EXHIBIT 2 PAGE 17 OF 18
                                                 713-653-7100
     Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 39 of 182
                                      Shahin Jamea
                                     July 26, 2023                                 161

·1· · · · · · I further certify that I am not, in any

·2· capacity, a regular employee of the party in whose

·3· behalf this deposition is taken, nor in the regular

·4· employ of his attorney; and I certify that I am not

·5· interested in the cause, nor of kin or counsel to either

·6· of the parties;

·7· · · · · · GIVEN UNDER MY HAND AND SEAL OF OFFICE, on

·8· this, the 8th day of August, 2023.

·9

10· · · · · · · · · · · · ·_________________________________
· · · · · · · · · · · · · ·Velma C. LaChausse
11· · · · · · · · · · · · ·Notary Public in and for
· · · · · · · · · · · · · ·The State of Texas
12· · · · · · · · · · · · ·My Commission Expires: 03-22-2026
· · · · · · · · · · · · · ·U.S. Legal Support, Inc.
13· · · · · · · · · · · · ·Firm Registration No. 122
· · · · · · · · · · · · · ·16825 Northchase Drive
14· · · · · · · · · · · · ·Suite 800
· · · · · · · · · · · · · ·Houston, Texas 77060
15· · · · · · · · · · · · ·Phone: (713)653-7100

16

17

18

19

20

21

22

23

24

25


                                     U.S. LEGAL SUPPORT, INC
                                                         EXHIBIT 2 PAGE 18 OF 18
                                            713-653-7100
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 40 of 182




                EXHIBIT 3
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 41 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                        SALE AGREEMENT


                   THIS SALE AGREEMENT (the “Agreement”), dated as of March 31, 2022 (the “Effective
            Date”), is entered into by and between KH-REIT II Funding XXII, LLC, a Delaware limited liability
            company (“Seller”), and Grant Meadows, L.L.C., a Texas limited liability company (“Purchaser”).

                    IN CONSIDERATION of the respective agreements and covenants hereinafter set forth and for
            other good and valuable consideration, the receipt and the adequacy of which are hereby acknowledged, Seller
            and Purchaser agree as follows:

            1.     PURCHASE AND SALE

                     (a)      Property. Subject to the terms and conditions set forth herein, Seller agrees to sell and
            convey to Purchaser and Purchaser agrees to purchase from Seller, for the Purchase Price, Seller’s right,
            title and interest, if any, in and to the following:

                             (i)     Land. That certain real property located in the City of Houston, Harris County,
            Texas, being more particularly described on Exhibit A attached hereto, together with all rights, easements
            and interests appurtenant thereto and Seller's right, title and interest, if any, in any land lying in the bed of
            any streets or other public ways in front of or adjacent to said real property to the center line thereof (all of
            such property being hereinafter referred to as the “Land”).

                             (ii)    Improvements. All improvements located on or under the Land, including, without
            limitation, any and all buildings, structures, facilities, amenities and other improvements constructed or
            located on or under the Land (all such improvements being hereinafter referred to collectively as the
            “Improvements”).

                              (iii)    Intangible Property. All of the right, title and interest of Seller, if any, to plans,
            entitlements, site plans, surveys and specifications, architectural drawings, and permits issued in connection
            with the construction, use or occupancy of the Improvements, and any assignable warranties (“Intangible
            Property”).

                            (iv)     All of Seller’s right, title and interest in and to any other property interests
            belonging or appurtenant to the Land (all of the foregoing items, together with the Land, Improvements and
            Intangible Property are referred to herein collectively as the “Property”).

            2.     PURCHASE PRICE

                    (a)    Amount; Payment. The purchase price for the Property is FOURTEEN MILLION THREE
            HUNDRED SEVENTY-FIVE THOUSAND AND NO/100 DOLLARS ($14,375,000.00) (the “Purchase
            Price”). The Purchase Price shall be payable as follows:

                            (i)      An initial deposit in an amount equal to ONE HUNDRED FIFTY THOUSAND
            AND NO/100 DOLLARS ($150,000.00) (the “Initial Deposit”) shall be paid by Purchaser to Escrow Agent,
            as provided in Section 3;

                          (ii)    A second deposit in an amount equal to FIVE HUNDRED THOUSAND AND
            NO/100 DOLLARS ($500,000.00) shall be paid by Purchaser to Escrow Agent, as provided in Section 3
            (the “Second Deposit”); and




                                                                                           EXHIBIT 3 PAGE 1 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 42 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                             (iii)   the balance of the Purchase Price shall be paid by Purchaser to Seller at the Closing
            (as defined herein) in immediately available funds.

            3.     DEPOSIT; ESCROW TERMS

                     (a)       Deposit. Within two (2) business days after the Effective Date, Purchaser shall wire the
            Initial Deposit in immediately available funds to the account of Fidelity National Title Insurance Company
            (“Escrow Agent”), whereupon Escrow Agent shall receipt the Initial Deposit and then immediately release
            it to Seller (it being acknowledged and agreed that, upon its release to Seller, the Initial Deposit shall be
            non-refundable for all purposes except as expressly provided herein). Additionally, no later than ninety (90)
            days after the Effective Date, Purchaser shall wire the Second Deposit in immediately available funds to
            the account of Escrow Agent. Both the Initial Deposit and the Second Deposit (collectively, the “Deposit”)
            shall be earnest money hereunder, and Escrow Agent shall deposit the Second Deposit in an interest-bearing
            escrow account. TIME IS OF THE ESSENCE WITH RESPECT TO THE DELIVERY OF BOTH THE
            INITIAL DEPOSIT AND THE SECOND DEPOSIT UNDER THIS AGREEMENT. The Deposit, in its
            entirety, shall be non-refundable, except as expressly otherwise set forth in this Agreement.

                     (b)      Escrow Terms:

                            (i)      General. Escrow Agent shall have no duties or responsibilities except those set
            forth herein. Escrow Agent shall not be bound by any modification, cancellation or rescission of this
            Agreement, unless the same is in writing and signed by both Purchaser and Seller, and, if Escrow Agent's
            duties hereunder are affected, by Escrow Agent. Any fees of Escrow Agent shall be borne equally by Seller
            and Purchaser.

                              (ii)   Delivery. Escrow Agent shall disburse or apply the Deposit in accordance with
            this Agreement.

                              (iii)   Holding Deposit Pending a Dispute. Except as expressly provided in this
            Agreement, if the Closing has not timely occurred, Escrow Agent shall not pay any portion of the Deposit
            to either party unless (1) the party claiming to be entitled thereto gives notice of such entitlement to Escrow
            Agent and to the other party, including an affidavit containing the facts on which such claim is based, and
            (2) the other party does not, within five (5) days after receipt (or deemed receipt) of such notice, give notice
            to Escrow Agent that it disputes the claim of the first party. If Escrow Agent receives notice within such
            five-day period of a dispute regarding the claim of entitlement to the Deposit, Escrow Agent shall continue
            to hold the Deposit in escrow and shall not pay such amounts to either party until such dispute is finally
            resolved by written agreement signed by both parties or by final unappealable order of a court of competent
            jurisdiction. When such dispute is so resolved, Escrow Agent shall pay the Deposit, to the party or parties
            entitled thereto pursuant to such final resolution. However, Escrow Agent shall also have the right, at any
            time after a claim of entitlement is disputed, to deposit the Deposit, with the applicable court of competent
            jurisdiction, in which event Escrow Agent shall give notice of such deposit into court to Seller and Purchaser
            and Escrow Agent shall be relieved and discharged of all further obligations and responsibilities hereunder.

                            (iv)    Stakeholder. Escrow Agent is acting solely as stakeholder at the request of Seller
            and Purchaser and for their convenience, and Escrow Agent shall not be deemed to be the agent of either
            of the parties.

                            (v)     Reliance upon Instruments. Escrow Agent may rely and act upon any instrument
            or other writing believed by it to be genuine and purporting to be signed and presented by any person
            purporting to have authority to act on behalf of Seller or Purchaser, as the case may be.



                                                                  -2 -




                                                                                          EXHIBIT 3 PAGE 2 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 43 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                              (vi)    Responsibility. Escrow Agent shall not be responsible in any manner for the
            validity or sufficiency of any securities, cash, instruments, letters of credit, documents, or any other property
            delivered hereunder, or for the value or collectability of any note, check, letter of credit or other instrument
            or security so delivered, or for any diminution in value of any investment made by Escrow Agent. Nothing
            herein contained shall be deemed to obligate Escrow Agent to deliver any securities, cash instruments,
            letters of credit, documents or any other property referred to herein, unless the same shall have been
            received by Escrow Agent pursuant to this Agreement or a separate written agreement.

                    (c)       Resignation. Escrow Agent may at any time resign upon five (5) business days’ notice to
            Seller and Purchaser. Seller and Purchaser shall jointly select a successor escrow agent and shall notify
            Escrow Agent of the name and address of such successor within five (5) business days after receipt of notice
            of Escrow Agent’s intent to resign. If Escrow Agent has not received notice of the name and address of its
            successor within such period, Escrow Agent may select on behalf of Seller and Purchaser a bank or trust
            company to act as its successor, for such compensation as such bank or trust company shall reasonably
            require of Seller and Purchaser. At any time after such five-business day period, Escrow Agent shall deliver
            the Deposit to its successor as selected hereunder, and upon such delivery the successor escrow agent shall
            become Escrow Agent for all purposes of this Agreement and it shall have all the rights and obligations of
            Escrow Agent pursuant to this Agreement, and the resigning Escrow Agent shall have no further
            responsibilities or obligations hereunder.

                     (d)     Acknowledgment. By execution of this Agreement, Escrow Agent only agrees to the terms
            of this Section 3 and is not binding itself otherwise as a party to this Agreement.

                    (e)      Survival. The provisions of this Section 3 shall survive the Closing or the earlier
            termination of this Agreement.

            4.     THIRD-PARTY MATERIALS; ACCESS

                     (a)     Responsibility for Materials Prepared by Third Parties. Purchaser acknowledges Seller, its
            agents, and/or its attorneys have not made and will not make, nor shall Seller, its agents, its brokers, its
            principals and/or its attorneys be deemed to have made, any warranty or representation, express or implied,
            as to the accuracy or completeness of any materials provided from Seller to Purchaser which have been
            prepared by third parties; provided, however, that Seller represents and warrants that it is providing true
            and correct copies of such materials in its actual possession. Without limiting the generality of the foregoing
            provisions, Purchaser acknowledges and agrees that (i) any environmental or other report with respect to
            the Property which is delivered by Seller to Purchaser shall be for general informational purposes only, (ii)
            Purchaser shall not have any right to rely on any such report delivered by Seller to Purchaser, but rather
            will rely on its own inspections and investigations of the Property and any reports commissioned by
            Purchaser with respect thereto, and (iii) neither Seller, any affiliate of Seller nor the person or entity which
            prepared any such report delivered by Seller to Purchaser shall have any liability to Purchaser for any
            inaccuracy in or omission from any such report.

                     (b)      Access. Purchaser shall not be permitted to enter upon the Property unless Purchaser has first
            delivered written notice to Seller at least one (1) business day in advance of Purchaser’s intended visit. Prior
            to any entry by Purchaser or its agents, representatives or contractors onto the Property, Purchaser shall
            provide or cause to be provided to Seller evidence reasonably satisfactory to Seller that Purchaser or its agents,
            representatives or contractors has in force adequate liability and worker's compensation insurance with
            coverage of not less than One Million Dollars ($1,000,000), to protect Seller against any and all liability,
            claims, demands, damages and costs (including attorneys' fees, costs and expenses) which may occur as a
            result of any activity of Purchaser or its agents, representatives or contractors. Purchaser shall (i) immediately
            pay or cause to be removed any liens filed against the Property as a result of any actions taken above by or on

                                                                   -3 -




                                                                                           EXHIBIT 3 PAGE 3 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 44 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




            behalf of Purchaser; (ii) immediately repair and restore the Property to its condition existing immediately prior
            to the entry thereon by Purchaser or any of Purchaser’s agents, representatives or contractors; and (iii) shall
            indemnify, defend and hold Seller harmless from and against all claims, damages, or losses incurred to the
            Property or to or by anyone on the Property (“Claims”) as a result of the actions taken above by Purchaser,
            or any of Purchaser’s agents, representatives or contractors, or any persons performing inspection activities
            or other activities on their behalf, provided, however, Purchaser shall not indemnify Seller against any (1)
            Claims caused by Seller or any of its agents’, employees’ or representative’s negligence or willful misconduct,
            (2) Claims arising out of conditions that were present before Purchaser or Purchaser’s agents, representatives
            or contractors entered the Property, (3) the results or finding of any inspection, unless such claim, demand,
            cause of action, loss, cost, liability, and/or expense is caused by Purchaser or any of Purchaser’s agents,
            representatives or contractors activities on the Property, (4) the diminution in value in the Property arising
            from or relating to matters merely discovered by Purchaser or any of Purchaser’s agents, representatives or
            contractors or to the extent that it becomes necessary for Purchaser or any of Purchaser’s agents,
            representatives or contractors to report such discovered environmental findings to any public agency as may
            be required by any applicable environmental laws or regulations, or (5) damage to the Property or any portion
            thereof caused by anyone other than Purchaser or any of Purchaser’s agents, representatives or contractors.
            The terms, conditions and obligations of this subsection (b) shall survive any termination of this Agreement.

            5.     CLOSING

                    (a)     Closing Date. The consummation of the transactions described herein (the “Closing”) shall
            occur on the date that is one-hundred fifty (150) days following the Effective Date (such date on which the
            Closing occurs, the “Closing Date”). The Closing shall occur through an “escrow closing”, in the offices
            of Escrow Agent, utilizing overnight courier delivery of originally executed documents to Escrow Agent.
            TIME SHALL BE OF THE ESSENCE with respect to Purchaser’s obligation to close the transaction
            contemplated hereunder on or before the Closing Date.

                   (b)      Purchaser Deliveries. At the Closing, Purchaser shall fully execute and acknowledge, if
            necessary, and deliver to Seller the following:

                              (i)   the balance of the Purchase Price, after giving effect to the cost allocations
            specified in this Agreement, by confirmed wire transfer of immediately available funds to Escrow Agent;

                            (ii)      a Bill of Sale and Assignment of Warranties substantially in the form attached
            hereto as Exhibit D;

                            (iii)    a settlement statement detailing the allocation of costs, expenses, and applicable
            credits between Seller and Purchaser as provided in this Agreement; and

                          (iv)     any additional documents that Escrow Agent may reasonably require for the
            consummation of the transaction contemplated by this Agreement.

                    (c)     Seller Deliveries. At the Closing, Seller shall fully execute and acknowledge, if necessary,
            and deliver to Purchaser the following:

                           (i)      a deed for the Property, in the form attached hereto as Exhibit B (the “Deed”),
            conveying the Property to Purchaser;

                           (ii)     a certificate, substantially in the form attached hereto as Exhibit C, with respect
            to Section 1445(a) of the Internal Revenue Code of 1986, as amended, relating to the Foreign Investors
            Real Property Tax Act;


                                                                  -4 -




                                                                                           EXHIBIT 3 PAGE 4 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 45 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                             (iii)   counterparts of the Bill of Sale and Assignment of Warranties;

                           (iv)    an owner's title affidavit in customary form reasonably acceptable to Seller and
            Escrow Agent (the “Title Affidavit”);

                            (v)      a settlement statement detailing the allocation of costs, expenses, and applicable
            credits between Seller and Purchaser as provided in this Agreement; and

                          (vi)     any additional documents that Escrow Agent may reasonably require for the
            consummation of the transaction contemplated by this Agreement.

                      (d)     Exceptions to Title. Purchaser is in receipt of a commitment for title insurance relating to
            the Property, dated effective March 21, 2022, a copy of which is attached hereto and incorporated herein
            by reference as Schedule 5(d) (the “Title Commitment”). Purchaser shall have the right, on or before the
            twenty-fifth (25th ) day after the Effective Date, to provide written notification to Seller and Escrow Agent
            (“Objection Notice”) of any objections it has to the Title Commitment and survey, if any, of the Property
            (a “Title Objection”). If Purchaser fails to timely deliver an Objection Notice as provided above, all
            exceptions and other matters appearing on any survey of the Property or existing of record shall be deemed
            accepted by Purchaser and included as Permitted Title Exceptions. If Purchaser timely delivers an
            Objection Notice, Seller, in Seller’s sole discretion, may elect (but shall have no obligation to, attempt to
            remove or cure such Title Objections or matters on or prior to Closing. Seller shall be deemed to have
            given notice to Purchaser that Seller refuses to attempt to cure any such Title Objection or matter, which
            Seller may so do in its sole discretion, unless Seller, within five (5) days after Seller’s receipt of an
            Objection Notice for the Property, notifies Purchaser in writing (each, a “Seller’s Title Notice”) that Seller
            will either attempt or refuse to cure such Title Objections or matters. If any Seller’s Title Notice indicates
            that Seller refuses to cure said Title Objections (or if Seller does not deliver a Seller’s Title Notice, such
            failure being deemed a refusal), Purchaser may, at its option and as its sole and exclusive remedy, (i)
            terminate this Agreement by giving written notice thereof to Seller and Escrow Agent (provided that notice
            of termination is given not later than two (2) business days after the earlier of its receipt of Seller’s Title
            Notices or the expiration of the date by which Seller’s Title Notice was to otherwise be provided, time
            being of the essence as to such date), and in such event, the Deposit shall be returned to Purchaser and this
            Agreement shall be of no further force and effect (subject, however, to any obligations expressly stated to
            survive the termination or expiration of this Agreement); or (ii) waive such Title Objections and accept that
            title to the Property is subject thereto, in which event there shall be no reduction in the Purchase Price. If
            Purchaser does not give such notice within such 2- business day period, time being of the essence with
            respect to the giving of such notice, Purchaser shall be deemed to have waived its right to object to such
            Title Objection or matter and shall be obligated to close in accordance with this Agreement. Any Title
            Objections or matters so waived (or deemed waived) by Purchaser shall be deemed to constitute Permitted
            Title Exceptions. Notwithstanding whether or not Purchaser provides any Objection Notice, Seller shall be
            obligated to provide to the Title Company a Title Affidavit acceptable for purposes of causing Item 6 of
            Schedule C to be removed from the Title Commitment. Whether or not Purchaser furnishes any Objection
            Notice to Seller pursuant this Section 5(d), Purchaser may, at or prior to Closing, obtain updates of the Title
            Commitment and Survey and notify Seller in writing of any objections to the Title Commitment or Survey
            first raised by (i) the surveyor between the effective date of the Survey and Closing, or (ii) the Escrow
            Agent the effective date of the Title Commitment and Closing. With respect to any Objection Notice to the
            Title Commitment or Survey set forth in any such notice, Seller will have the same option to cure and
            Purchaser will have the same option to accept title subject to such matters or to terminate this Agreement
            as those which apply to any Objection made by Purchaser before Closing.




                                                                 -5 -




                                                                                         EXHIBIT 3 PAGE 5 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 46 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                    (e)      Condition of Property. At the Closing and except as expressly provided in this Agreement
            to the contrary, the Property and possession thereof shall be delivered to Purchaser “AS IS, WHERE IS
            AND WITH ALL FAULTS”.

            6.     CONDITIONS OF CLOSING

                     (a)    Seller’s Obligation to Close. Seller’s obligation to close hereunder is conditioned on all of
            the following, which may be waived by Seller by an express written waiver, at its sole option:

                             (i)    Representations and Warranties. All representations and warranties made by
            Purchaser in this Agreement shall be true and correct in all material respects on and as of the Effective Date
            and on the Closing Date, as if made on and as of such date; and

                           (ii)      Purchaser’s Deliveries Complete. Purchaser shall have delivered the funds
            required hereunder and all of the documents to be executed by Purchaser set forth in Section 5(b) and shall
            have performed all other covenants, undertakings and obligations, and complied with all conditions required
            by this Agreement, to be performed or complied with by Purchaser at or prior to the Closing.

                     (b)      Purchaser’s Obligation to Close. Purchaser’s obligation to close hereunder is conditioned
            on all of the following, which may be waived by Purchaser by an express written waiver, at its sole option:

                            (i)      Representations and Warranties. All representations and warranties made by Seller
            in this Agreement shall be true and correct in all material respects on and as of the Effective Date and on
            the Closing Date, as if made on and as of such date;

                             (ii)    Title Policy. Escrow Agent shall be unconditionally committed to issue a title
            insurance policy in the amount of the Purchase Price insuring good and indefeasible title to the Property,
            subject only to the Permitted Title Exceptions; and

                             (iii)     Seller’s Deliveries Complete. Seller shall have delivered all of the documents and
            other items required under Section 5(c) and shall have performed all other covenants, undertakings and
            obligations, and complied with all conditions required by this Agreement, to be performed or complied with
            by Seller at or prior to the Closing.

                             If any of the above-described conditions precedent to Purchaser’s obligations hereunder is
            not satisfied, Purchaser may, at its option, (1) waive such condition and close this transaction, (2) extend
            Closing for a period of time not to exceed five (5) days in the aggregate in order to satisfy the conditions
            precedent, or (3) terminate this Agreement by notice in writing to Seller, in which event Purchaser shall be
            refunded the Deposit, this Agreement shall terminate, and, except as otherwise provided in this Agreement,
            neither Purchaser nor Seller shall have any further liability or obligation under this Agreement.

            7.     REMEDIES

                     (a)     Breach

                            (i)     If there is a material breach by Seller of this Agreement which remains uncured
            for more than ten (10) days after receipt of written notice from Purchaser describing the default, then
            Purchaser's sole and exclusive remedy shall be to either, at Purchaser’s election: (1) seek specific
            performance of any of Seller’s obligations under this Agreement, or (2) terminate this Agreement by
            notifying Seller thereof, whereupon neither party hereto shall have any further rights or obligations
            hereunder. Upon any such termination, the Deposit shall be promptly refunded to Purchaser, and except as


                                                                 -6 -




                                                                                         EXHIBIT 3 PAGE 6 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 47 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




            otherwise expressly provided herein, no party hereto shall have any further rights or obligations under this
            Agreement. IN NO EVENT SHALL SELLER BE LIABLE TO PURCHASER FOR PUNITIVE,
            SPECULATIVE, SPECIAL, OR CONSEQUENTIAL DAMAGES.

                               (ii)   If there is a material breach by Purchaser of this Agreement which remains uncured
            for more than ten (10) days after receipt of written notice from Seller describing the default, then Seller’s
            sole and exclusive remedy shall be to terminate this Agreement upon notice to Purchaser and Escrow Agent,
            whereupon the Deposit shall be paid to Seller and Seller shall have no other rights or remedies against
            Purchaser hereunder except as expressly set forth herein. Purchaser agrees that the delivery of the Deposit
            to Seller is liquidated damages to recompense Seller for time expended, labor and services performed and
            the loss of its bargain, and Seller waives any and all equitable remedies, including without limitation the
            right to specific performance of this Agreement. Purchaser and Seller agree that it would be impractical or
            extremely difficult to affix damages if Purchaser so defaults and that the Deposit, together with interest
            thereon, represents a reasonable estimate of Seller’s damages. Seller agrees to accept the Deposit as Seller’s
            total damages and relief if Purchaser defaults in its obligations hereunder. If Purchaser does so default,
            Purchaser shall have no further right, title, or interest in or to the Property.

                     (b)     Survival. This Section 7 shall survive the termination of this Agreement.

            8.     WARRANTIES, REPRESENTATIONS AND COVENANTS

                     (a)     Purchaser's Representations. Purchaser warrants, represents and covenants to Seller as of
            the date hereof and on and as of the Closing Date that Purchaser (i) is a duly constituted limited liability
            company, validly existing and in good standing in the State of its organization; (ii) has full power and
            authority to execute and deliver this Agreement and to perform its obligations hereunder and has taken all
            necessary action to authorize the execution and performance of this Agreement and the consummation of
            the transactions contemplated herein; (iii) has the financial resources to consummate the transaction
            contemplated herein and pay the Purchase Price; and (iv) is not currently identified on the OFAC List, and
            is not a person with whom a citizen of the United States is prohibited from engaging in transactions by any
            trade embargo, economic sanction, or other prohibition of United States law, regulation, or executive order
            of the President of the United States.

                    (b)     Seller’s Representations. Seller warrants, represents and covenants to Purchaser as of the
            date hereof and on and as of the Closing Date that:

                             (i)       Seller is a duly constituted limited liability company validly existing and in good
            standing in the State of its organization;

                            (ii)    Seller has full power and authority to execute and deliver this Agreement and to
            perform its obligations hereunder and has taken all necessary action to authorize the execution and
            performance of this Agreement and the consummation of the transactions contemplated herein;

                            (iii)  the execution and performance of this Agreement does not in any manner conflict
            with any other agreement to which Seller is a party;

                             (iv)    Seller is not currently identified on the OFAC List, and is not a person with whom
            a citizen of the United States is prohibited from engaging in transactions by any trade embargo, economic
            sanction, or other prohibition of United States law, regulation, or executive order of the President of the
            United States;




                                                                 -7 -




                                                                                         EXHIBIT 3 PAGE 7 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 48 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                           (v)     Seller has not received written notice regarding any condemnation or similar
            proceeding affecting the Property, and, to the best of Seller’s knowledge, no such proceeding is
            contemplated; and

                                (vi)     Seller has not sold, transferred, conveyed, or entered into any agreement regarding
            air rights, utility rights (including capacity, credits, or reimbursements) or development rights or restrictions
            relating to the Property, except as may be provided in the Property Documents or as shown in the Title
            Report.

                             (vii)  To the current, actual knowledge of Seller, without duty of inquiry or investigation,
            there are no attachments, executions, assignments for the benefit of creditors, receiverships,
            conservatorships or voluntary or involuntary proceedings in bankruptcy or pursuant to any other debtor
            relief laws contemplated or filed by Seller, or pending against Seller; and

                             (viii) The City of Houston (“City”) has notified Seller that a portion of the construction
            fence surrounding the Property encroaches onto the City right-of-way and that the City has required removal
            of such fence. Seller shall remedy such encroachment, at its sole cost and expense, prior to the Closing
            Date. In the event that Seller has not received written notice from the City evidencing the City’s satisfaction
            of the removed encroachment, Purchaser shall receive a $25,000.00 credit at Closing in order to remedy
            the encroachment post-Closing.

                     (c)      Purchaser’s Acknowledgments. As a material part of the consideration for this Agreement,
            Purchaser acknowledges that it is accepting the Property as of the Closing Date subject to the foregoing
            representations and warranties of Seller, the conveyance documents and this Agreement, but otherwise “AS
            IS, WHERE IS AND WITH ALL FAULTS.” Purchaser acknowledges that except as otherwise expressly
            provided in this Agreement or the conveyance documents, Seller, its agents, its principals, its brokers and/or
            its attorneys have not made and will not make, nor shall Seller, its agents, its principals, its brokers and/or
            its attorneys be deemed to have made, any warranty or representation, express or implied as to any matter
            including, without limitation, (i) the fitness, design or condition of the Property for any particular use or
            purpose, (ii) the quality of the material or workmanship therein, (iii) the existence of any defect, latent or
            patent, (iv) except as may be expressly provided herein to the contrary, Seller's title thereto which is being
            conveyed subject to the Permitted Title Exceptions, (v) value, (vi) compliance with specifications,
            (vii) location, (viii) use, (ix) condition, (x) merchantability, (xi) quality, (xii) description, (xiii) durability,
            (xiv) operation, or (xv) the existence of any hazardous substance. Subject to the foregoing representations
            and warranties of Seller, Purchaser further acknowledges that Seller, its agents, its principals, its brokers
            and/or its attorneys have not made any representations or warranties with respect to environmental
            conditions on or affecting the Property, including (1) whether the Property has been or is contaminated by
            or with, or has or is contaminating or has or is contributing to the contamination of any other property with,
            any substance in any manner which could require remediation under any law or regulation, including local,
            state, federal or common law, (2) whether the Property contains or has ever contained any environmentally
            sensitive areas in which development could be precluded or limited under any law or regulation, including
            local, state, federal or common law, or wetlands or flood plains regulations or laws, (3) whether the Property
            contains or has ever contained any underground tanks or substances of any kind, including asbestos or
            polychlorinated biphenyls, whose removal or disposal is subject to or has ever been subject to special
            regulations under any law or regulation, including local, state, federal or common law, or (4) whether any
            activities on the Property have been conducted or are being conducted in violation of any laws concerning
            the handling of any materials by reason of the hazardous or toxic characteristics of such materials or the
            disposal of any wastes, the discharge of any materials into the soil, air, surface, water, or groundwater, or
            the conducting of activities in environmentally sensitive areas. If any defect or deficiency in any portion of
            the Property of any nature, whether latent or patent, Seller, its agents, its principals, its brokers and/or its
            attorneys shall not have any responsibility or liability with respect thereto or for any incidental or

                                                                    -8 -




                                                                                             EXHIBIT 3 PAGE 8 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 49 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




            consequential damages (including strict liability in tort), unless directly caused or arising from the acts or
            omissions of Seller, its agents, its principals, its brokers and/or its attorneys. Subject to Seller’s express
            obligations under this Agreement, Purchaser, for itself and any entity affiliated with Purchaser, hereby
            waives and releases Seller, its agents, its brokers, its principals and/or its attorneys from and against any
            claims, demands, penalties, fines, liabilities, settlements, damages, costs or expenses of whatever kind or
            nature, known or unknown, existing and future, contingent or otherwise (INCLUDING ANY ACTION OR
            PROCEEDING, BROUGHT OR THREATENED, OR ORDERED BY ANY APPROPRIATE
            GOVERNMENTAL ENTITY) MADE, INCURRED, OR SUFFERED BY PURCHASER OR ANY
            ENTITY AFFILIATED WITH PURCHASER RELATING TO THE PRESENCE, MISUSE, USE,
            DISPOSAL, RELEASE OR THREATENED RELEASE OF ANY HAZARDOUS OR TOXIC
            MATERIALS, CHEMICALS OR WASTES AT THE PROPERTY AND ANY LIABILITY OR CLAIM
            RELATED TO THE PROPERTY ARISING UNDER THE COMPREHENSIVE ENVIRONMENTAL
            RESPONSE, COMPENSATION, AND LIABILITY ACT OF 1980, THE SUPERFUND AMENDMENTS
            AND REAUTHORIZATION ACT OF 1986, THE RESOURCE CONSERVATION AND RECOVERY
            ACT, AND THE TOXIC SUBSTANCE CONTROL ACT, ALL AS AMENDED, OR ANY OTHER
            CAUSE OF ACTION BASED ON ANY OTHER STATE, LOCAL, OR FEDERAL ENVIRONMENTAL
            LAWS, RULE OR REGULATION, EXCEPT TO THE EXTENT DIRECTLY CAUSED OR ARISING
            FROM THE ACTS OR OMMISSION OF SELLER, ITS AGENTS, ITS PRINCIPALS, ITS BROKERS
            AND/OR ITS ATTORNEYS.

                     Purchaser acknowledges that Seller may or may not have undertaken an independent analysis of
            the historical and projected financial condition and performance of the Property (“Seller's Financial
            Analysis”) and that Seller's Financial Analysis, if any, constitutes proprietary and confidential information
            of Seller. Purchaser therefore acknowledges that Seller has not provided Seller's Financial Analysis, if any,
            to Purchaser. Purchaser has conducted to its satisfaction its own independent analysis of the historical and
            projected financial condition and performance of the Property and, in making the determination to proceed
            with the transactions contemplated by this Agreement, has relied solely on the results of its own independent
            analysis and the representations and warranties of Seller expressly set forth in this Agreement. Purchaser
            acknowledges and agrees that neither Seller nor any other person has made any guarantee, representation
            or warranty, express or implied, as to the historical or projected financial condition or performance of the
            Property (or any part thereof) or other matters that are not included in this Agreement. Except as otherwise
            provided in this Agreement or the conveyance documents, neither Seller nor any other person shall have
            any liability or responsibility whatsoever to Purchaser or its members, managers, directors, officers,
            employees, affiliates, controlling persons, agents, advisors or representatives, or any other person, on any
            basis (including in contract or tort, under federal or state securities laws or otherwise) based upon any
            information provided or made available, or statements made, to Purchaser or its directors, officers,
            employees, affiliates, controlling persons, advisors, agents or representatives (or any omissions therefrom).

                     (d)      Seller Covenants. Seller agrees that it shall continue to operate and manage the Property
            in substantially the same manner in which Seller has previously operated and managed the Property. Seller
            further agrees that, from and after the Effective Date and continuing through Closing, Seller shall
            reasonably cooperate with Purchaser (at Purchaser’s sole liability and expense) in connection with
            Purchaser’s applications for and pursuit of utility capacity letters, pre-plat approval requests, and building
            permit applications relating to the Property, and Seller shall join in such applications, as necessary, so long
            as the sought-after entitlements do not become effective until Closing. Seller shall respond to such request
            within forty-eight (48) hours prior notice from Purchaser. Prior to Closing, Seller shall not: (i) enter into
            any leases, licenses, or other occupancy agreements; or (ii) enter into any service contract or other contract
            or agreement pertaining to the Property, or any portion thereof which cannot be terminated without
            premium or penalty on or before the Closing Date without the prior written consent of Purchaser, which
            consent shall not be unreasonably withheld, conditioned or delayed.


                                                                 -9 -




                                                                                         EXHIBIT 3 PAGE 9 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 50 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                     (e)     Limitation of Liability.

                              (i)      Notice is hereby given that all persons dealing with Seller shall look solely to the
            assets of Seller for the enforcement of any claim against Seller and none of the members, directors, trustees,
            officers, employees, agents, shareholders or principals of Seller or its affiliates assume any personal liability
            for obligations entered into by or on behalf of Seller. Likewise, notice is hereby given that all persons
            dealing with Purchaser shall look solely to the assets of Purchaser for the enforcement of any claim against
            Purchaser and none of the directors, trustees, officers, employees, shareholders or principals of Purchaser
            assume any personal liability for obligations entered into by or on behalf of Purchaser.

                              (ii)    Subject to Seller’s notice and cure rights as provided in Section 7(a) of this
            agreement, Purchaser’s sole remedy with respect to a violation of a representation or warranty by Seller
            contained in Section 8 of this Agreement of which Purchaser has knowledge prior to the Closing shall be
            either (1) to terminate this Agreement by delivering written notice to Seller and Escrow Agent, whereupon
            the Deposit shall be returned to Purchaser, this Agreement shall terminate, and none of the parties to this
            Agreement shall have any further rights or obligations hereunder (other than any such rights or obligations
            that are expressly stated in this Agreement to survive the termination thereof), or (2) to close the transaction
            contemplated hereby (without any abatement of the Purchase Price or allowance of any kind), in which
            event Purchaser shall be deemed to have waived any violation of such representation. If Purchaser fails to
            deliver a termination notice to Seller and Escrow Agent on or prior to the Closing Date, then Purchaser
            shall proceed to Closing in accordance with the terms hereof and Seller shall not have any liability
            whatsoever to Purchaser with respect to any such misrepresentation of which Purchaser has knowledge, or
            is deemed to have knowledge, as of the Closing Date. For purposes of this Section 8, Purchaser shall be
            deemed to have “knowledge” of any information relating to the Property that is delivered to Purchaser or
            its representatives in writing or is otherwise made available to Purchaser or its representatives in writing or
            electronically (including via any website or e-room on which documents and other information may be
            viewed), at any time prior to the Closing Date, either by or on behalf of Seller, or any partner, member,
            director, officer, employee, agent or counsel of Seller.

                            (iii)   With respect to a violation of a representation by Seller contained herein or made
            pursuant hereto of which Purchaser does not have knowledge until after the Closing, Purchaser may
            exercise any rights and remedies available at law or in equity; provided, however, that Seller’s liability
            hereunder shall in no event exceed $50,000.00, and all claims by Purchaser against Seller hereunder shall
            be made no later than sixty (60) days after the Closing Date; and, provided, further, in no event shall
            Purchaser have the right to make a claim for or collect any consequential, punitive or indirect damages
            from Seller and Purchaser waives any and all such rights.

            9.     CASUALTY AND CONDEMNATION

                    If all or any portion of the Property is destroyed or materially damaged, or if condemnation
            proceedings are commenced against any portion of the Property, Purchaser may elect to terminate this
            Agreement by notifying Seller in writing of such electing within five (5) business days after receipt of
            notice of such event from Seller in which event the Deposit shall be returned to Purchaser. If Purchaser
            elects to proceed with the transaction, all proceeds of insurance or condemnation awards payable to Seller
            by reason of such damage or condemnation, if any, shall be paid or assigned to Purchaser at Closing. This
            Section 9 shall contain Purchaser's sole remedies as against Seller in the event of any casualty or
            condemnation.




                                                                  - 10 -




                                                                                         EXHIBIT 3 PAGE 10 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 51 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




            10.     BROKERS

                    Purchaser and Seller each represents to the other that it has not dealt with any party acting as a broker
            or sales agent in connection with the transactions described in this Agreement other than Oxberry Group,
            as a representative of Purchaser (“Purchaser’s Broker”), and Jones Lang Lasalle, as a representative of
            Seller (“Seller’s Broker”). Purchaser’s principals may have an ownership and/or managerial interest in
            Purchaser’s Broker. Seller shall pay a commission to Seller’s Broker pursuant to a separate written
            agreement between Seller and Seller’s Broker. Additionally, Seller shall pay a commission to Purchaser’s
            Broker in an amount equal to four percent (4%) of the Purchase Price. No commission will be earned if
            the transaction fails to close and neither broker will be entitled to any portion of the Deposit that may be
            retained by Seller. Seller’s Broker and Purchaser’s Broker shall have no third-party rights and under no
            circumstances shall Seller have any obligations to Seller’s Broker or Purchaser’s Broker, except as provided
            herein. If any other person shall assert a claim to a finder’s fee, brokerage commission or other
            compensation on account of alleged employment as a finder or broker or performance of services as a finder
            or broker in connection with the transaction, the party under whom the finder or broker is claiming shall
            indemnify, defend, and hold harmless the other party and such party’s affiliates for, from and against any
            and all losses, all claims, expenses, fees or costs, including reasonable attorneys’ fees and disbursements,
            in connection with such claim or any action or proceeding brought on such claim. The provisions of this
            Section 10 shall survive the Closing or termination of this Agreement.

            11.     NOTICES

                   Any notice, demand, request or other communication required to be given pursuant to the terms
            hereunder shall be in writing and (i) sent by certified mail, return receipt requested, (ii) hand-delivered,
            with receipt acknowledged, (iii) sent by overnight courier, with receipt acknowledged, or (iv) transmitted
            by electronic mail (e.g. email), and addressed to the party to receive the notice at the following addresses:

              If to Seller:                              KH-REIT II FUNDING XXII, LLC
                                                         777 W. Putnam Ave.
                                                         3rd Floor, Suite B-2
                                                         Greenwich, CT 06830
                                                         Attention: Jonathan Daniel and Laura Torrado
                                                         Email: jdaniel@knightheadfunding.com
                                                         ltorrado@knighthead.com

              with copies to:                            Hajjar Peters LLP
                                                         3144 Bee Caves Road
                                                         Austin, TX 78746
                                                         Attention: Josh Bernstein
                                                         Telephone: (512) 637-4956
                                                         Email: jbernstein@legalstrategy.com

              If to Purchaser:                           Grant Meadows, L.L.C.
                                                         2429 Bissonnet Street Suite 615
                                                         Houston, TX 77005
                                                         Attention: Shahin “Sean” Jamea
                                                         Telephone: 713-343-6152
                                                         Email: sjamea@oxberrygroup.com

              with copies to:                            Wilson Cribbs + Goren
                                                         Attention: Travis L. Huehlefeld

                                                                  - 11 -




                                                                                         EXHIBIT 3 PAGE 11 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 52 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                         2500 Fannin Street
                                                         Houston, TX 77002
                                                         Telephone: (713) 222-9000
                                                         Email: thuehlefeld@wcglaw.com


              If to Escrow Agent:                        Fidelity National Title Insurance Company
                                                         Attn: Lolly Avant
                                                         1900 West Loop South, Suite 200
                                                         Houston, Texas 77027
                                                         Telephone: (713) 621-9960
                                                         E-mail: lavant@fnf.com


            Either party (or Escrow Agent) may change its address for notices by giving written notice to the other
            party and Escrow Agent, or, in the case of Escrow Agent, to both parties, as aforesaid. Any notice shall be
            deemed received on the day received or receipt is refused. Inability to deliver because of changed address
            of which no notice was given shall be deemed a receipt of such notice.

            12.    MISCELLANEOUS

                    (a)      Entire Agreement; Amendments. This Agreement constitutes the complete and final
            expression of the agreement of the parties hereto and supersedes all previous agreements, either oral or
            written, with respect to the Property and the transactions described herein. This Agreement may not be
            modified, amended, discharged or terminated, nor may any of the obligations of the parties hereunder be
            waived, except by a written instrument executed by the parties hereto.

                     (b)      Permitted Assignment of Agreement. The terms, conditions and covenants of this
            Agreement shall be binding upon and shall inure to the benefit of the parties and their respective nominees,
            successors, beneficiaries and permitted assignees. Neither Purchaser nor Seller may transfer, assign or
            encumber this Agreement or any interest herein, by operation of law or otherwise, without the prior written
            consent of the other party; provided, however, that Purchaser may assign its rights hereunder to one or more
            single purpose entities wholly owned or managed by Purchaser or its principals upon written notice to
            Seller given at least five (5) days prior to the Closing Date. The original Purchaser shall remain primarily
            liable under this Agreement notwithstanding such assignment.

                    (c)     No Recording. Purchaser shall not (i) record, or attempt to record, this Agreement or a
            memorandum hereof or (ii) place, or attempt to place, a vendee's lien upon the Property. The provisions of
            this Section 12(c) shall survive the termination of this Agreement.

                     (d)     Parties’ Expenses. Seller and Purchaser shall pay their own respective expenses, costs and
            fees (including attorneys’ fees and disbursements) incurred in connection with the negotiation, preparation,
            execution and delivery of this Agreement, and any third party reports, except as otherwise expressly
            provided herein. Seller and Purchaser shall each pay one-half (1/2) of the fees of Escrow Agent. Seller
            shall pay for the cost of the standard owner’s policy of title insurance to be issued pursuant to the Title
            Commitment, real estate transfer taxes (if any), title search costs, and the cost to record releases of any lien
            created by or at the direction of Seller. Purchaser shall pay the premium for extended coverage and any title
            insurance endorsements desired by Purchaser, all costs in connection with its mortgage loan, if applicable,
            and the cost of any Phase I environmental site assessment, property condition assessment, and other
            inspections of the Property Purchaser elects to perform. All other closing costs and expenses shall be paid
            in accordance with the customs of the State in which the Property is located.

                                                                 - 12 -




                                                                                        EXHIBIT 3 PAGE 12 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 53 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                     (e)     Prorations. All real estate taxes, and all other public or governmental charges and public
            or private assessments against the Property which are or may be payable on an annual basis (including
            metropolitan district, sanitary commission, benefit charges, liens or encumbrances for sewer, water,
            drainage or other public improvements whether completed or commenced on or prior to the date hereof or
            subsequent thereto), shall be adjusted and prorated between the parties as of the day prior to Closing and
            shall thereafter be assumed and paid by Purchaser, whether or not assessments have been levied as of the
            date of Closing. Any tax proration based on an estimate may be subsequently readjusted at the request of
            either party upon receipt of a tax bill. The obligation to adjust shall survive Closing for one-hundred twenty
            (120) days. If this sale or Purchaser’s use of the Property after closing results in additional assessments for
            periods before Closing, including any roll back type of assessments and any penalties related thereto, the
            assessments will be the obligation of Purchaser.

                     (f)      Construction; Headings. When used herein, the term “including” shall mean “including
            without limitation” unless otherwise specifically provided; all other language in this Agreement shall be
            construed simply according to its fair meaning, and not strictly for or against any of the parties hereto. The
            headings in this Agreement are for convenience only, and are not to be utilized in construing the content or
            meanings of any of the provisions hereof and shall not be deemed to constitute a part of this Agreement.
            All pronouns and any variations thereof shall be deemed to refer to the masculine, feminine, neuter, singular
            or plural, as the identity of the person or persons may require.

                    (g)      Announcements; Confidentiality. Neither party shall make any press release or other public
            announcement concerning this transaction without the prior written consent of the other party. Seller and
            Purchaser hereby covenant and agree to keep the nature, terms and conditions of this Agreement and the
            transactions contemplated hereunder confidential and Purchaser hereby covenants and agrees to keep any
            materials delivered to it by Seller or its affiliates confidential; provided, however, that the foregoing may
            be disclosed (A) as required by applicable law, regulation or legal process, and (B) to Seller’s or Purchaser’s
            representatives in connection with the consummation of the transactions contemplated herein, so long as
            such representatives agree to act in accordance with the terms of this Section 12(g).

                     (h)     Severability. Any provision of this Agreement which is prohibited or unenforceable shall
            be ineffective to the extent of such prohibition or enforceability without invalidating the remaining portions
            hereof or affecting the validity or enforceability of any other provision of this Agreement.

                     (i)     Governing Law. This Agreement shall be construed, interpreted and governed by the
            internal laws (and not the conflict laws) of the State in which the Property is located.

                     (j)    Time of the Essence. Time is of the essence with respect to each of Purchaser’s and Seller’s
            obligations hereunder.

                 (k)   WAIVER OF TRIAL BY JURY. THE PARTIES HERETO SHALL AND THEY
            HEREBY DO INTENTIONALLY WAIVE ANY AND ALL RIGHTS TO A TRIAL BY JURY IN ANY
            ACTION, PROCEEDING OR COUNTERCLAIM BROUGHT BY EITHER OF THE PARTIES
            HERETO AGAINST THE OTHER ON ANY MATTERS WHATSOEVER ARISING OUT OF OR IN
            ANY WAY CONNECTED WITH THIS AGREEMENT AND/OR ANY CLAIM OR INJURY OR
            DAMAGE RELATED THERETO.

                    (l)     Not a Joint Venture. Seller and Purchaser each acknowledge and agree that the relationship
            between them is that of seller and purchaser and this Agreement does not constitute a partnership, joint
            venture or any other association between them.




                                                                 - 13 -




                                                                                       EXHIBIT 3 PAGE 13 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 54 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                   (m)     Binding Effect of Agreement. This writing shall have no binding force or effect until
            executed and delivered by Purchaser and by Seller to the Escrow Agent.

                     (n)     Counterparts. This Agreement may be executed in one or more counterparts, each of which
            shall be deemed an original and all of which counterparts taken together shall constitute one and the same
            original. Executed copies of this Agreement may be delivered by telecopy or by email attachment and,
            upon receipt, shall be deemed originals and binding upon the parties hereto. Without limiting or otherwise
            affecting the validity of executed copies hereof that have been delivered by telecopy, the parties will use
            best efforts to deliver originals as promptly as possible following execution thereof.

                    (o)      Final Dates. If the final date of any deadline falls upon a Saturday, Sunday, or holiday
            recognized by the U.S. Postal Service, then in such event the time of such deadline shall be extended to the
            next day that is not a Saturday, Sunday, or holiday recognized by the U. S. Postal Service. Whenever the
            word “days” is used herein, it shall be considered to mean “calendar days” and not “business days” unless
            an express statement to the contrary is made

                      (p)     Section 1031 Exchange. Seller and Purchaser may each consummate the purchase of the
            Property as part of a so-called like kind exchange (the “Exchange”) pursuant to Section 1031 of the Internal
            Revenue Code of 1986, as amended (the “Code”), provided that: (i) the Closing shall not be delayed or
            affected by reason of the Exchange nor shall the consummation or accomplishment of the Exchange be a
            condition precedent or condition subsequent to the exchanging party’s obligations under this Agreement;
            (ii) the exchanging party shall effect the Exchange through an assignment of its rights under this Agreement
            to a qualified intermediary; and (iii) the non-exchanging party shall not be required to take an assignment
            of the purchase agreement for the replacement property or be required to acquire or hold title to any real
            property for purposes of consummating the Exchange. The non-exchanging party shall not by this
            agreement or acquiescence to the Exchange (1) have its rights under this Agreement affected or diminished
            in any manner or (2) be responsible for compliance with or be deemed to have warranted to the exchanging
            party that the Exchange in fact complies with Section 1031 of the Code.

                    The provisions of this Agreement are for the benefit of Purchaser or Seller, and no other parties
            shall have any right or claim against Purchaser or Seller by reason of this Agreement or be entitled to benefit
            therefrom or to enforce any of the provisions thereof.

                    (q)     Separate Counsel. Each party hereby represents that it has had the adequate opportunity to
            consult with and has consulted with legal counsel in connection with this Agreement and hereby waives
            any defense or claim that such party was not effectively represented in connection with this
            Agreement. None of the provisions of this Agreement shall be interpreted against the interest of the party
            who caused the Agreement to be drafted.



                                                     [Signature page to follow]




                                                                 - 14 -




                                                                                       EXHIBIT 3 PAGE 14 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 55 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                   IN WITNESS WHEREOF, Seller and Purchaser have executed this Agreement as of the date first
            above written.



              Dated: March ___, 2022              SELLER:
                       4/1/2022
                                                  KH-REIT II FUNDING XXII, LLC,
                                                  a Delaware limited liability company


                                                  By:    ____________________________
                                                  Name: Laura L. Torrado
                                                  Title: Authorized Signatory



              Dated: March ___, 2022              PURCHASER:
                       3/31/2022

                                                  GRANT MEADOWS, L.L.C.,
                                                  a Texas limited liability company


                                                  By: __________________________________
                                                  Name: Shahin Jamea
                                                  Title: Authorized Agent


                      April
              Dated: March ___,
                            1 2022                ESCROW AGENT:

                                                  With respect to Section 3 only:

                                                  FIDELITY NATIONAL TITLE INSURANCE COMPANY


                                                  By: __________________________________
                                                          Lolly Avant
                                                  Name: ________________________________
                                                          Senior Vice President
                                                  Title: _________________________________




                                                               - 15 -




                                                                                      EXHIBIT 3 PAGE 15 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 56 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                             EXHIBIT A

                                                    Legal Description of Land

            TRACT 1:

            Being all of Unrestricted Reserve "A", Block 1, of CAYDON 2701 MAIN STREET, a subdivision in
            Harris County, Texas, according to the map or plat thereof recorded in Film Code No. 693477, of the Map
            Records of Harris County, Texas.

            TRACT 2:

            Being all of Unrestricted Reserve "A", Block 1, of CAYDON 2627 MAIN STREET, a subdivision in
            Harris County, Texas, according to the map or plat thereof recorded in Film Code No. 693664, of the Map
            Records of Harris County, Texas.




                                                                                  EXHIBIT 3 PAGE 16 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 57 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                             EXHIBIT B

                                                             Form of Deed


                                                  SPECIAL WARRANTY DEED


            STATE OF TEXAS                    §
                                                       KNOW ALL MEN BY THESE PRESENTS:
            COUNTY OF HARRIS                  §

                     That KH-REIT II FUNDING XXII, LLC, a Delaware limited liability company (“Grantor”),
            having an address of 777 West Putnam Ave., 3rd Floor, Suite B-2, Greenwich, CT 06830, for and in
            consideration of $10.00 and other good and valuable consideration paid, the receipt and sufficiency of
            which are hereby acknowledged, has GRANTED, BARGAINED, SOLD, AND CONVEYED and by these
            presents does GRANT, BARGAIN, SELL, AND CONVEY to ___________________________
            (“Grantee”), that certain parcel or parcels of land in the county and state referenced above, more
            particularly described on Exhibit A attached hereto and incorporated herein for all purposes, together with
            all and singular the rights, privileges, hereditaments, and appurtenances pertaining to such real property
            (collectively, the “Property”).

                     This conveyance is made and accepted subject to current real property taxes and all unpaid non-
            delinquent general and special taxes, bonds and assessments; all liens, covenants, conditions, reservations,
            rights, easements, interests, rights of way, and restrictions of public record; all matters of public record; all
            leases and other occupancy agreements in effect; all zoning ordinances and regulations and any other laws,
            ordinances or governmental regulations restricting or regulating the use, occupancy or enjoyment of the
            Property; all matters visible upon or about the Property or that would be disclosed by an accurate survey of
            the Property (“Permitted Encumbrances”).

                    TO HAVE AND TO HOLD the Property, together with all and singular the rights and
            appurtenances thereunto in anywise belonging, unto Grantee, its successors and assigns forever, and
            Grantor does hereby bind itself, its successors and assigns, to WARRANT AND FOREVER DEFEND all
            and singular the title to the Property unto the said Grantee, its successors and assigns against every person
            whomsoever lawfully claiming or to claim the same or any part thereof by, through, or under Grantor but
            not otherwise, subject to the Permitted Encumbrances.

            Grantee's address is: ____________________________________



                                                  [SIGNATURE PAGE FOLLOWS]




                                               SPECIAL WARRANTY DEED - PAGE 2




                                                                                         EXHIBIT 3 PAGE 17 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 58 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                     EXECUTED as of _______________, 2022.


                                                             KH-REIT II FUNDING XXII, LLC,
                                                             a Delaware limited liability company


                                                             By:    ____________________________
                                                             Name: Laura L. Torrado
                                                             Title: Authorized Signatory



            STATE OF ________________                 §
                                                      §
            COUNTY OF ______________                  §

                   The foregoing instrument was acknowledged before me this _____ day of ______________, 2022,
            by Laura Torrado, Authorized Signatory of KH-REIT II FUNDING XXII, LLC, a Delaware limited liability
            company, on behalf of said limited liability company.


                                                             ____________________________________________
                                                             Notary Public, State of _______________________




                                        SPECIAL WARRANTY DEED – SIGNATURE PAGE




                                                                                   EXHIBIT 3 PAGE 18 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 59 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                             EXHIBIT A

                                                      LEGAL DESCRIPTION




                                                                          EXHIBIT 3 PAGE 19 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 60 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                             EXHIBIT C

                                                   Form of FIRPTA Certificate

                                           CERTIFICATE OF NONFOREIGN STATUS

            PURCHASER:

            SELLER:

            U.S. REAL PROPERTY INTEREST:

                     Section 1445 of the Internal Revenue Code (the “Code”) provides that a transferee of a U.S. real
            property interest must withhold tax if the transferor is a foreign person. For U.S. tax purposes (including
            Section 1445 of the Code), the owner of a disregarded entity (which has legal title to a U.S. real property
            interest under local law), and not the disregarded entity, will be the transferor of such property.

                    To inform Purchaser that withholding of tax is not required upon the disposition by Seller of the
            U.S. real property interest, the undersigned, on behalf of [__________________] (“Owner”) in its capacity
            as owner of Seller, certifies to Purchaser, the following:

                             1.      Owner is the owner of Seller;

                             2.      Seller is a disregarded entity;

                             3.      Owner is not a disregarded entity as defined in § 1.1445-2(b)(2)(iii);

                             4.      Owner is not a foreign corporation, foreign partnership, foreign trust, or foreign
                                     estate (as those terms are defined in the Code and Income Tax Regulations
                                     promulgated thereunder);

                             5.      Owner’s U.S. employer identification number is ___________, and its office
                                     address is: _______________.

                    Owner understands that this certification may be disclosed to the Internal Revenue Service by the
            transferee and that any false statement contained herein could be punished by fine, imprisonment or both.

                    Under penalties of perjury, I declare that I have examined this certification and to the best of my
            knowledge and belief it is true, correct and complete, and I further declare that I have authority to sign
            this document on behalf of Owner.

                                                     [Signature Page Follows]




                                                                                       EXHIBIT 3 PAGE 20 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 61 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




            Dated: ______________________

                                                             [___________________________]


                                                             By:    ____________________________
                                                             Name:
                                                             Title:




            Sworn to me this _____ day of ________________, 2022


            _________________________
            Notary Public




                                                                                EXHIBIT 3 PAGE 21 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 62 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                             EXHIBIT D

                                       Form of Bill of Sale and Assignment of Warranties


                                        BILL OF SALE AND GENERAL ASSIGNMENT

                    KNOW ALL MEN BY THESE PRESENTS, that KH-REIT II FUNDING XXII, LLC, a Delaware
            limited liability company (“Seller”), for and in consideration of the sum of Ten Dollars and No/100 Dollars
            ($10.00) in hand paid by ________________________ (“Purchaser”), to or on behalf of Seller, the receipt
            of which is hereby acknowledged, Assignor has simultaneously herewith conveyed to the Assignee all of
            Assignor’s right, title and interest in and to certain real property located at 2701 Main Street and 0 Main
            Street and 2606 Fannin Street, Houston, Texas 77002 (the “Premises”), and in connection therewith,
            Assignor does hereby sell, transfer and assign to Purchaser, its successors and assigns, all of Seller’s right,
            title and interest, if any, in and to the following (collectively, “Assigned Property”): (i) all machinery,
            appliances, furniture, equipment, trade fixtures and other tangible personal property (collectively, the
            “Equipment”); (ii) any warranties and/or guaranties relating to the Premises to the extent assignable
            (collectively, “Warranties”), and (iii) to the extent assignable, any transferable consents, authorizations,
            variances or waivers, licenses, permits, development rights, air rights, entitlements, guarantees, certificates,
            permits, warranties and approvals from any governmental or quasi-governmental agency, department,
            board, commission, bureau or other entity or instrumentality relating to the Premises (collectively
            “Approvals”), (iv) all guarantees, licenses, approvals, certificates, permits, warranties, transferable
            telephone exchange numbers, plans and specifications, engineering plans and studies, floor plans, landscape
            plans, logos, designs, trade names, trademarks, servicemarks, copyrights and other intellectual property, to
            the extent assignable (collectively, “Intangible Property”). Seller makes no warranty or representation
            with respect to the Assigned Property, which is conveyed on an “AS-IS, WHERE-IS, WITH ALL
            FAULTS” basis, without recourse to Assignor.



                                       [SIGNATURES APPEAR ON FOLLOWING PAGE]




                                                                                        EXHIBIT 3 PAGE 22 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 63 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                   IN WITNESS WHEREOF, Seller and Purchaser have executed this Bill of Sale and General
            Assignment as of the date first above written.



              Dated: ______ ___, 2022             SELLER:

                                                  KH-REIT II FUNDING XXII, LLC,
                                                  a Delaware limited liability company


                                                  By:    ____________________________
                                                  Name: Laura L. Torrado
                                                  Title: Authorized Signatory



              Dated: ______ ___, 2022             PURCHASER:



                                                  GRANT MEADOWS, L.L.C., a Texas limited liability company


                                                  By: __________________________________
                                                  Name: ________________________________
                                                  Title: _________________________________




                                                               -2 -




                                                                                   EXHIBIT 3 PAGE 23 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 64 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                         SCHEDULE 5(D)

                                                     [TITLE COMMITMENT]




                                                                          EXHIBIT 3 PAGE 24 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 65 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F



                                                                COMMITMENT FOR TITLE INSURANCE (T-7)
    Issued By:                                                                                         Commitment Number:

                    Fidelity National Title Insurance
                                                                                                       FAH22004012
                    Company


           THE FOLLOWING COMMITMENT FOR TITLE INSURANCE IS NOT VALID UNLESS YOUR NAME AND THE
             POLICY AMOUNT ARE SHOWN IN SCHEDULE A, AND OUR AUTHORIZED REPRESENTATIVE HAS
                                         COUNTERSIGNED BELOW.



    We (Fidelity National Title Insurance Company, a Florida corporation) will issue our title insurance policy or policies (the
    Policy) to You (the proposed insured) upon payment of the premium and other charges due, and compliance with the
    requirements in Schedule C. Our Policy will be in the form approved by the Texas Department of Insurance at the date of
    issuance, and will insure your interest in the land described in Schedule A. The estimated premium for our Policy and
    applicable endorsements is shown on Schedule D. There may be additional charges such as recording fees, and
    expedited delivery expenses.
    This Commitment ends ninety (90) days from the effective date, unless the Policy is issued sooner, or failure to issue the
    Policy is our fault. Our liability and obligations to you are under the express terms of this Commitment and end when this
    Commitment expires.

                                                                                Fidelity National Title Insurance Company
                                                                                   By:
    Issued By:
    Fidelity National Title
    1900 West Loop South, Suite 200
    Houston, TX 77027                                                                          Michael J. Nolan, President
    lavant@fnf.com; RMB-teamavant@fnf.com                                          Attest:




                       Authorized Signatory                                                   Marjorie Nemzura, Secretary
                                                          CONDITIONS AND STIPULATIONS
    1.   If you have actual knowledge of any matter which may affect the title or mortgage covered by this Commitment that is
         not shown in Schedule B you must notify us in writing. If you do not notify us in writing, our liability to you is ended or
         reduced to the extent that your failure to notify us affects our liability. If you do notify us, or we learn of such matter, we
         may amend Schedule B, but we will not be relieved of liability already incurred.
    2. Our liability is only to you, and others who are included in the definition of Insured in the Policy to be issued. Our
       liability is only for actual loss incurred in your reliance on this Commitment to comply with its requirements, or to
       acquire the interest in the land. Our liability is limited to the amount shown in Schedule A of this Commitment and will
       be subject to the following terms of the Policy: Insuring Provisions, Conditions and Stipulations, and Exclusions.




    Form T-7: Commitment for Title Insurance (01/03/14)                                                   TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                             EXHIBIT 3 PAGE 25 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 66 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




         THE LANGUAGE SET FORTH BELOW MUST BE INCORPORATED INTO A COVER LETTER ATTACHED
         TO ALL TITLE INSURANCE COMMITMENTS.


                               Required Language for a Title Insurance Commitment Cover Letter

        The attached title insurance commitment contains information which has been obtained or derived from records
        and information owned by Title Data, Inc. or one (1) of its subsidiaries (collectively "Title Data"). Title Data owns
        and maintains land title plants for various Texas counties. Our company's right to access and use Title Data's title
        plants is governed by the Subscription Agreement(s) we have with Title Data, which restricts who can receive
        and/or use a title insurance commitment, which is based in whole or in part, upon Title Data's records and
        information. The information contained in the title plants is protected by federal copyright law and Texas common
        law on trade secrets and contract.

        This Title Insurance Commitment should not be re-distributed without first confirming with the issuing
        agent what is permissible under the terms of their Subscription Agreement with Title Data.




        REQUIRED LANGUAGE FOR A TITLE INSURANCE COMMITMENT COVER LETTER
        Letter (Title Data - Commitment) (03.27.19)




                                                                                      EXHIBIT 3 PAGE 26 OF 44
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 67 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                                WIRE FRAUD ALERT
                                         This Notice is not intended to provide legal or professional advice.
                                              If you have any questions, please consult with a lawyer.

    All parties to a real estate transaction are targets for wire fraud and many have lost hundreds of thousands of dollars
    because they simply relied on the wire instructions received via email, without further verification. If funds are to be wired
    in conjunction with this real estate transaction, we strongly recommend verbal verification of wire instructions
    through a known, trusted phone number prior to sending funds.

    In addition, the following non-exclusive self-protection strategies are recommended to minimize exposure to possible wire
    fraud.

         NEVER RELY on emails purporting to change wire instructions.                                       Parties to a transaction rarely change wire
         instructions in the course of a transaction.

         ALWAYS VERIFY wire instructions, specifically the ABA routing number and account number, by calling the party who
         sent the instructions to you. DO NOT use the phone number provided in the email containing the instructions, use
         phone numbers you have called before or can otherwise verify. Obtain the number of relevant parties to the
         transaction as soon as an escrow account is opened. DO NOT send an email to verify as the email address may
         be incorrect or the email may be intercepted by the fraudster.

         USE COMPLEX EMAIL PASSWORDS that employ a combination of mixed case, numbers, and symbols. Make your
         passwords greater than eight (8) characters. Also, change your password often and do NOT reuse the same
         password for other online accounts.

         USE MULTI-FACTOR AUTHENTICATION for email accounts. Your email provider or IT staff may have specific
         instructions on how to implement this feature.

    For more information on wire-fraud scams or to report an incident, please refer to the following links:

               Federal Bureau of Investigation:                                                          Internet Crime Complaint Center:
                      http://www.fbi.gov                                                                         http://www.ic3.gov




    Wire Fraud Alert                                                                                                                                                  Page 1
    Original Effective Date: 5/11/2017
    Current Version Date: 5/11/2017                                                                                                FAH22004012 - WIRE0016 (DSI Rev. 12/07/17)
                                             TM and © Fidelity National Financial, Inc. and/or an affiliate. All rights reserved




                                                                                                                    EXHIBIT 3 PAGE 27 OF 44
              Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 68 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE COMPANY                                             COMMITMENT NO.: FAH22004012



                                                             SCHEDULE A

    Effective Date: March 14, 2022 at 8:00 AM                                                   GF No.: FTH-18-FAH22004012
    Commitment No.: FAH22004012                                                             Issued: March 21, 2022 at 8:00 AM

    1.   The policy or policies to be issued are:
         a.    OWNER'S POLICY OF TITLE INSURANCE (Form T-1)
               (Not applicable for improved one-to-four family residential real estate)
               Policy Amount:    TBD
               PROPOSED INSURED: Grant Meadows, LLC

         b.    TEXAS RESIDENTIAL OWNER'S POLICY OF TITLE INSURANCE
               ONE-TO-FOUR FAMILY RESIDENCES (Form T-1R)
               Policy Amount:
               PROPOSED INSURED:

         c.    LOAN POLICY OF TITLE INSURANCE (Form T-2)
               Policy Amount:     TBD
               PROPOSED INSURED: TBD
               Proposed Borrower: Grant Meadows, LLC

         d.    TEXAS SHORT FORM RESIDENTIAL LOAN POLICY OF TITLE INSURANCE (Form T-2R)
               Policy Amount:
               PROPOSED INSURED:
               Proposed Borrower:

         e.    LOAN TITLE POLICY BINDER ON INTERIM CONSTRUCTION LOAN (Form T-13)
               Policy Amount:
               PROPOSED INSURED:
               Proposed Borrower:

         f.    OTHER
               Policy Amount:
               PROPOSED INSURED:
    2.   The interest in the land covered by this Commitment is:
               Fee Simple
    3.   Record title to the land on the Effective Date appears to be vested in:
               KH-REIT II FUNDING XXII, LLC, a Delaware limited liability company




    Form T-7: Commitment for Title Insurance (01/03/14)                                             TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                          EXHIBIT 3 PAGE 28 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 69 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE                                                Commitment No.: FAH22004012
    COMPANY

                                                             SCHEDULE A
                                                              (continued)
         4.    Legal description of land:
               TRACT 1

               All of UNRESTRICTED RESERVE "A", BLOCK 1, CAYDON 2701 MAIN STREET, a subdivision of 1.1478
               acres, according to the map or plat thereof recorded under Film Code Number 693477 of the Map
               Records of Harris County, Texas.

               TRACT 2

               All of UNRESTRICTED RESERVE "A", BLOCK 1, CAYDON 2627 MAIN STREET, a subdivision of 0.9410
               acres, according to the map or plat thereof recorded under Film Code Number 693664 of the Map
               Records of Harris County, Texas.




                                                          END OF SCHEDULE A




    Form T-7: Commitment for Title Insurance (01/03/14)                                    TX-FT-FHST--SPS-1-22-FAH22004012




                                                                              EXHIBIT 3 PAGE 29 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 70 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE COMPANY                                                 COMMITMENT NO.: FAH22004012

                                                                 SCHEDULE B
                                                          EXCEPTIONS FROM COVERAGE

    Commitment No.: FAH22004012                                                                         GF No.: FTH-18-FAH22004012

    In addition to the Exclusions and Conditions and Stipulations, your Policy will not cover loss, costs, attorney’s fees, and
    expenses resulting from:
    1.         The following restrictive covenants of record itemized below (We must either insert specific recording data or
               delete this exception):

               Film Code No. 693477, of the Map Records of Harris County, Texas. (Tract 1)
               Film Code No. 693664, of the Map Records of Harris County, Texas. (Tract 2)


               Omitting any covenants or restrictions, if any, including but not limited to those based upon race, color, religion,
               sex, sexual orientation, familial status, marital status, disability, handicap, national origin, ancestry, source of
               income, gender, gender identity, gender expression, medical condition or genetic information, as set forth in
               applicable state or federal laws, except to the extent that said covenant or restriction is permitted by applicable
               law.

    2.         Any discrepancies, conflicts, or shortages in area or boundary lines, or any encroachments or protrusions, or any
               overlapping of improvements.

    3.         Homestead or community property or survivorship rights, if any of any spouse of any insured.

               (Applies to the Owner Policy only.)

    4.         Any title or rights asserted by anyone, including, but not limited to, persons, the public, corporations, governments
               or other entities,

               a.         to tidelands, or lands comprising the shores or beds or navigable or perennial rivers and streams, lakes,
                          bays, gulfs or oceans, or

               b.         to lands beyond the line of the harbor or bulkhead lines as established or changed by any government, or

               c.         to filled-in lands, or artificial islands, or

               d.         to statutory water rights, including riparian rights, or

               e.         to the area extending from the line of mean low tide to the line of vegetation, or the rights of access to that
                          area or easement along and across that area.

                          (Applies to the Owner Policy only.)

    5.         Standby fees, taxes and assessments by any taxing authority for the year 2022 and subsequent years; and
               subsequent taxes and assessments by any taxing authority for prior years due to change in land usage or
               ownership; but not those taxes or assessments for prior years because of an exemption granted to a previous
               owner of the property under Section 11.13, Texas Tax Code, or because of improvements not assessed for a
               previous tax years. (If Texas Short Form Residential Mortgagee Policy of Title Insurance (T-2R) is issued, that
               policy will substitute ''which become due and payable subsequent to Date of Policy'' in lieu of ''for the year 2022
               and subsequent years.'')

    6.         The terms and conditions of the documents creating your interest in the land.

    7.         Materials furnished or labor performed in connection with planned construction before signing and delivering the
               lien document described in Schedule A, if the land is part of the homestead of the owner. (Applies to the

    Form T-7: Commitment for Title Insurance (01/03/14)                                                     TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                              EXHIBIT 3 PAGE 30 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 71 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE COMPANY                                                 COMMITMENT NO.: FAH22004012

                                                                 SCHEDULE B
                                                          EXCEPTIONS FROM COVERAGE
                                                              (continued)
               Mortgagee Title Policy Binder on Interim Construction Loan only, and may be deleted if satisfactory evidence is
               furnished to us before a binder is issued.)

    8.         Liens and leases that affect the title to the land, but that are subordinate to the lien of the insured mortgage.

               (Applies to Mortgagee Policy (T-2) only.)

    9.         The Exceptions from Coverage and Express Insurance in Schedule B of the Texas Short Form Residential
               Mortgagee Policy of Title Insurance (T-2R). (Applies to Texas Short Form Residential Mortgagee Policy of Title
               Insurance (T-2R) only. Separate exceptions 1 through 8 of this Schedule B do not apply to the Texas Short Form
               Residential Mortgagee Policy of Title Insurance (T-2R).

    10.        The following matters and all terms of the documents creating or offering evidence of the matters (We must insert
               matters or delete this exception):

               a.         Rights of parties in possession.

               b.         The following exception will appear in any policy issued (other than the T-1R Residential Owner Policy of
                          Title Insurance and the T-2R Short-Form Residential Mortgagee Policy) if the Company is not provided a
                          survey of the Land, acceptable to the Company, for review at or prior to closing:

                          Any encroachment, encumbrance, violation, variation, or adverse circumstance affecting the title that
                          would be disclosed by an accurate and complete land survey of the Land.


                          Note: Upon receipt of a survey acceptable to the Title Company, this exception will be deleted. The
                          Company reserves the right to except additional items and/or make additional requirements after
                          reviewing said survey.

               c.         Easement(s) for the purpose(s), visibility triangle, and rights incidental thereto as delineated or as offered
                          for dedication, on the map of said tract/plat; affects 15 feet by 15 feet at all four corners, recorded as
                          Document No. Film Code Number 693477 Map Records Harris County, Texas. (Tract 1)

                          Purpose, pedestrian realm, affects 1.0 feet wide along Main Street and 2.2 feet wide along Dennis Street.

                          Purpose, drainage, affects 15 feet wide along either side of the centerline of all natural drainage courses
                          in the addition .

               d.         Building set-back line, as disclosed by said plat recorded in Film Code No. 693477, of the Map Records of
                          Harris County, Texas. (As to Tract 1)

                          Affects: 2.0 feet wide along Fannin Street
                          Affects: Variable width from 7.9 feet wide to 4.5 feet wide along Drew Street


               e.         Agreement ENCROACHMENT, MAINTENANCE AND ACCESS EASEMENT AGREEMENT, executed by
                          CAYDON HOUSTON PROPERTY 2 LP, a Delaware limited partnership, Grantor and MAIN 2601
                          PARTNERS, LLC, a Texas limited liability company, Grantee, recorded on August 3, 2017, as Document
                          No. Harris County Clerk's File No. RP-2017-350471, Affects as shown on Exhibit "C-2" for maintenance
                          and on Exhibit "D-2" for access, attached thereto. (Tract 2)

               f.         Easement(s) for the purpose(s), visibility triangle , and rights incidental thereto as delineated or as offered
                          for dedication, on the map of said tract/plat; affects 15 feet by 15 feet at the west and south corners,
                          recorded as Film Code Number 693664 Map Records Harris County, Texas. (Tract 2)

    Form T-7: Commitment for Title Insurance (01/03/14)                                                      TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                              EXHIBIT 3 PAGE 31 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 72 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE COMPANY                                                  COMMITMENT NO.: FAH22004012

                                                                 SCHEDULE B
                                                          EXCEPTIONS FROM COVERAGE
                                                                    (continued)

                          Purpose, drainage, affects 15 feet wide along either side of the centerline of all natural drainage courses
                          in the addition .

               g.         A building set-back line, as disclosed by said map/plat in Film Code No. 693664, of the Map Records of
                          County, Texas. (Tract 2)

                          Affects: 10 feet in width along the Dennis Street property line
                          Affects: 25 feet in width along the Main Street and Fannin Street property lines


               h.         All leases, grants, exceptions or reservations of coal, lignite, oil, gas and other minerals, together with all
                          rights, privileges, and immunities relating thereto, appearing in the Public Records whether listed in
                          Schedule B or not. There may be leases, grants, exceptions or reservations of mineral interest that are
                          not listed.

               i.         Rights of tenants in possession, as tenants only, under unrecorded lease agreements. ( both Tracts)

               j.         If any portion of the proposed loan and/or the Owner's Title Policy coverage amount includes funds for
                          immediately contemplated improvements, the following exceptions will appear in Schedule B of any policy
                          issued as indicated:

                          Owner and Loan Policy(ies): Any and all liens arising by reason of unpaid bills or claims for work
                          performed or materials furnished in connection with improvements placed, or to be placed, upon the
                          subject land. However, the Company does insure the insured against loss, if any, sustained by the Insured
                          under this policy if such liens have been filed with the County Clerk of County, Texas, prior to the date
                          hereof.

                          Owner Policy(ies) Only: Liability hereunder at the date hereof is limited to $ 0.00. Liability shall increase
                          as contemplated improvements are made, so that any loss payable hereunder shall be limited to said sum
                          plus the amount actually expended by the insured in improvements at the time the loss occurs. Any
                          expenditures made for improvements, subsequent to the date of this policy, will be deemed made as of
                          the date of this policy. In no event shall the liability of the Company hereunder exceed the face amount of
                          this policy. Nothing contained in this paragraph shall be construed as limiting any exception or any printed
                          provision of this policy.

                          Loan Policy(ies) Only: Pending disbursement of the full proceeds of the loan secured by the lien
                          instrument set forth under Schedule A hereof, this policy insures only to the extent of the amount actually
                          disbursed, but increase as each disbursement is made in good faith and without knowledge of any defect
                          in, or objections to, the title up to the face amount of the policy. Nothing contained in this paragraph shall
                          be construed as limiting any exception under Schedule B, or any printed provision of this policy.


               k.         NOTICE OF STORM WATER QUALITY REQUIREMENTS, executed by Caydon Houston Property 2 LP
                          ("Owner"), recorded on September 21, 2020, under Harris County Clerk's File No. RP-2020-442240.
                          (Tract 1)




    Form T-7: Commitment for Title Insurance (01/03/14)                                                       TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                               EXHIBIT 3 PAGE 32 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 73 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE COMPANY                                                 COMMITMENT NO.: FAH22004012


                                                                 SCHEDULE C

    Commitment No.: FAH22004012                                                                          GF No.: FTH-18-FAH22004012

    Your Policy will not cover loss, costs, attorneys' fees, and expenses resulting from the following requirements that will
    appear as Exceptions in Schedule B of the Policy, unless you dispose of these matters to our satisfaction, before the date
    the Policy is issued:

    1.         Documents creating your title or interest must be approved by us and must be signed, notarized and filed for
               record.

    2.         Satisfactory evidence must be provided that:

               a.         no person occupying the land claims any interest in that land against the persons named in paragraph 3 of
                          Schedule A,

               b.         all standby fees, taxes, assessments and charges against the property have been paid,

               c.         all improvements or repairs to the property are completed and accepted by the owner, and that all
                          contractors, sub-contractors, laborers and suppliers have been fully paid, and that no mechanic's,
                          laborer's or materialmen's liens have attached to the property,

               d.         there is legal right of access to and from the land,

               e.         (on a Mortgagee Policy only) restrictions have not been and will not be violated that affect the validity and
                          priority of the insured mortgage.

    3.         You must pay the seller or borrower the agreed amount for your property or interest.

    4.         Any defect, lien or other matter that may affect title to the land or interest insured, that arises or is filed after the
               effective date of this Commitment.

    5.         Please be advised that our search did not disclose any open mortgages of record. If you should have knowledge
               of any outstanding obligation, please contact the Title Department immediately for further review prior to closing.

    6.         We should have lender verify that it has not been contacted by the claimants of Mecanic's Liens filed under Harris
               County Clerk's File No(s) RP-2021-137391 and RP-2021-413788, seeking to be paid by the lender on some
               quantum meruit theory.

    7.         Title to subject property is vested in KH-REIT II FUNDING XXII, LLC, a Delaware limited liability company by virtue
               of (Substitute) Trustee’s Deed

               Dated:                      April 6, 2021
               Recording No.:              Harris County Clerk's File No. RP-2021-191476

               The Company must be furnished with the following information reduced to recordable affidavit, pertaining to the
               Trustee’s sale:

               Whether the defaulting mortgagor(s) was living and competent on the date of posting of notice(s) for the sale and
               on the date of the sale.

               Who is in possession of subject property at the present time.

               Satisfactory evidence that the seller/lender is in peaceable possession of the property.

    8.         The Land lies within the boundaries of Midtown Management District and may be subject to taxes or special
               assessments by reason thereof. Notice of inclusion of said Land in said district must be given and executed by


    Form T-7: Commitment for Title Insurance (01/03/14)                                                       TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                              EXHIBIT 3 PAGE 33 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 74 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE COMPANY                                                COMMITMENT NO.: FAH22004012


                                                                 SCHEDULE C
                                                                    (continued)

               purchaser and seller and filed of record.

    9.         The Company will require the following documents for review prior to the issuance of any title insurance predicated
               upon a conveyance or encumbrance from the entity named below.

               Limited Liability Company: KH-REIT II FUNDING XXII, LLC

               a. A copy of its operating agreement, if any, and any and all amendments, supplements and/or
                  modifications thereto, certified by the appropriate manager or member.

               b. If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendment
                  thereto with the appropriate filing stamps.

               c.   If the Limited Liability Company is member-managed a full and complete current list of members
                    certified by the appropriate manager or member.

               d. A current dated certificate of good standing from the proper governmental authority of the state in which
                  the entity was created

               e. If less than all members, or managers, as appropriate, will be executing the closing documents,
                  furnish evidence of the authority of those signing.

               The Company reserves the right to add additional items or make further requirements after review of the
               requested documentation.

    10.        The Company will require the following documents for review prior to the issuance of any title insurance predicated
               upon a conveyance or encumbrance from the entity named below.

               Limited Liability Company: Grant Meadows, LLC

               a. A copy of its operating agreement, if any, and any and all amendments, supplements and/or
                  modifications thereto, certified by the appropriate manager or member.

               b. If a domestic Limited Liability Company, a copy of its Articles of Organization and all amendment
                  thereto with the appropriate filing stamps.

               c.   If the Limited Liability Company is member-managed a full and complete current list of members
                    certified by the appropriate manager or member.

               d. A current dated certificate of good standing from the proper governmental authority of the state in which
                  the entity was created

               e. If less than all members, or managers, as appropriate, will be executing the closing documents,
                  furnish evidence of the authority of those signing.

               The Company reserves the right to add additional items or make further requirements after review of the
               requested documentation.

    11.        The following note is for informational purposes only:

               The following deed(s) affecting said land were recorded within twenty-four (24) months of the date of this report:

               Grantor:                    Sandy Dasigenis, Substitute Trustee
               Grantee:                    KH-REIT II FUNDING XXII, LLC, a Delaware limited liability company

    Form T-7: Commitment for Title Insurance (01/03/14)                                                   TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                            EXHIBIT 3 PAGE 34 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 75 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE COMPANY                                              COMMITMENT NO.: FAH22004012


                                                                 SCHEDULE C
                                                                    (continued)

               Recording Date:             April 9, 2021
               Recording No:               Harris County Clerk's File No. RP-2021-191476

    12.        Note –Important Notice

               You have the right to have your funds deposited in an interest-bearing account.

               If you choose to establish an interest-bearing account for your deposit, notify your escrow officer immediately.
               Thereafter you will be provided with a Notice of Election form which you should complete in writing by completing
               and returning the form, along with your taxpayer identification information, not later than five (5) days before the
               scheduled closing. If you choose to establish an interest-bearing account for your deposit, an additional charge of
               $50.00 will be required. This charge may exceed the amount of interest to be earned on the deposit, depending
               on the amount, applicable interest rate, and the duration of the deposit.

               As an example, the amount of interest you can earn on a deposit of $1000.00 for a thirty-day period at an interest
               rate of 4% is $3.33. Interest earned is dependent on the amount of deposit, time of deposit and the applicable
               interest rate.

               If you do not choose to establish an interest-bearing account for your deposit, your funds will be deposited with
               other escrow funds in your escrow agent’s general escrow account with an authorized financial institution and may
               be transferred to another general escrow account or accounts. By reason of the banking relationship between our
               Company and the financial institution, the Company may receive an array of bank services, accommodations or
               other benefits. The escrow funds will not be affected by such services, accommodations or other benefits.

               Failure to notify your escrow officer and complete the additional required investment authorization form shall
               constitute waiver of any intention of establishing an interest-bearing account for your deposit(s).


    13.        As to any document creating your title or interest that will be executed or recorded electronically, or notarized
               pursuant to an online notarization, the following requirements apply:

               • Confirmation prior to closing that the County Clerk of Harris County, Texas has approved and authorized
               electronic recording of electronically signed and notarized instruments in the form and format that is being used.

               • Electronic recordation of the instruments to be insured in the Official Public Records of Harris County, Texas.

               • Execution of the instruments to be insured pursuant to the requirements of the Texas Uniform Electronic
               Transactions Act, Chapter 322 of the Business and Commerce Code.

               • Acknowledgement of the instruments to be insured by a notary properly commissioned as an online notary public
               by the Texas Secretary of State with the ability to perform electronic and online notarial acts under 1 TAC Chapter
               87.

    14.        Due to office closures related to COVID-19, we may be temporarily unable to record/access documents in the
               normal course of business. As such, we will require our AFFIDAVIT OF UNDERSTANDING AND INDEMNITY
               AND HOLD HARMLESS AGREEMENT DUE TO CORONAVIRUS PANDEMIC to be signed by all parties.




    Form T-7: Commitment for Title Insurance (01/03/14)                                                  TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                           EXHIBIT 3 PAGE 35 OF 44
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 76 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


    FIDELITY NATIONAL TITLE INSURANCE COMPANY                                                        COMMITMENT NO.: FAH22004012


                                                                    SCHEDULE D

    Commitment No.: FAH22004012                                                                                    GF No.: FTH-18-FAH22004012

    Pursuant to the requirements of Rule P-21, Basic Manual of Rules, Rates and Forms for the writing of Title Insurance in the State of Texas, the
    following disclosures are made:

    1.   The issuing Title Insurance Company, Fidelity National Title Insurance Company, is a corporation whose shareholders owning or
         controlling, directly or indirectly, 10% of said corporation, directors and officers are listed below:
         Shareholders: Fidelity National Title Group, Inc. which is owned 100% by FNTG Holdings, LLC which is owned 100% by Fidelity National
                       Financial, Inc.
         Directors: Raymond Randall Quirk, Anthony John Park, Marjorie Nemzura, Michael J. Nolan, Steven G. Day
         Officers:     Raymond Randall Quirk (President), Anthony John Park (Executive Vice President), Marjorie Nemzura (Secretary), Daniel
                       Kennedy Murphy (Treasurer)
    2.   The following disclosures are made by the Title Insurance Agent issuing this Commitment:
         Fidelity National Title
         (a) A listing of each shareholder, owner, partner, or other person having, owning or controlling one percent (1%) or more of the Title
             Insurance Agent that will receive a portion of the premium.
               Owners:       FNTS Holdings, LLC owns 100% of Fidelity National Title
         (b) A listing of each shareholder, owner, partner, or other person having, owning or controlling 10 percent (10%) or more of an entity that
             has, owns or controls one percent (1%) or more of the Title Insurance Agent that will receive a portion of the premium.
               Owners:       FNTG Holdings, LLC owns 100% of FNTS Holdings, LLC
         (c) If the Agent is a corporation: (i) the name of each director of the Title Insurance Agent, and (ii) the names of the President, the
             Executive or Senior Vice-President, the Secretary and the Treasurer of the Title Insurance Agent.
               Directors: Raymond Randall Quirk, Anthony John Park
               Officers:     Laurie H. Ford (President), Paula D. Hester (President), Todd B. Rasco (President), Anthony John Park (Chief Financial
                             Officer and Executive Vice President), Marjorie Nemzura (Secretary), Joseph William Grealish (Executive Vice President),
                             John Ernst (Executive Vice President)
         (d) The name of any person who is not a full-time employee of the Title Insurance Agent and who receives any portion of the title
             insurance premium for services performed on behalf of the Title Insurance Agent in connection with the issuance of a title insurance
             form; and, the amount of premium that any such person shall receive. NONE.
         (e) For purposes of this paragraph 2, "having, owning or controlling" includes the right to receipt of a percentage of net income, gross
             income, or cash flow of the Agent or entity in the percentage stated in subparagraphs (a) or (b).

    3.   You are entitled to receive advance disclosure of settlement charges in connection with the proposed transaction to which this commitment
         relates. Upon your request, such disclosure will be made to you. Additionally, the name of any person, firm or corporation receiving a
         portion of the premium from the settlement of this transaction will be disclosed on the closing or settlement statement.
         You are further advised that the estimated title premium* is:
                                                                   Total               $              0.00
         Of this total amount: 15% will be paid to the policy issuing Title Insurance Company; 85% will be retained by the issuing Title Insurance
         Agent; and the remainder of the estimated premium will be paid to other parties as follows:
                                      Percent/Amount                     To Whom                                        For Services
         *The estimated premium is based upon information furnished to us as of the date of this Commitment for Title Insurance. Final
         determination of the amount of the premium will be made at closing in accordance with the Rules and Regulations adopted by the
         Commissioner of Insurance.




    Form T-7: Commitment for Title Insurance (01/03/14)                                                              TX-FT-FHST--SPS-1-22-FAH22004012




                                                                                                    EXHIBIT 3 PAGE 36 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 77 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                       IMPORTANT NOTICE                                     AVISO IMPORTANTE

            To obtain information or make a complaint:         Para obtener información o para presentar una
                                                               queja:

            You may call Fidelity National Title Insurance     Usted puede llamar al número de teléfono gratuito
            Company's toll-free telephone number for           de Fidelity National Title Insurance Company’s para
            information or to make a complaint at:             obtener información o para presentar una queja al:


                            1-877-862-9111                                       1-877-862-9111


            You may contact the Texas Department of            Usted puede comunicarse con el Departamento de
            Insurance to obtain information on companies,      Seguros de Texas para obtener información sobre
            coverages, rights, or complaints at:               compañías, coberturas, derechos, o quejas al:


                            1-800-252-3439                                       1-800-252-3439


            You may write the Texas Department of              Usted puede escribir al Departamento de Seguros
            Insurance:                                         de Texas a:

            P.O. Box 149104                                    P.O. Box 149104
            Austin, TX 78714-9104                              Austin, TX 78714-9104
            Fax: (512) 490-1007                                Fax: (512) 490-1007
            Web: www.tdi.texas.gov                             Sitio web: www.tdi.texas.gov
            E-mail: ConsumerProtection@tdi.texas.gov           E-mail: ConsumerProtection@tdi.texas.gov


            PREMIUM OR CLAIM DISPUTES:                         DISPUTAS POR PRIMAS DE SEGUROS O
            Should you have a dispute concerning your          RECLAMACIONES:
            premium or about a claim you should contact        Si tiene una disputa relacionada con su prima de
            the company first. If the dispute is not           seguro o con una reclamación, usted debe
            resolved, you may contact the Texas                comunicarse con la compañía primero. Si la
            Department of Insurance.                           disputa no es resuelta, usted puede comunicarse
                                                               con el Departamento de Seguros de Texas.


            ATTACH THIS NOTICE TO YOUR POLICY:                 ADJUNTE ESTE AVISO A SU PÓLIZA:
            This notice is for information only and does not   Este aviso es solamente para propósitos
            become a part or condition of the attached         informativos y no se convierte en parte o en
            document.                                          condición del documento adjunto.




                                                                                    Texas Form B-0023-07 Important Notice (06/01/15)




                                                                                 EXHIBIT 3 PAGE 37 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 78 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                       IMPORTANT NOTICE                                     AVISO IMPORTANTE

            To obtain information or make a complaint:         Para obtener información o para presentar una
                                                               queja:

            You may call Fidelity National Title Insurance     Usted puede llamar al número de teléfono gratuito
            Company's toll-free telephone number for           de Fidelity National Title Insurance Company’s para
            information or to make a complaint at:             obtener información o para presentar una queja al:


                            1-877-862-9111                                       1-877-862-9111


            You may contact the Texas Department of            Usted puede comunicarse con el Departamento de
            Insurance to obtain information on companies,      Seguros de Texas para obtener información sobre
            coverages, rights, or complaints at:               compañías, coberturas, derechos, o quejas al:


                            1-800-252-3439                                       1-800-252-3439


            You may write the Texas Department of              Usted puede escribir al Departamento de Seguros
            Insurance:                                         de Texas a:

            P.O. Box 149104                                    P.O. Box 149104
            Austin, TX 78714-9104                              Austin, TX 78714-9104
            Fax: (512) 490-1007                                Fax: (512) 490-1007
            Web: www.tdi.texas.gov                             Sitio web: www.tdi.texas.gov
            E-mail: ConsumerProtection@tdi.texas.gov           E-mail: ConsumerProtection@tdi.texas.gov


            PREMIUM OR CLAIM DISPUTES:                         DISPUTAS POR PRIMAS DE SEGUROS O
            Should you have a dispute concerning your          RECLAMACIONES:
            premium or about a claim you should contact        Si tiene una disputa relacionada con su prima de
            the company first. If the dispute is not           seguro o con una reclamación, usted debe
            resolved, you may contact the Texas                comunicarse con la compañía primero. Si la
            Department of Insurance.                           disputa no es resuelta, usted puede comunicarse
                                                               con el Departamento de Seguros de Texas.


            ATTACH THIS NOTICE TO YOUR POLICY:                 ADJUNTE ESTE AVISO A SU PÓLIZA:
            This notice is for information only and does not   Este aviso es solamente para propósitos
            become a part or condition of the attached         informativos y no se convierte en parte o en
            document.                                          condición del documento adjunto.




                                                                                    Texas Form B-0023-07 Important Notice (06/01/15)




                                                                                 EXHIBIT 3 PAGE 38 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 79 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                        DELETION OF ARBITRATION PROVISION
                                          (Not applicable to the Texas Residential Owner's Policy)


        ARBITRATION is a common form of alternative dispute resolution. It can be a quicker and cheaper means to
        settle a dispute with your Title Insurance Company. However, if you agree to arbitrate, you give up your right to
        take the Title Insurance Company to court and your rights to discovery of evidence may be limited in the arbitration
        process. In addition, you cannot usually appeal an arbitrator's award.

        Your policy contains an arbitration provision (shown below). It allows you or the Company to require
        arbitration if the amount of insurance is $2,000,000 or less. If you want to retain your right to sue the
        Company in case of a dispute over a claim, you must request deletion of the arbitration provision before
        the policy is issued. You can do this by signing this form and returning it to the Company at or before the
        closing of your real estate transaction or by writing to the Company.

        The arbitration provision in the Policy is as follows:

            “Either the Company or the Insured may demand that the claim or controversy shall be submitted to arbitration
            pursuant to the Title Insurance Arbitration Rules of the American Land Title Association (“Rules”). Except as
            provided in the Rules, there shall be no joinder or consolidation with claims or controversies of other persons.
            Arbitrable matters may include, but are not limited to, any controversy or claim between the Company and the
            Insured arising out of or relating to this policy, any service in connection with its issuance or the breach of a
            policy provision, or to any other controversy or claim arising out of the transaction giving rise to this policy. All
            arbitrable matters when the Amount of Insurance is $2,000,000 or less shall be arbitrated at the option of
            either the Company or the Insured, unless the Insured is an individual person (as distinguished from an
            Entity). All arbitrable matters when the Amount of Insurance is in excess of $2,000,000 shall be arbitrated only
            when agreed to by both the Company and the Insured. Arbitration pursuant to this policy and under the Rules
            shall be binding upon the parties. Judgment upon the award rendered by the Arbitrator(s) may be entered in
            any court of competent jurisdiction.”



        Signature                                                               Date




                                                                                                      FORM T-7: Commitment for Title Insurance
                                                                                                     (Deletion of Arbitration Provision) (01/03/14)




                                                                                           EXHIBIT 3 PAGE 39 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 80 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


                                       TEXAS TITLE INSURANCE INFORMATION


         Title insurance insures you against loss resulting from certain risks to your title.
         The commitment for Title Insurance is the title insurance company's promise to issue the title insurance policy.
         The commitment is a legal document. You should review it carefully to completely understand it before your
         closing date.

         El seguro de título le asegura en relación a perdidas resultantes de ciertos riesgos que pueden afectar el título
         de su propriedad.
         El Compromiso para Seguro de Título es la promesa de la compañía aseguradora de títulos de emitir la póliza
         de seguro de título. El Compromiso es un documento legal. Usted debe leerlo cuidadosamente y endenterlo
         complemente antes de la fecha para finalizar su transacción.

        Your Commitment for Title insurance is a legal contract between you and us. The Commitment is not an opinion
        or report of your title. It is a contract to issue you a policy subject to the Commitment's terms and requirements.

        Before issuing a Commitment for Title Insurance (the Commitment) or a Title Insurance Policy (the Policy), the
        Title Insurance Company (the Company) determines whether the title is insurable. This determination has already
        been made. Part of that determination involves the Company's decision to insure the title except for certain risks
        that will not be covered by the Policy. Some of these risks are listed in Schedule B of the attached Commitment as
        Exceptions. Other risks are stated in the Policy as Exclusions. These risks will not be covered by the Policy. The
        Policy is not an abstract of title nor does a Company have an obligation to determine the ownership of any mineral
        interest.

                 --MINERALS AND MINERAL RIGHTS may not be covered by the Policy. The Company may be unwilling
        to insure title unless there is an exclusion or an exception as to Minerals and Mineral Rights in the Policy. Optional
        endorsements insuring certain risks involving minerals, and the use of improvements (excluding lawns, shrubbery
        and trees) and permanent buildings may be available for purchase. If the title insurer issues the title policy with an
        exclusion or exception to the minerals and mineral rights, neither this Policy, nor the optional endorsements,
        insure that the purchaser has title to the mineral rights related to the surface estate.

        Another part of the determination involves whether the promise to insure is conditioned upon certain requirements
        being met. Schedule C of the Commitment lists these requirements that must be satisfied or the Company will
        refuse to cover them. You may want to discuss any matters shown in Schedules B and C of the Commitment with
        an attorney. These matters will affect your title and your use of the land.

        When your Policy is issued, the coverage will be limited by the Policy's Exceptions, Exclusions and Conditions,
        defined below.

               ---EXCEPTIONS are title risks that a Policy generally covers but does not cover in a particular instance.
            Exceptions are shown on Schedule B or discussed in Schedule C of the Commitment. They can also be
            added if you do not comply with the Conditions section of the Commitment. When the Policy is issued, all
            Exceptions will be on Schedule B of the Policy.

                ---EXCLUSIONS are title risks that a Policy generally does not cover. Exclusions are contained in the
            Policy but not shown or discussed in the Commitment.

                ---CONDITIONS are additional provisions that qualify or limit your coverage. Conditions include your
            responsibilities and those of the Company. They are contained in the Policy but not shown or discussed in the
            Commitment. The Policy Conditions are not the same as the Commitment Conditions.




                                                                                                   FORM T-7: Commitment for Title Insurance
                                                                                                      (Title Insurance Information) (01/03/14)




                                                                                         EXHIBIT 3 PAGE 40 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 81 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F


        Commitment Number: FAH22004012                                                                     GF#: FTH-18-FAH22004012


                                         TEXAS TITLE INSURANCE INFORMATION
                                                             (Continued)


        You can get a copy of the policy form approved by the Texas Department of Insurance by calling the Title
        Insurance Company at 1-800-442-7067 or by calling the title insurance agent that issued the Commitment. The
        Texas Department of Insurance may revise the policy form from time to time.

        You can also get a brochure that explains the policy from the Texas Department of Insurance by calling
        1-800-252-3439.

        Before the Policy is issued, you may request changes in the policy. Some of the changes to consider are:

                ---Request amendment of the "area and boundary" exception (Schedule B, paragraph 2). To get this
            amendment, you must furnish a survey and comply with other requirements of the Company. On the Owner's
            Policy, you must pay an additional premium for the amendment. If the survey is acceptable to the Company
            and if the Company's other requirements are met, your Policy will insure you against loss because of
            discrepancies or conflicts in boundary lines, encroachments or protrusions, or overlapping of improvements.
            The Company may then decide not to insure against specific boundary or survey problems by making special
            exceptions in the Policy. Whether or not you request amendment of the "area and boundary" exception, you
            should determine whether you want to purchase and review a survey if a survey is not being provided to you.

                ---Allow the Company to add an exception to "rights of parties in possession." If you refuse this exception,
            the Company or the title insurance agent may inspect the property. The Company may except to and not
            insure you against the rights of specific persons, such as renters, adverse owners or easement holders who
            occupy the land. The Company may charge you for the inspection. If you want to make your own inspection,
            you must sign a Waiver of Inspection form and allow the Company to add this exception to your Policy.

        The entire premium for a Policy must be paid when the Policy is issued. You will not owe any additional premiums
        unless you want to increase your coverage at a later date and the Company agrees to add an Increased Value
        Endorsement.




                                                                                                 FORM T-7: Commitment for Title Insurance
                                                                                                    (Title Insurance Information) (01/03/14)




                                                                                      EXHIBIT 3 PAGE 41 OF 44
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 82 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                    FIDELITY NATIONAL FINANCIAL
                                                          PRIVACY NOTICE
        Effective January 1, 2021
        Fidelity National Financial, Inc. and its majority-owned subsidiary companies (collectively, "FNF," "our," or "we")
        respect and are committed to protecting your privacy. This Privacy Notice explains how we collect, use, and
        protect personal information, when and to whom we disclose such information, and the choices you have about
        the use and disclosure of that information.
        A limited number of FNF subsidiaries have their own privacy notices. If a subsidiary has its own privacy notice, the
        privacy notice will be available on the subsidiary's website and this Privacy Notice does not apply.
        Collection of Personal Information
        FNF may collect the following categories of Personal Information:
         contact information (e.g., name, address, phone number, email address);
               demographic information (e.g., date of birth, gender, marital status);
               identity information (e.g. Social Security Number, driver's license, passport, or other government ID number);
               financial account information (e.g. loan or bank account information); and
               other personal information necessary to provide products or services to you.
        We may collect Personal Information about you from:
         information we receive from you or your agent;
               information about your transactions with FNF, our affiliates, or others; and
               information we receive from consumer reporting agencies and/or governmental entities, either directly from
                these entities or through others.
        Collection of Browsing Information
        FNF automatically collects the following types of Browsing Information when you access an FNF website, online
        service, or application (each an "FNF Website") from your Internet browser, computer, and/or device:
         Internet Protocol (IP) address and operating system;
               browser version, language, and type;
               domain name system requests; and
               browsing history on the FNF Website, such as date and time of your visit to the FNF Website and visits to the
                pages within the FNF Website.
        Like most websites, our servers automatically log each visitor to the FNF Website and may collect the Browsing
        Information described above. We use Browsing Information for system administration, troubleshooting, fraud
        investigation, and to improve our websites. Browsing Information generally does not reveal anything personal
        about you, though if you have created a user account for an FNF Website and are logged into that account, the
        FNF Website may be able to link certain browsing activity to your user account.
        Other Online Specifics
        Cookies. When you visit an FNF Website, a "cookie" may be sent to your computer. A cookie is a small piece of
        data that is sent to your Internet browser from a web server and stored on your computer's hard drive. Information
        gathered using cookies helps us improve your user experience. For example, a cookie can help the website load
        properly or can customize the display page based on your browser type and user preferences. You can choose
        whether or not to accept cookies by changing your Internet browser settings. Be aware that doing so may impair
        or limit some functionality of the FNF Website.
        Web Beacons. We use web beacons to determine when and how many times a page has been viewed. This
        information is used to improve our websites.
        Do Not Track. Currently our FNF Websites do not respond to "Do Not Track" features enabled through your
        browser.


            PRIVACY STATEMENT
            TXFNFTIF_PrivacyStatement.doc




                                                                                           EXHIBIT 3 PAGE 42 OF 44
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 83 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                                                                        Effective Date: 5/1/2018

        Links to Other Sites. FNF Websites may contain links to unaffiliated third-party websites. FNF is not responsible
        for the privacy practices or content of those websites. We recommend that you read the privacy policy of every
        website you visit.
        Use of Personal Information
        FNF uses Personal Information for three main purposes:
         To provide products and services to you or in connection with a transaction involving you.
               To improve our products and services.
               To communicate with you about our, our affiliates', and others' products and services, jointly or independently.
        When Information Is Disclosed
        We may disclose your Personal Information and Browsing Information in the following circumstances:
         to enable us to detect or prevent criminal activity, fraud, material misrepresentation, or nondisclosure;
               to nonaffiliated service providers who provide or perform services or functions on our behalf and who agree to
                use the information only to provide such services or functions;
               to nonaffiliated third party service providers with whom we perform joint marketing, pursuant to an agreement
                with them to jointly market financial products or services to you;
               to law enforcement or authorities in connection with an investigation, or in response to a subpoena or court
                order; or
               in the good-faith belief that such disclosure is necessary to comply with legal process or applicable laws, or to
                protect the rights, property, or safety of FNF, its customers, or the public.
        The law does not require your prior authorization and does not allow you to restrict the disclosures described
        above. Additionally, we may disclose your information to third parties for whom you have given us authorization or
        consent to make such disclosure. We do not otherwise share your Personal Information or Browsing Information
        with nonaffiliated third parties, except as required or permitted by law. We may share your Personal Information
        with affiliates (other companies owned by FNF) to directly market to you. Please see "Choices with Your
        Information" to learn how to restrict that sharing.
        We reserve the right to transfer your Personal Information, Browsing Information, and any other information, in
        connection with the sale or other disposition of all or part of the FNF business and/or assets, or in the event of
        bankruptcy, reorganization, insolvency, receivership, or an assignment for the benefit of creditors. By submitting
        Personal Information and/or Browsing Information to FNF, you expressly agree and consent to the use and/or
        transfer of the foregoing information in connection with any of the above described proceedings.
        Security of Your Information
        We maintain physical, electronic, and procedural safeguards to protect your Personal Information.
        Choices With Your Information
        If you do not want FNF to share your information among our affiliates to directly market to you, you may send an
        "opt out" request as directed at the end of this Privacy Notice. We do not share your Personal Information with
        nonaffiliates for their use to direct market to you without your consent.
        Whether you submit Personal Information or Browsing Information to FNF is entirely up to you. If you decide not
        to submit Personal Information or Browsing Information, FNF may not be able to provide certain services or
        products to you.
        For California Residents: We will not share your Personal Information or Browsing Information with nonaffiliated
        third parties, except as permitted by California law. For additional information about your California privacy rights,
        please visit the "California Privacy" link on our website (https://fnf.com/pages/californiaprivacy.aspx) or call
        (888) 413-1748.




            PRIVACY STATEMENT
            TXFNFTIF_PrivacyStatement.doc




                                                                                          EXHIBIT 3 PAGE 43 OF 44
          Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 84 of 182

DocuSign Envelope ID: 92FD5E9A-FCC1-407B-854F-B08A2FC7F68F




                                                                                                     Effective Date: 5/1/2018

        For Nevada Residents: You may be placed on our internal Do Not Call List by calling (888) 934-3354 or by
        contacting us via the information set forth at the end of this Privacy Notice. Nevada law requires that we also
        provide you with the following contact information: Bureau of Consumer Protection, Office of the Nevada
        Attorney General, 555 E. Washington St., Suite 3900, Las Vegas, NV 89101; Phone number: (702) 486-3132;
        email: BCPINFO@ag.state.nv.us.
        For Oregon Residents: We will not share your Personal Information or Browsing Information with nonaffiliated
        third parties for marketing purposes, except after you have been informed by us of such sharing and had an
        opportunity to indicate that you do not want a disclosure made for marketing purposes.
        For Vermont Residents: We will not disclose information about your creditworthiness to our affiliates and will not
        disclose your personal information, financial information, credit report, or health information to nonaffiliated third
        parties to market to you, other than as permitted by Vermont law, unless you authorize us to make those
        disclosures.
        Information From Children
        The FNF Websites are not intended or designed to attract persons under the age of eighteen (18). We do not
        collect Personal Information from any person that we know to be under the age of thirteen (13) without permission
        from a parent or guardian.
        International Users
        FNF's headquarters is located within the United States. If you reside outside the United States and choose to
        provide Personal Information or Browsing Information to us, please note that we may transfer that information
        outside of your country of residence. By providing FNF with your Personal Information and/or Browsing
        Information, you consent to our collection, transfer, and use of such information in accordance with this Privacy
        Notice.
        FNF Website Services for Mortgage Loans
        Certain FNF companies provide services to mortgage loan servicers, including hosting websites that collect
        customer information on behalf of mortgage loan servicers (the "Service Websites"). The Service Websites may
        contain links to both this Privacy Notice and the mortgage loan servicer or lender's privacy notice. The sections of
        this Privacy Notice titled When Information is Disclosed, Choices with Your Information, and Accessing and
        Correcting Information do not apply to the Service Websites. The mortgage loan servicer or lender's privacy
        notice governs use, disclosure, and access to your Personal Information. FNF does not share Personal
        Information collected through the Service Websites, except as required or authorized by contract with the
        mortgage loan servicer or lender, or as required by law or in the good-faith belief that such disclosure is
        necessary: to comply with a legal process or applicable law, to enforce this Privacy Notice, or to protect the rights,
        property, or safety of FNF or the public.
        Your Consent To This Privacy Notice; Notice Changes; Use of Comments or Feedback
        By submitting Personal Information and/or Browsing Information to FNF, you consent to the collection and use of
        the information in accordance with this Privacy Notice. We may change this Privacy Notice at any time. The
        Privacy Notice's effective date will show the last date changes were made. If you provide information to us
        following any change of the Privacy Notice, that signifies your assent to and acceptance of the changes to the
        Privacy Notice.
        Accessing and Correcting Information; Contact Us
        If you have questions, would like to correct your Personal Information, or want to opt-out of information sharing for
        affiliate marketing, visit FNF's Opt Out Page or contact us by phone at (888) 934-3354 or by mail to:
                                                   Fidelity National Financial, Inc.
                                                       601 Riverside Avenue,
                                                     Jacksonville, Florida 32204
                                                     Attn: Chief Privacy Officer




         PRIVACY STATEMENT
         TXFNFTIF_PrivacyStatement.doc




                                                                                       EXHIBIT 3 PAGE 44 OF 44
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 85 of 182




                EXHIBIT 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 86 of 182




                                                   EXHIBIT 4 PAGE 1 OF 2
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 87 of 182




                                                   EXHIBIT 4 PAGE 2 OF 2
  Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 88 of 182




                  EXHIBIT 5




{W0802327.1}
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 89 of 182




                            FIRST AMENDMENT TO SALE AGREEMENT

         This First Amendment to Sale Agreement (this First Amendment) dated effective as of May 3rd,
 2022, is entered into by and between KH-REIT II Funding XXII, LLC, a Delaware limited liability
 company (Seller), and Grant Meadows, L.L.C., a Texas limited liability company (Purchaser). Seller
 and Purchaser are sometimes hereinafter referred to individually as a Party and collectively as the
 Parties.


                                                RECITALS

         A.       Seller and Purchaser entered into that certain Sale Agreement dated effective March 31,
 2022 (the Agreement), for that certain real property located in the City of Houston, Harris County, Texas,
 as further described in the Agreement. All initially capitalized terms not otherwise defined herein shall
 have the meanings set forth in the Agreement unless the context clearly indicates otherwise.

         B.      The Parties desire to amend the Agreement as provided herein.

         NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
 are hereby acknowledged, the Parties hereto hereby agree as follows:

                                               AGREEMENT

         1.      Recitals. The recitals above are incorporated herein by reference.

          2.       Power Pole. Pursuant to that certain Title and Survey Objection Letter, dated April 22,
 2022 from Purchaser to Seller, together with attached (i) Commitment for Title Insurance issued by Fidelity
 National Title Insurance Company, Commitment Number FAH22004012, and (ii) survey, dated April 20,
 2022, prepared by Lucas G. Davis, RPLS No. 6599 of Windrose Land Surveying/Platting, identified as Job
 No. 57547, as to Tract 2, an overhead power line runs through the center of Tract 2 of the Land with one
 power pole and light. Purchaser has requested, and Seller has agreed, that Purchaser, at its sole cost and
 expense, is permitted to remove or relocate (or cause to be removed or relocated) the power pole to a
 location acceptable to both Seller and Purchaser, and in accordance with applicable law. Seller consents to
 Purchaser coordinating with CenterPoint Energy and the City of Houston in connection with such removal
 or relocation. Seller shall reasonably cooperate with Purchaser in connection with the removal or relocation
 of the power pole and Seller shall join in such applications or agreements, as necessary, all at no liability
 or expense to Seller; provided, however, that Purchaser shall be obligated to provide to Seller, for Sellers
 prior review and approval, appropriate plans for removal or relocation of the power pole, together with (i)
 consent from CenterPoint and/or the City of Houston, as applicable, and (ii) certificates or other evidence
 of liability insurance, reasonably acceptable to Seller, for acts or omissions arising out of the removal or
 relocation of the power pole (which insurance shall name Seller). Seller shall respond to such request
 within three (3) Business Days prior written notice from Purchaser.

         3.      Acknowledgement. The Parties acknowledge and agree that removal or relocation of the
 power pole is not a condition to closing under the terms of the Agreement. Any permits that are obtained
 in Sellers name for such relocation or removal shall be assigned to Purchaser at closing without
 representation or warranty.

        4.      No Other Amendments. Except as expressly modified hereby, the Agreement shall
 remain unmodified and in full force and effect.




                                                                              EXHIBIT 5 PAGE 1 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 90 of 182




         5.      Counterparts. This First Amendment may be executed in any number of counterparts,
 each of which shall be deemed an original, but all of which when taken together shall constitute one and
 the same instrument. Each counterpart may be delivered by electronic transmission. The signature page
 of any counterpart may be detached therefrom without impairing the legal effect of the signature(s) thereon
 provided such signature page is attached to any other counterpart identical thereto.

                                         [Signature Page Follows]




                                                     2




                                                                             EXHIBIT 5 PAGE 2 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 91 of 182




         IN WITNESS WHEREOF, the Parties have executed this First Amendment to be effective as of the
 date first written above.


                                               PURCHASER:

                                               GRANT MEADOWS, L.L.C.,
                                               a Texas limited liability company


                                               By:
                                               Name: Shahin Jamea
                                               Its: Authorized Signatory


                                               SELLER:

                                               KH-REIT II FUNDING XXII, LLC,
                                               a Delaware limited liability company


                                               By:
                                               Name: Laura L. Torrado
                                               Title: Authorized Signatory




                                                  3




                                                                           EXHIBIT 5 PAGE 3 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 92 of 182




         IN WITNESS WHEREOF, the Parties have executed this First Amendment to be effective as of the
 date first written above.


                                               PURCHASER:

                                               GRANT MEADOWS, L.L.C.,
                                               a Texas limited liability company

                                               By:
                                               Name: Shahin Jamea
                                               Its: Authorized Signatory


                                               SELLER:

                                               KH-REIT II FUNDING XXII, LLC,
                                               a Delaware limited liability company

                                               By:
                                               Name: Laura L. Torrado
                                               Title: Authorized Signatory




                                                  3




                                                                           EXHIBIT 5 PAGE 4 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 93 of 182




                EXHIBIT 6
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 94 of 182

To:      Shahin Jamea[sjamea@oxberrygroup.com]
From:    Barry Espinosa[/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
(FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=142F784548A348A3B4EB95DF57491520-BESPINOSA]
Sent:    Fri 6/17/2022 12:46:30 PM (UTC)
Subject: Fwd: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC


Sent from my iPhone

Begin forwarded message:


      From: Shahin Jamea <sjamea@oxberrygroup.com>
      Date: June 17, 2022 at 3:52:01 AM CDT
      To: Travis Huehlefeld <tHuehlefeld@wcglaw.com>, Rebecca Brown <Rbrown@knightheadfunding.com>,
      Joshua Bernstein <jbernstein@legalstrategy.com>
      Cc: "Adams, Davis" <Davis.Adams@am.jll.com>, Jonathan Daniel <jdaniel@knightheadfunding.com>,
      Henry Boeckmann <hboeckmann@knightheadfunding.com>, Barry Espinosa
      <bespinosa@oxberrygroup.com>
      Subject: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC


      ﻿
      Dear Knighthead Team,
      Davis and I have been playing phone tag, which is mainly on me as I’m vacationing in Europe. I was hoping to talk to
      him before sending this email.
      We will not be able to proceed with the purchase as outlined in our contract. I will give you a brief synopsis below and
      would be happy to get on a call to discuss further, if there is interest.
      We have a building plan for a 5 story stick multifamily development for the partial block to the north. When we priced
      the project initially, the hard cost came in at $16M in December. A slightly modified version of the plans were priced
      at $26M in May. Then came the recent interest hikes. Despite all this and the threat of a looming recession, we are
      still interested in purchasing the partial block and moving forward with the development when the markets settle in
      the future.
      We always thought of the partial block as the inferior site. Not only is a large portion of the land under an easement,
      but it has become clear to us that the adjoining neighbor will file a lawsuit (frivolous or not) regarding his right to put
      a transformer on your land. As I told Davis from the beginning, we thought the value of partial block to be around
      $120 and justified the $150 aggregate purchase price by allocating a higher cost and resale/development value to the
      full city block.
      We are willing to proceed with the contract as modified below:
              1. Drop the full city block and only purchase the partial block to the north;
              2. Sales price of $120 PSF;
              3. $500K additional hard earnest money upon execution of the amendment;
              4. Closing date of October 1st

      Please let me know if you want me to send in termination notice or the amendment.
      Sincerely,

      Shahin “Sean” Jamea, J.D.
      Principal
      sjamea@oxberrygroup.com
      D 713.343.6152
      2429 Bissonnet St. | No. 615 | Houston, TX 77005




                                                                                           EXHIBIT 6 PAGE 1 OF 1
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 95 of 182




                EXHIBIT 7
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 96 of 182




                                                   EXHIBIT 7 PAGE 1 OF 3
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 97 of 182




                                                   EXHIBIT 7 PAGE 2 OF 3
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 98 of 182




                                                   EXHIBIT 7 PAGE 3 OF 3
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 99 of 182




                EXHIBIT 8
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 100 of 182

To:        Shahin Jamea[sjamea@oxberrygroup.com]
Cc:        Hudson, Brock @ Houston[Brock.Hudson@cbre.com]; Thompson, Michael @ Houston[Michael.Thompson3@cbre.com]
From:      Stein, Jeff @ Houston[Jeff.Stein@cbre.com]
Sent:      Mon 6/20/2022 2:19:29 PM (UTC)
Subject:   Re: Midtown MF Loan

Later this week is goal.
Feedback has been slow.

Common response is: “We have 5-10 similar MF requests on our desk at 65-70% LTC with parking; why should we do your
deal?”

 Jeff Stein | Executive Vice President & Co-Head Houston DSF
 Debt & Structured Finance
 CBRE | Capital Markets
 2800 Post Oak Blvd., Suite 500 | Houston, TX 77056
 T 713 787 1906 | F 713 881 0999 | C 713 409 8436
 jeff.stein@cbre.com | www.cbre.com/capitalmarkets



       On Jun 20, 2022, at 8:41 AM, Shahin Jamea <sjamea@oxberrygroup.com> wrote:


       ﻿

       External

       When will you have a matrix for me to review?

       Sean Jamea


              On Jun 20, 2022, at 4:23 PM, Stein, Jeff @ Houston <Jeff.Stein@cbre.com> wrote:


              ﻿ Sean,
               Mario was maxed out at 70% and will not allow PACE based on my prior conversation with him
               last week. Plains Capital is competitive at 75% and going to committee to firm up terms. Don’t
               think they will allow PACE either.

              Challenge has been finding PACE friendly lender with reasonable rates and comfort with no
              parking.

              Jeff Stein | Executive Vice President & Co-Head Houston DSF
              Debt & Structured Finance
              CBRE | Capital Markets
              2800 Post Oak Blvd., Suite 500 | Houston, TX 77056
              T 713 787 1906 | F 713 881 0999 | C 713 409 8436
              jeff.stein@cbre.com | www.cbre.com/capitalmarkets



                    On Jun 19, 2022, at 11:55 PM, Shahin Jamea <sjamea@oxberrygroup.com> wrote:


                    ﻿


                                                                                 EXHIBIT 8 PAGE 1 OF 2
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 101 of 182

      External

      Morning Mario,
      Is there a good time this week to discuss this deal? My preference would be
      mornings.

      Sean Jamea


            On May 17, 2022, at 11:20 PM, FAZIO, MARIO
            <MarioFazio@ibc.com> wrote:


            ﻿
                Thanks Sean,
                Jeff, Please send me the OM and I will review it this week and get back to you
                with comments next week.
                Thanks
            Mario Fazio
                First Vice President | Commercial
                IBC Bank - Houston
                (713) 285-2160 / Ext. 22160
            <image002.png>
            <image003.png>
            <image004.png>
            <image005.png>


                From: Shahin Jamea <sjamea@oxberrygroup.com>
                Sent: Tuesday, May 17, 2022 3:18 PM
                To: FAZIO, MARIO <MarioFazio@ibc.com>
                Cc: Stein, Jeff @ Houston <Jeff.Stein@cbre.com>; Hudson, Brock @ Houston
                <brock.hudson@cbre.com>
                Subject: [EXTERNAL SENDER] Midtown MF Loan
                Mario,
                Per our call, I’d like to present to you my ground-up multifamily project in
                midtown. Jeff and Brock with CBRE are our agents on the debt side, so I’ll let
                them make the presentation to you.
                Thanks,
            <image006.png>


                Shahin “Sean” Jamea, J.D.
                Principal
                sjamea@oxberrygroup.com
            D 713.343.6152
            2429 Bissonnet St. | No. 615 | Houston, TX 77005


            This email and any attachments are confidential and are intended solely
            for the use of the named addressee. If you have received this email in
            error please contact the International Bank of Commerce.




                                                                             EXHIBIT 8 PAGE 2 OF 2
 Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 102 of 182




                  EXHIBIT 9




{W0802327.1}
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 103 of 182

To:         Shahin Jamea[sjamea@oxberrygroup.com]
Cc:         Hudson, Brock @ Houston[Brock.Hudson@cbre.com]; Thompson, Michael @ Houston[Michael.Thompson3@cbre.com]
From:       Stein, Jeff @ Houston[Jeff.Stein@cbre.com]
Sent:       Tue 6/21/2022 9:59:58 PM (UTC)
Subject:    RE: Midtown MF Loan

 Sean,
 We did not get good feedback from Plains Capital today after they took deal to committee. They are taking a very conservative
 approach on debt and interest rates over the next 24 months resulting in max 65% LTC and these terms would need to go to next
 committee level for final approval.
         65% LTC. Breakeven is 90% occupancy
         Stressing to 7% rate in 2-yrs.
         Micro unit concerns – first deal in Dallas deal took some time to lease up
         Lack of dedicated parking is a concern too
         Prime + 25-50 with 6% floor was initial quote.
 Mezz/Pref Lender: We thought we had a small balance pref lender, but they are passing. They could not get one of their partners
 comfortable with the lack of parking on site. The challenge is the size of the mezz/pref loan is small for a construction loan. Its too
 small for the usual players.
 Not a lot of promising options at the moment north of 70% LTC and no lender has been open to doing PACE that expressed interest
 in the deal 1st lien.
 Have you heard back from seller (Knighthead)?
 Jeff Stein | Executive Vice President
 CBRE | Capital Markets | Debt & Structured Finance
 T +1 713 787 1906 | C +1 713 409 8436
 From: Shahin Jamea <sjamea@oxberrygroup.com>
 Sent: Monday, June 20, 2022 1:31 PM
 To: Stein, Jeff @ Houston <Jeff.Stein@cbre.com>
 Cc: Hudson, Brock @ Houston <Brock.Hudson@cbre.com>; Thompson, Michael @ Houston <Michael.Thompson3@cbre.com>
 Subject: RE: Midtown MF Loan

 External

 OK. As an update, we’re working on turning drawings into the City first week of July. I also contacted the seller and asked them to
 split up the two parcels and let me just buy 2627 Main parcel @ $120 on October 1 st. Haven’t received a response yet.
 Need to talk to IBC to see about a land loan for now. I’ll report back.

 Shahin “Sean” Jamea, J.D.
 Principal
 From: Stein, Jeff @ Houston <Jeff.Stein@cbre.com>
 Sent: Monday, June 20, 2022 9:19 AM
 To: Shahin Jamea <sjamea@oxberrygroup.com>
 Cc: Hudson, Brock @ Houston <Brock.Hudson@cbre.com>; Thompson, Michael @ Houston <Michael.Thompson3@cbre.com>
 Subject: Re: Midtown MF Loan
 Later this week is goal.
 Feedback has been slow.
 Common response is: “We have 5-10 similar MF requests on our desk at 65-70% LTC with parking; why should we do your deal?”

 Jeff Stein | Executive Vice President & Co-Head Houston DSF
 Debt & Structured Finance
 CBRE | Capital Markets
 2800 Post Oak Blvd., Suite 500 | Houston, TX 77056
 T 713 787 1906 | F 713 881 0999 | C 713 409 8436
 jeff.stein@cbre.com | www.cbre.com/capitalmarkets


       On Jun 20, 2022, at 8:41 AM, Shahin Jamea <sjamea@oxberrygroup.com> wrote:

       ﻿


                                                                                            EXHIBIT 9 PAGE 1 OF 3
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 104 of 182

External

When will you have a matrix for me to review?

Sean Jamea
      On Jun 20, 2022, at 4:23 PM, Stein, Jeff @ Houston <Jeff.Stein@cbre.com> wrote:

      ﻿ Sean,
       Mario was maxed out at 70% and will not allow PACE based on my prior conversation with him last
       week. Plains Capital is competitive at 75% and going to committee to firm up terms. Don’t think they will
       allow PACE either.
       Challenge has been finding PACE friendly lender with reasonable rates and comfort with no parking.
       Jeff Stein | Executive Vice President & Co-Head Houston DSF
       Debt & Structured Finance
       CBRE | Capital Markets
       2800 Post Oak Blvd., Suite 500 | Houston, TX 77056
       T 713 787 1906 | F 713 881 0999 | C 713 409 8436
       jeff.stein@cbre.com | www.cbre.com/capitalmarkets


            On Jun 19, 2022, at 11:55 PM, Shahin Jamea <sjamea@oxberrygroup.com> wrote:

            ﻿

            External

            Morning Mario,
            Is there a good time this week to discuss this deal? My preference would be mornings.

            Sean Jamea
                  On May 17, 2022, at 11:20 PM, FAZIO, MARIO <MarioFazio@ibc.com> wrote:

                   ﻿
                   Thanks Sean,
                   Jeff, Please send me the OM and I will review it this week and get back to you
                   with comments next week.
                   Thanks
                   Mario Fazio
                   First Vice President | Commercial
                   IBC Bank - Houston
                   (713) 285-2160 / Ext. 22160
                   <image002.png>
                   <image003.png>
                   <image004.png>
                   <image005.png>
                   From: Shahin Jamea <sjamea@oxberrygroup.com>
                   Sent: Tuesday, May 17, 2022 3:18 PM
                   To: FAZIO, MARIO <MarioFazio@ibc.com>
                   Cc: Stein, Jeff @ Houston <Jeff.Stein@cbre.com>; Hudson, Brock @ Houston
                   <brock.hudson@cbre.com>
                   Subject: [EXTERNAL SENDER] Midtown MF Loan
                   Mario,
                   Per our call, I’d like to present to you my ground-up multifamily project in
                   midtown. Jeff and Brock with CBRE are our agents on the debt side, so I’ll let
                   them make the presentation to you.
                   Thanks,
                   <image006.png>
                   Shahin “Sean” Jamea, J.D.
                   Principal
                                                                                 EXHIBIT 9 PAGE 2 OF 3
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 105 of 182

           sjamea@oxberrygroup.com
           D 713.343.6152
           2429 Bissonnet St. | No. 615 | Houston, TX 77005


           This email and any attachments are confidential and are intended solely for
           the use of the named addressee. If you have received this email in error
           please contact the International Bank of Commerce.




                                                                        EXHIBIT 9 PAGE 3 OF 3
 Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 106 of 182




                EXHIBIT 10




{W0802327.1}
   Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 107 of 182




NE WMAR K VALUAT ION & ADVI SORY




Oxberry Midtown
2627 Main Street
Houston, Harris County, TX 77002


Newmark Job No.: XX-XXXXXXX-1




Appraisal Report Prepared For:

Marvin Gonzalez
Credit Analyst
International Bank of Commerce
5615 Kirby Drive
Houston, TX 77005


Prepared By:

Newmark Valuation & Advisory
1700 Post Oak Boulevard, 2 BLVD Place, Ste.
350
Houston, TX, 77056




                                                     EXHIBIT 10 PAGE 1 OF 5
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 108 of 182




  NE WMAR K VALUAT ION & ADVI SORY




  July 28, 2022

  Marvin Gonzalez
  Credit Analyst
  International Bank of Commerce
  5615 Kirby Drive
  Houston, TX 77005


  RE:    Appraisal Of A Multifamily Property Known As Oxberry Midtown Located At 2627 Main
         Street, Houston, Harris County, TX 77002, Prepared By Newmark Valuation & Advisory,
         LLC (herein “Firm” or “Newmark”)

  Newmark Job No.: XX-XXXXXXX-1


  Dear Mr. Gonzalez :

  The subject is a proposed mid-rise style apartment complex that will contain 182-apartment units
  between 1-multifamily building. The improvements will consist of 5-stories. Property amenities are
  expected to include a courtyard with rooftop pool and outdoor lounge, business center, fitness
  center and resident lounge. Unit amenities will include stainless steel appliances, built-in
  microwave, slab granite countertops, steam showers, oversize walk-in closets, ceiling fans and
  vinyl plank (faux wood) flooring. The subject’s site area is 2.0888 acres, or 90,990 square feet,
  and consists of 2-parcels.

  The sponsor is planning to master lease the entire property to Sonder, a third party that will
  operate the units similar to an Air B&B or extended stay hotel. Based on the letter of intent (LOI)
  provided, the initial lease term is for 10-years with two 5-year options to renew. Rents will be set
  at $1,200 per efficiency unit and $1,325 per one-bedroom unit, respectively, with annual rent
  escalations of 2.00% through the course of the initial lease term and any applicable renewal term.
  This lease will offer potential buyers predictable cash flows with stable growth going forward. The
  lease to Sonder also minimizes operating costs as Sonder is responsible for the day to day
  operations of the property (i.e minimal payroll/management fee, no make ready of units or
  advertising required by the landlord). Also Sonder will be responsible for utility costs to the
  individual units and all common areas. If Sonder wants to terminate their lease of the subject,
  they must give a 180-day notice and may only occur in YR 5 of the lease.




                                                                   Newmark Valuation & Advisory
                                                                   1700 Post Oak Blvd, 2 BLVD Pl.,
                                                                   Ste. 350

                                                                   www.nmrk.com/valuation




                                                                        EXHIBIT 10 PAGE 2 OF 5
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 109 of 182




  July 28, 2022
  MARVIN GONZALEZ




  As requested by the client, Newmark has provided prospective market values on a fee simple
  basis as if the Sonder lease is not in place and the subject is leased on a conventional basis.
  However, the subject will not include any parking to prospective tenants. The Houston metro area
  is a widespread market where the primary mode of transportation is the automobile. It is our
  opinion that there would be no demand to prospective tenants, on a conventional basis, to live in
  an apartment development that does not provide any parking as a car is virtually essential in this
  market. As such, there is no value to the subject as a conventional multifamily property without
  any parking. If the Sonder lease were to terminate in Year 5, there would be no market demand
  for the building.

  Key Value Considerations
  Strengths
            –     Good location near the CBD of Houston
            –     In close proximity to major thoroughfares, primarily Main Street
            –     Light rail access with nearest station in walking distance of the subject (McGowen
                  Station)
            –     Positive household population projections are forecasted according to the
                  demographic data for the neighborhood
  Risk Factors
            –     No structured parking available to tenants eliminating any demand for conventional
                  leasing
  Based on the analysis contained in the following report, the opinions of value for the subject are:

  Value Conclusions
  Appraisal Premise                                                   Interest Appraised    Date of Value   Value Conclusion
  Market Value "As Is" (Land Only)                                       Fee Simple          7/15/2022          $14,380,000
  Prospective Market Value "Upon Completion and Stabilization"           Fee Simple          9/15/2023                  N/A
  Prospective Market Value "Upon Stabilization"                          Fee Simple          9/15/2023                  N/A
  Prospective Market Value "Upon Completion/Stabilization" (Sonder)      Leased Fee          9/15/2023          $26,560,000
  Compiled by Newmark




  Extraordinary Assumptions
  An extraordinary assumption is defined in USPAP as an assignment-specific assumption as of
  the effective date regarding uncertain information used in an analysis which, if found to be false,
  could alter the appraiser’s opinions or conclusions. The value conclusions are subject to the
  following extraordinary assumptions that may affect the assignment results.



                                                                                                              Oxberry Midtown




                                                                                           EXHIBIT 10 PAGE 3 OF 5
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 110 of 182



  HIGHEST AND BEST USE                                                                                 57




  Highest and Best Use
  PROCESS
  Before a property can be valued, an opinion of highest and best use must be developed for the
  subject site, both as if vacant, and as improved or proposed. By definition, the highest and best
  use must be:

         –   Physically possible

         –   Legally permissible under the zoning regulations and other restrictions that apply to
             the site

         –   Financially feasible

         –   Maximally productive, i.e., capable of producing the highest value from among the
             permissible, possible and financially feasible uses

  AS VACANT
  Legally Permissible
  The site is not subject to zoning. Further information and analysis about the legal restrictions to
  the subject property is included in the Site Analysis and Zoning and Legal Restrictions sections
  of this report.

  Physically Possible
  The physical characteristics of the site do not appear to impose any unusual restrictions on
  development. Overall, the physical characteristics of the site and the availability of utilities result
  in functional utility suitable for a variety of uses.

  Financially Feasible
  Based on our analysis of the market, there is currently adequate demand for a multifamily
  development. It appears that a newly developed multifamily development on the site would have
  a value commensurate with its cost. Therefore, multifamily use is considered financially feasible.

  Maximally Productive
  The test of maximum productivity is to determine the actual use of the property that results in the
  highest land value and/or the highest return to the land. It is important to consider the risk of
  potential uses as a use that may generate the highest returns in cash could also be the riskiest
  and thus not as likely for a developer to consider. In this case, the maximally productive use is a
  multifamily development. The associated risk is typical and market conditions appear to be
  supportive.




                                                                                           Oxberry Midtown




                                                                          EXHIBIT 10 PAGE 4 OF 5
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 111 of 182



  HIGHEST AND BEST USE                                                                               58


  Highest and Best Use Conclusion – As Vacant
  The highest and best use of the subject as though vacant is the development of a multifamily use.

  AS PROPOSED
  The subject site is proposed to be developed with a multifamily development consisting of 182-
  Class A apartment units, which is consistent with the highest and best use of the site as if it were
  vacant.

  Physically Possible
  The proposed improvements conform to the physical characteristics of the site. Therefore,
  multifamily use of the property is reasonably probable and appropriate.

  Legally Permissible
  The proposed multifamily improvements are not subject to zoning.

  Financially Feasible
  The proposed improvements are projected to be leased and produce a significant positive cash
  flow that we expect will continue. However, since there is no available parking for tenants, the
  proposed use is concluded to not be financially feasible. This is also apparent in the cost approach
  to value, as there is significant external obsolescence noted. Due to the risk of the Sonder lease
  not renewing in 5 years and the load to the capitalization rate to reflect a potentially vacant
  building, external depreciation exists which indicates a value below cost and is therefore not
  financially feasible.

  Maximally Productive
  Based on our analysis, the value of the proposed improved property does not exceed the value
  of the site, as if vacant, and the cost to construct (including entrepreneurial profit) due to the
  external obsolescence noted in the cost approach. The cost feasible NOI exceeds the subject’s
  pro form NOI and thus is not feasible to build at this time.

  Highest and Best Use – As Proposed
  Therefore, the highest and best use of the subject as proposed is a multifamily use at a future
  data with available parking to tenants.

  Most Probable Buyer
  After consultations with investment sale brokers active in the Houston market, it has been
  indicated that there are no potential buyers of this property due to inadequate parking. Therefore,
  the most probable buyer is a developer for the future development of a residential property with
  adequate parking.




                                                                                         Oxberry Midtown




                                                                        EXHIBIT 10 PAGE 5 OF 5
 Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 112 of 182




                EXHIBIT 11




{W0802327.1}
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 113 of 182

To:        Shahin Jamea[sjamea@oxberrygroup.com]
From:      Brian Lai[brian@rockylai.com]
Sent:      Fri 9/16/2022 8:10:29 PM (UTC)
Subject:   Re: Sonder

Hi Shahin,
Rocky is not too bullish on the proposed development. He's concerned about Sonder's credibility. How is Sonder doing in
San Antonio and Dallas? Is there also zero parking for those sites?
Is George/Sunny investing in this deal?


Brian Lai
Vice President
Rocky Lai & Associates, Inc.

3217 Montrose Blvd. Suite 222
Houston, TX 77006
O: 281-888-1919
C: 832-755-6599
brian@rockylai.com


On Tue, Sep 13, 2022 at 10:31 AM Shahin Jamea <sjamea@oxberrygroup.com> wrote:


  Thanks Brian. Be glad to jump on a call or meet to answer any questions.



  Shahin “Sean” Jamea, J.D.

  Principal
  From: Brian Lai <brian@rockylai.com>
  Sent: Tuesday, September 13, 2022 10:30 AM
  To: Shahin Jamea <sjamea@oxberrygroup.com>
  Subject: Sonder

  Just a FYI - Rocky has been out of the country and will be back this Wednesday. We'll discuss how much we can
  commit once he is back, but I am thinking it will be somewhere between $1.0m - $1.5m


  Brian Lai

  Vice President

  Rocky Lai & Associates, Inc.

  3217 Montrose Blvd. Suite 222

  Houston, TX 77006

  O: 281-888-1919

  C: 832-755-6599

  brian@rockylai.com



                                                                                EXHIBIT 11 PAGE 1 OF 1
 Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 114 of 182




                EXHIBIT 12




{W0802327.1}
              Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 115 of 182

To:        Travis Huehlefeld[tHuehlefeld@wcglaw.com]; Montgomery, Deborah[Deborah.Montgomery@fnf.com]
Cc:        Shahin Jamea[sjamea@oxberrygroup.com]; Avant, Alli[Alli.Avant@fnf.com]; Ebbs, Mary[Mary.Ebbs@fnf.com]; Sara
Prasatik[sprasatik@wcglaw.com]; Galperin, Robert[Robert.Galperin@fnf.com]
From:      Avant, Lolly[LAvant@fnf.com]
Sent:      Wed 10/19/2022 6:43:23 PM (UTC)
Subject: RE: FAH22004012 | Updated Hyperlinked Title Commitment | Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC -

                                                            This message was sent securely using Zix®

 My underwriter and I are reviewing the recent correspondence received from Josh Bernstein.
 I have a conference call with Josh and his team tomorrow morning at 10am.
 Travis, may we schedule a call at 11am or 2pm tomorrow?
 Lolly Avant, SVP
 National Business Development|Senior Closer
 Fidelity National Title
 National Commercial Services
 1900 West Loop South, Suite 200
 Houston, Texas 77027
 Email: lavant@fnf.com
 Direct: 713-621-9170
 Mobile: 281-217-9517
 From: Travis Huehlefeld <tHuehlefeld@wcglaw.com>
 Sent: Wednesday, October 19, 2022 1:32 PM
 To: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
 Cc: Shahin Jamea <sjamea@oxberrygroup.com>; Avant, Alli <Alli.Avant@fnf.com>; Ebbs, Mary <Mary.Ebbs@fnf.com>; Sara
 Prasatik <sprasatik@wcglaw.com>
 Subject: RE: FAH22004012 | Updated Hyperlinked Title Commitment | Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC -
 IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
 Lolly – Just checking to see if you have received any feedback from your underwriter based off our call yesterday. Specifically, what
 affect will the neighbor’s demand letter have on title’s acceptance of the previously negotiated owner’s affidavit and/or will any
 exceptions be added to title based off the demand letters or revised owner’s affidavit which discloses the demand letters?
 Additionally, please let me know if they are available for a call today/tomorrow morning to discuss.
 Thank you,
 Travis
 OUT OF OFFICE THURSDAY, OCTOBER 20 AND FRIDAY, OCTOBER 21
 TRAVIS L. HUEHLEFELD | Attorney
 Wilson Cribbs + Goren | 2500 Fannin St | Houston, TX 77002
 713.222.9000 (O) | 713.547.8516 (D) | 713.229.8824 (F)
 thuehlefeld@wcglaw.com | www.wcglaw.com | vcard
 Confidentiality Notice | Wilson, Cribbs & Goren, P.C. | The information in this email may be confidential and/or privileged. This email is intended to be reviewed by
 only the individual or organization named above. If you are not the intended recipient or an authorized representative of the intended recipient, you are hereby notified
 that any review, dissemination or copying of this email and its attachments, if any, or the information contained herein is prohibited. If you have received this email in
 error, please immediately notify the sender by return email and delete this email from your system.
 From: Travis Huehlefeld
 Sent: Tuesday, October 18, 2022 10:06 AM
 To: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
 Cc: Shahin Jamea <sjamea@oxberrygroup.com>; Avant, Alli <Alli.Avant@fnf.com>; Ebbs, Mary <Mary.Ebbs@fnf.com>; Sara
 Prasatik <sprasatik@wcglaw.com>
 Subject: RE: FAH22004012 | Updated Hyperlinked Title Commitment | Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC -
 Lolly - Thank you for the call. Please keep us posted after you speak with your underwriter.
 Best,
 Travis
 OUT OF OFFICE THURSDAY, OCTOBER 20 AND FRIDAY, OCTOBER 21
 TRAVIS L. HUEHLEFELD | Attorney
 Wilson Cribbs + Goren | 2500 Fannin St | Houston, TX 77002
 713.222.9000 (O) | 713.547.8516 (D) | 713.229.8824 (F)
 thuehlefeld@wcglaw.com | www.wcglaw.com | vcard
 Confidentiality Notice | Wilson, Cribbs & Goren, P.C. | The information in this email may be confidential and/or privileged. This email is intended to be reviewed by
 only the individual or organization named above. If you are not the intended recipient or an authorized representative of the intended recipient, you are hereby notified
 that any review, dissemination or copying of this email and its attachments, if any, or the information contained herein is prohibited. If you have received this email in
 error, please immediately notify the sender by return email and delete this email from your system.
 From: Avant, Lolly <LAvant@fnf.com>

                                                                                                                 EXHIBIT 12 PAGE 1 OF 7
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 116 of 182

Sent: Tuesday, October 18, 2022 9:55 AM
To: Montgomery, Deborah <Deborah.Montgomery@fnf.com>; Travis Huehlefeld <tHuehlefeld@wcglaw.com>
Cc: Shahin Jamea <sjamea@oxberrygroup.com>; Avant, Alli <Alli.Avant@fnf.com>; Ebbs, Mary <Mary.Ebbs@fnf.com>
Subject: RE: FAH22004012 | Updated Hyperlinked Title Commitment | Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC -
                                                          This message was sent securely using Zix®


Travis,
I left you a voice message this morning.
Based on the Notice to Seller circulated on 10/11/22, is the purchaser set to close on 10/28/22?
Thank you Travis.
Lolly Avant, SVP
National Business Development|Senior Closer
Fidelity National Title
National Commercial Services
1900 West Loop South, Suite 200
Houston, Texas 77027
Email: lavant@fnf.com
Direct: 713-621-9170
Mobile: 281-217-9517
From: Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Sent: Friday, September 30, 2022 2:24 PM
To: Travis Huehlefeld <tHuehlefeld@wcglaw.com>
Cc: Shahin Jamea <sjamea@oxberrygroup.com>; Avant, Lolly <LAvant@fnf.com>; Avant, Alli <Alli.Avant@fnf.com>; Ebbs, Mary
<Mary.Ebbs@fnf.com>
Subject: FAH22004012 | Updated Hyperlinked Title Commitment | Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC -
Attached please find the updated Hyperlinked Title Commitment for your review. No new matters were found in the update. Same
has been distributed to the Seller team. We will begin preparation of the closing documents, including the Buyer’s Closing
Statement, for your review. Please forward any invoices that will need to be added to the closing statement. Attached is the
negotiated Owner’s Affidavit for your records. Please send us the Buyer’s entity documents as outlined in Schedule C, Item No. 10
of the Commitment. Confirm that this is a cash transaction or if not, please provide the lender information and contact. Please let
us know if there are questions. Thank you.
Deborah Montgomery
National Commercial Closer, AVP
Fidelity National Title Insurance Company
1900 West Loop South, Suite 200
Houston, TX 77027
800-879-1677;Direct Line (713) 621-9280
Fax # 713-623-4406; Mobile (832) 768-7137
Deborah.montgomery@fnf.com
Chicago Title | Commonwealth | Fidelity National Title
Did you know our Houston office is a National Commercial Center? We can help you coordinate your out of state
commercial or multi-site transactions.
From: Travis Huehlefeld <tHuehlefeld@wcglaw.com>
Sent: Thursday, September 29, 2022 3:12 PM
To: Montgomery, Deborah <Deborah.Montgomery@fnf.com>; Avant, Lolly <LAvant@fnf.com>
Cc: Shahin Jamea <sjamea@oxberrygroup.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
Deborah/Lolly – As a reminder this transaction is scheduled to close on 10/28/2022. Would you mind sending me an updated title
commitment and any draft title company closing documents to review, including your standard form of owner’s affidavit?
Thank you!
Travis
TRAVIS L. HUEHLEFELD | Attorney
Wilson Cribbs + Goren | 2500 Fannin St | Houston, TX 77002
713.222.9000 (O) | 713.547.8516 (D) | 713.229.8824 (F)
thuehlefeld@wcglaw.com | www.wcglaw.com | vcard
Confidentiality Notice | Wilson, Cribbs & Goren, P.C. | The information in this email may be confidential and/or privileged. This email is intended to be reviewed by
only the individual or organization named above. If you are not the intended recipient or an authorized representative of the intended recipient, you are hereby notified


                                                                                                               EXHIBIT 12 PAGE 2 OF 7
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 117 of 182

that any review, dissemination or copying of this email and its attachments, if any, or the information contained herein is prohibited. If you have received this email in
error, please immediately notify the sender by return email and delete this email from your system.
From: Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Sent: Wednesday, June 29, 2022 1:17 PM
To: Rebecca Brown <Rbrown@knightheadfunding.com>; Shahin Jamea <sjamea@oxberrygroup.com>; Joshua Bernstein
<jbernstein@legalstrategy.com>; Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Avant, Alli <Alli.Avant@fnf.com>; Henry
Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel <jdaniel@knightheadfunding.com>; Laura Torrado
<ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>; Laura Torrado <ltorrado@knighthead.com>
Cc: Avant, Lolly <LAvant@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
                                                           This message was sent securely using Zix®


We are in receipt of the second deposit in the amount of $500,000.00. Thank you.
Deborah Montgomery
National Commercial Closer, AVP
Fidelity National Title Insurance Company
1900 West Loop South, Suite 200
Houston, TX 77027
800-879-1677;Direct Line (713) 621-9280
Fax # 713-623-4406; Mobile (832) 768-7137
Deborah.montgomery@fnf.com
Chicago Title | Commonwealth | Fidelity National Title
Did you know our Houston office is a National Commercial Center? We can help you coordinate your out of state
commercial or multi-site transactions.
From: Montgomery, Deborah
Sent: Wednesday, June 29, 2022 11:41 AM
To: Rebecca Brown <Rbrown@knightheadfunding.com>; Shahin Jamea <sjamea@oxberrygroup.com>; Joshua Bernstein
<jbernstein@legalstrategy.com>; Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Avant, Alli <Alli.Avant@fnf.com>; Henry
Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel <jdaniel@knightheadfunding.com>; Laura Torrado
<ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>; Laura Torrado <ltorrado@knighthead.com>
Cc: Avant, Lolly <LAvant@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
We are in receipt of the fully executed Second Amendment and will advise once the Second Deposit has been received. Thank you.
Deborah Montgomery
National Commercial Closer, AVP
Fidelity National Title Insurance Company
1900 West Loop South, Suite 200
Houston, TX 77027
800-879-1677;Direct Line (713) 621-9280
Fax # 713-623-4406; Mobile (832) 768-7137
Deborah.montgomery@fnf.com
Chicago Title | Commonwealth | Fidelity National Title
Did you know our Houston office is a National Commercial Center? We can help you coordinate your out of state
commercial or multi-site transactions.
From: Rebecca Brown <Rbrown@knightheadfunding.com>
Sent: Wednesday, June 29, 2022 11:26 AM
To: Shahin Jamea <sjamea@oxberrygroup.com>; Joshua Bernstein <jbernstein@legalstrategy.com>; Travis Huehlefeld
<tHuehlefeld@wcglaw.com>; Avant, Alli <Alli.Avant@fnf.com>; Henry Boeckmann <hboeckmann@knightheadfunding.com>;
Jonathan Daniel <jdaniel@knightheadfunding.com>; Laura Torrado <ltorrado@knighthead.com>; Adams, Davis
<Davis.Adams@am.jll.com>; Laura Torrado <ltorrado@knighthead.com>
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
Please see attached fully-executed Second Amendment.
Please let us know when the wire has been initiated and provide a Fed Reference number when available.
Title, please confirm receipt of the wire as soon as possible.


                                                                                                                 EXHIBIT 12 PAGE 3 OF 7
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 118 of 182




Rebecca B. Brown
Deputy General Counsel
Knighthead Funding, LLC
777 West Putnam Avenue
3rd Floor, Suite B-2
Greenwich, CT 06830

Tel: (203) 327-3327
Direct: (203) 489-1423
rbrown@knightheadfunding.com
www.knightheadfunding.com
The information contained in this e-mail, and any attachment, is confidential and is intended solely for the use of the intended recipient. Any review, use,
disclosure, distribution or copying of this e-mail and/or the attachments hereto is prohibited except by or on behalf of -the intended recipient. If you have
received this e-mail in error, please notify the sender immediately by reply email and destroy all copies of the e-mail and the attachments. Content is provided
by the individual sender and does not necessarily reflect the views of Knighthead Realty Capital Management, L.L.C. or its affiliates, and does not constitute
investment advice. This e-mail does not constitute an offer to sell or the solicitation of an offer to buy any interest in any investment product or fund. Such offer
or solicitation may only be made by means of delivery of a confidential private offering memorandum or other appropriate document which contains a
description of the material terms (including, without limitation, risk factors, conflicts of interest, fees and charges) relating to such investment product or fund.
No assurances are given that this e-mail message and its attachments (if any) are free of viruses, and Knighthead Realty Capital Management, L.L.C. accepts no
liability for any damage sustained as a result of any viruses. If you reply to this email, please note that we are a public investor and do not want any material non-
public information. We do not agree to keep confidential any information you provide and do not agree to any restrictions on our trading activity, except
pursuant to a written confidentiality agreement executed by Knighthead Realty Capital Management, L.L.C.
From: Shahin Jamea <sjamea@oxberrygroup.com>
Sent: Wednesday, June 29, 2022 11:31 AM
To: Joshua Bernstein <jbernstein@legalstrategy.com>; Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Avant, Alli
<Alli.Avant@fnf.com>; Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel
<jdaniel@knightheadfunding.com>; Laura Torrado <ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>;
Rebecca Brown <Rbrown@knightheadfunding.com>; Laura Torrado <ltorrado@knighthead.com>
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
See attached.

Shahin “Sean” Jamea, J.D.
Principal
From: Joshua Bernstein <jbernstein@legalstrategy.com>
Sent: Wednesday, June 29, 2022 10:28 AM
To: Shahin Jamea <sjamea@oxberrygroup.com>; Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Avant, Alli <Alli.Avant@fnf.com>;
Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel <jdaniel@knightheadfunding.com>; Laura Torrado
<ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>; Rebecca Brown <Rbrown@knightheadfunding.com>;
ltorrado@knighthead.com
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
Please see attached seller’s revised draft of the 2nd amendment to PSA (clean and PDF redline).
-Josh
From: Shahin Jamea <sjamea@oxberrygroup.com>
Sent: Wednesday, June 29, 2022 7:57 AM
To: Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Joshua Bernstein <jbernstein@legalstrategy.com>; Avant, Alli
<Alli.Avant@fnf.com>; Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel
<jdaniel@knightheadfunding.com>; Laura Torrado <ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>;
Rebecca Brown <Rbrown@knightheadfunding.com>; ltorrado@knighthead.com
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and
know the content is safe.
All,
Revised amendment with October 28th closing date. Please countersign and return.
                                                                                                             EXHIBIT 12 PAGE 4 OF 7
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 119 of 182


Shahin “Sean” Jamea, J.D.
Principal
From: Shahin Jamea
Sent: Wednesday, June 29, 2022 12:55 AM
To: Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Joshua Bernstein <jbernstein@legalstrategy.com>; Avant, Alli
<Alli.Avant@fnf.com>; Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel
<jdaniel@knightheadfunding.com>; Laura Torrado <ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>;
Rebecca Brown <Rbrown@knightheadfunding.com>; ltorrado@knighthead.com
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
Buyer executed amendment attached.

Shahin “Sean” Jamea, J.D.
Principal
From: Travis Huehlefeld <tHuehlefeld@wcglaw.com>
Sent: Tuesday, June 28, 2022 5:49 PM
To: Shahin Jamea <sjamea@oxberrygroup.com>; Joshua Bernstein <jbernstein@legalstrategy.com>; Avant, Alli
<Alli.Avant@fnf.com>; Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel
<jdaniel@knightheadfunding.com>; Laura Torrado <ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>;
Rebecca Brown <Rbrown@knightheadfunding.com>; ltorrado@knighthead.com
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
All – Please find attached the draft Second Amendment extending closing to 12/16/2022. This draft is being sent simultaneously to
my client and remains subject to their review and comment.
Please let me know if you have any comments.
Thank you,
Travis
TRAVIS L. HUEHLEFELD | Attorney
Wilson Cribbs + Goren | 2500 Fannin St | Houston, TX 77002
713.222.9000 (O) | 713.547.8516 (D) | 713.229.8824 (F)
thuehlefeld@wcglaw.com | www.wcglaw.com | vcard
Confidentiality Notice | Wilson, Cribbs & Goren, P.C. | The information in this email may be confidential and/or privileged. This email is intended to be reviewed by
only the individual or organization named above. If you are not the intended recipient or an authorized representative of the intended recipient, you are hereby notified
that any review, dissemination or copying of this email and its attachments, if any, or the information contained herein is prohibited. If you have received this email in
error, please immediately notify the sender by return email and delete this email from your system.
From: Shahin Jamea <sjamea@oxberrygroup.com>
Sent: Tuesday, June 28, 2022 2:36 PM
To: Joshua Bernstein <jbernstein@legalstrategy.com>; Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Avant, Alli
<Alli.Avant@fnf.com>; Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel
<jdaniel@knightheadfunding.com>; Laura Torrado <ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>;
Rebecca Brown <Rbrown@knightheadfunding.com>; ltorrado@knighthead.com
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
Travis,
Buyer has asked the Seller for an extension of the closing date to December 16th before moving forward with the deposit of the
additional $500K earnest money due tomorrow. Seller is considering the request but hasn’t responded yet. In the interest of time,
please draft and circulate an amendment extending the closing date for seller and their counsel to review.

Shahin “Sean” Jamea, J.D.
Principal
From: Joshua Bernstein <jbernstein@legalstrategy.com>
Sent: Friday, April 29, 2022 2:29 PM
To: Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Avant, Alli <Alli.Avant@fnf.com>; Shahin Jamea <sjamea@oxberrygroup.com>;
Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel <jdaniel@knightheadfunding.com>; Laura Torrado
<ltorrado@knighthead.com>; Adams, Davis <Davis.Adams@am.jll.com>; Rebecca Brown <Rbrown@knightheadfunding.com>;
ltorrado@knighthead.com
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>

                                                                                                                EXHIBIT 12 PAGE 5 OF 7
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 120 of 182

Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
All:
Attached is seller’s response to buyer’s title and survey objection letter.
-Josh
From: Travis Huehlefeld <tHuehlefeld@wcglaw.com>
Sent: Friday, April 22, 2022 4:52 PM
To: Avant, Alli <Alli.Avant@fnf.com>; Shahin Jamea <sjamea@oxberrygroup.com>; Joshua Bernstein
<jbernstein@legalstrategy.com>; Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel
<jdaniel@knightheadfunding.com>; Adams, Davis <Davis.Adams@am.jll.com>; Rebecca Brown
<Rbrown@knightheadfunding.com>; ltorrado@knighthead.com
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and
know the content is safe.
All – Please find attached buyer’s title and survey objection letter with respect to the above referenced matter. After you have a
chance to review, please let me know if you have any comments or would like to discuss.
Thank you,
Travis
OUT OF OFFICE MONDAY, APRIL 25
TRAVIS L. HUEHLEFELD | Attorney
Wilson Cribbs + Goren | 2500 Fannin St | Houston, TX 77002
713.222.9000 (O) | 713.547.8516 (D) | 713.229.8824 (F)
thuehlefeld@wcglaw.com | www.wcglaw.com | vcard
Confidentiality Notice | Wilson, Cribbs & Goren, P.C. | The information in this email may be confidential and/or privileged. This email is intended to be reviewed by
only the individual or organization named above. If you are not the intended recipient or an authorized representative of the intended recipient, you are hereby notified
that any review, dissemination or copying of this email and its attachments, if any, or the information contained herein is prohibited. If you have received this email in
error, please immediately notify the sender by return email and delete this email from your system.
From: Avant, Alli <Alli.Avant@fnf.com>
Sent: Monday, April 4, 2022 9:23 AM
To: Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Shahin Jamea <sjamea@oxberrygroup.com>; Joshua Bernstein
<jbernstein@legalstrategy.com>; Henry Boeckmann <hboeckmann@knightheadfunding.com>; Jonathan Daniel
<jdaniel@knightheadfunding.com>; Adams, Davis <Davis.Adams@am.jll.com>; Rebecca Brown
<Rbrown@knightheadfunding.com>
Cc: Avant, Lolly <LAvant@fnf.com>; Montgomery, Deborah <Deborah.Montgomery@fnf.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
                                                          This message was sent securely using Zix®


Good morning,
Our office is in receipt of the $150,000.00 initial deposit.
Pursuant to Section 3(a) of the PSA, the title company is to immediately release the deposit to Seller. Please forward the Seller’s
wiring instructions and a method to confirm the instructions.
Please contact me with any questions.
Thank you,
Allison Avant
Commercial Escrow Assistant
Fidelity National Title
National Commercial Services
1900 West Loop South, Suite 200
Houston, Texas 77027
Email: alli.avant@fnf.com
Office Ph.: 713-968-7165
From: Avant, Alli
Sent: Friday, April 1, 2022 4:40 PM
To: Travis Huehlefeld <tHuehlefeld@wcglaw.com>; Avant, Lolly <LAvant@fnf.com>
Cc: Rebecca Brown <Rbrown@knightheadfunding.com>; Shahin Jamea <sjamea@oxberrygroup.com>; Joshua Bernstein
<jbernstein@legalstrategy.com>; Adams, Davis <Davis.Adams@am.jll.com>; Henry Boeckmann
<hboeckmann@knightheadfunding.com>; Jonathan Daniel <jdaniel@knightheadfunding.com>
Subject: RE: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
Good afternoon,
Attached, please find the receipted contract. The order number assigned to this transaction is FAH22004012.
We will send our wiring instructions to the buyer under separate cover.

                                                                                                                EXHIBIT 12 PAGE 6 OF 7
              Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 121 of 182

 Thank you,
 Allison Avant
 Commercial Escrow Assistant
 Fidelity National Title
 National Commercial Services
 1900 West Loop South, Suite 200
 Houston, Texas 77027
 Email: alli.avant@fnf.com
 Office Ph.: 713-968-7165
 From: Travis Huehlefeld <tHuehlefeld@wcglaw.com>
 Sent: Friday, April 1, 2022 4:25 PM
 To: Avant, Lolly <LAvant@fnf.com>; Avant, Alli <Alli.Avant@fnf.com>
 Cc: Rebecca Brown <Rbrown@knightheadfunding.com>; Shahin Jamea <sjamea@oxberrygroup.com>; Joshua Bernstein
 <jbernstein@legalstrategy.com>; Adams, Davis <Davis.Adams@am.jll.com>; Henry Boeckmann
 <hboeckmann@knightheadfunding.com>; Jonathan Daniel <jdaniel@knightheadfunding.com>
 Subject: Grant Meadows, L.L.C./KH-REIT II Funding XXII, LLC - Executed PSA
 IMPORTANT NOTICE - This message sourced from an external mail server outside of the Company.
 Lolly – I believe that you may have received the attached PSA, but sending just in case. Can you please sign and return a copy to
 this group and circulate wiring instructions of the Initial Deposit?
 We look forward to working with you.
 Thank you and have a good weekend,
 Travis
 TRAVIS L. HUEHLEFELD | Attorney
 Wilson Cribbs + Goren | 2500 Fannin St | Houston, TX 77002
 713.222.9000 (O) | 713.547.8516 (D) | 713.229.8824 (F)
 thuehlefeld@wcglaw.com | www.wcglaw.com | vcard
 Confidentiality Notice | Wilson, Cribbs & Goren, P.C. | The information in this email may be confidential and/or privileged. This email is intended to be reviewed by
 only the individual or organization named above. If you are not the intended recipient or an authorized representative of the intended recipient, you are hereby notified
 that any review, dissemination or copying of this email and its attachments, if any, or the information contained herein is prohibited. If you have received this email in
 error, please immediately notify the sender by return email and delete this email from your system.

 NOTICE: The information contained in this message is proprietary and/or confidential and may be privileged. If you are not the intended recipient
 of this communication, you are hereby notified to: (i) delete the message and all copies; (ii) do not disclose, distribute or use the message in any
 manner; and (iii) notify the sender immediately.

 -------------------------------------------------------------------------
 This message was secured by Zix®.

 -------------------------------------------------------------------------
 This message was secured by Zix®.

 -------------------------------------------------------------------------
 This message was secured by Zix®.

-------------------------------------------------------------------------
This message was secured by Zix®.




                                                                                                                 EXHIBIT 12 PAGE 7 OF 7
 Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 122 of 182




                EXHIBIT 13




{W0802327.1}
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 123 of 182

To:        Rebecca Brown[Rbrown@knightheadfunding.com]; Brian H. Buster[bbuster@legalstrategy.com]; Joshua
Bernstein[jbernstein@legalstrategy.com]; Shahin Jamea[sjamea@oxberrygroup.com]; Travis Huehlefeld[tHuehlefeld@wcglaw.com];
Sara Prasatik[sprasatik@wcglaw.com]
Cc:        Galperin, Robert[Robert.Galperin@fnf.com]; Ebbs, Mary[Mary.Ebbs@fnf.com]
From:      Avant, Lolly[LAvant@fnf.com]
Sent:      Fri 10/21/2022 8:35:52 PM (UTC)
Subject: RE: Property Inspection

                                                     This message was sent securely using Zix®

 Good Afternoon,
 Due to recent developments, I will be circulating a revised commitment/proforma revising Schedule B, Exception (f) on Monday.
 Thank you,
 Lolly Avant, SVP
 National Business Development|Senior Closer
 Fidelity National Title
 National Commercial Services
 1900 West Loop South, Suite 200
 Houston, Texas 77027
 Email: lavant@fnf.com
 Direct: 713-621-9170
 Mobile: 281-217-9517
 From: Avant, Lolly
 Sent: Thursday, October 20, 2022 2:26 PM
 To: Rebecca Brown <Rbrown@knightheadfunding.com>; Brian H. Buster <bbuster@legalstrategy.com>; Joshua Bernstein
 <jbernstein@legalstrategy.com>; 'Shahin Jamea' <sjamea@oxberrygroup.com>; Travis Huehlefeld <tHuehlefeld@wcglaw.com>;
 Sara Prasatik <sprasatik@wcglaw.com>
 Cc: Galperin, Robert <Robert.Galperin@fnf.com>; Ebbs, Mary <Mary.Ebbs@fnf.com>
 Subject: Property Inspection
 Good afternoon,
 This morning my office performed an inspection of the property.
 The service lines and two poles that are the subject of ongoing conversations are gone and the splinters of the bottom of
 the poles remain in the holes. There is not power to the Main 2601 owner’s building.
 My title specialist walked around to McGowen Street and front of the building and sidewalk are boarded up and the
 power to the adjacent businesses adjacent to the building comes from the power poles in the McGowen Street ROW.
 At some point in time between April 2022 (last survey date) and today the power line and poles were removed. Seller are
 you aware that the poles and line were removed?
 I would think CenterPoint would have removed the utility lines. I think an electrician would not remove the service line
 without CenterPoint’s involvement unless the service line had already been disconnected at the pole on Dennis Street.
 The survey would need to updated to reflect there are no power lines or poles located on the property.
 Lolly Avant, SVP
 National Business Development|Senior Closer
 Fidelity National Title
 National Commercial Services
 1900 West Loop South, Suite 200
 Houston, Texas 77027
 Email: lavant@fnf.com
 Direct: 713-621-9170
 Mobile: 281-217-9517

 NOTICE: The information contained in this message is proprietary and/or confidential and may be privileged. If you are
 not the intended recipient of this communication, you are hereby notified to: (i) delete the message and all copies; (ii) do
 not disclose, distribute or use the message in any manner; and (iii) notify the sender immediately.

-------------------------------------------------------------------------
This message was secured by Zix®.




                                                                                                 EXHIBIT 13 PAGE 1 OF 1
 Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 124 of 182




                EXHIBIT 14




{W0802327.1}
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 125 of 182




                                                                     FNTIC-766



                                                  EXHIBIT 14 PAGE 1 OF 3
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 126 of 182




                                                                     FNTIC-767



                                                  EXHIBIT 14 PAGE 2 OF 3
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 127 of 182




                                                                     FNTIC-768



                                                  EXHIBIT 14 PAGE 3 OF 3
 Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 128 of 182




                EXHIBIT 15




{W0802327.1}
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 129 of 182




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

   KH-REIT II FUNDING XXII, LLC                    §
         Plaintiff,                                §
                                                   §
   v.                                              §                     CAUSE NO. 4:22-CV-03730
                                                   §
   GRANT MEADOWS, L.L.C.                           §
        Defendant.                                 §


                 DEFENDANT’S OBJECTIONS AND RESPONSES TO
          PLAINTIFF’S FIRST REQUEST FOR PRODUCTION TO DEFENDANT

  TO:    KH-REIT II FUNDING XXI, LLC, by and through its attorneys of record, Matthew
         Baumgartner, Armbrust & Brown, 100 Congress Avenue, Suite 1300, Austin, Texas 78701

         Grant Meadows, L.L.C. (“Grant Meadows” or “Respondent”), a defendant in the above-

  styled and numbered cause of action and serves these Objections and Responses to Plaintiff’s First

  Request for Production, pursuant to the Federal Rules of Civil Procedure 34.

                                               Respectfully submitted,

                                               By: /s/ J. Robert MacNaughton
                                                  J. Robert MacNaughton – attorney in charge
                                                  State Bar No. 00789944
                                                  SDTX No. 18350
                                                  robert@porterfirm.com
                                                  2221 S. Voss Rd.,
                                                  Houston, Texas 77057
                                                  713-621-0700 Telephone
                                                  713-621-0709 Facsimile

  OF COUNSEL:

  PORTER LAW FIRM, PLLC
  Weston P. Ray
  State Bar No. 24098307
  weston@porterfirm.com
  2221 S. Voss Road, Suite 200

                                                  1




                                                                      EXHIBIT 15 PAGE 1 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 130 of 182




  Houston, Texas 77057
  Tel.: 713-621-0700
  Fax: 713-621-0709
                                                     ATTORNEYS FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

          A true and correct copy of the foregoing was served on the attorneys of record or pro se
  party as listed on March 17, 2023.

  Matthew Baumgartner
  David King
  Guillermo Alarcon
  ARMBRUST & BROWN, PLLC
  100 Congress Avenue, Suite 1300
  Austin, Texas 78701


                                                       /s/ J. Robert MacNaughton
                                                         J. Robert MacNaughton




                                                 2




                                                                     EXHIBIT 15 PAGE 2 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 131 of 182




           OJECTIONS AND RESPONSE TO REQUESTS FOR PRODUCTION


  1.     All communications and documents between you and the Title Company regarding the
  Property.

  RESPONSE: Respondent will produce.

  2.     All communications and documents between you and the Title Company regarding the
  Contract.

  RESPONSE: Respondent will produce.

  3.     All communications and documents between you and the Title Company regarding the
  First Amendment.

  RESPONSE: Respondent will produce.

  4.    All communications and documents between you and the Title Company regarding the
  Power Pole.

  RESPONSE: Respondent will produce.

  5.     All communications and documents between you and the Title Company regarding the
  Title Commitment.

  RESPONSE: Respondent will produce.

  6.    All communications and documents between you and the Title Company regarding the
  Termination Letter.

  RESPONSE: Respondent will produce. .

  7.      All communications and documents between you and any person from March 31, 2019 to
  the present regarding the Property.

  RESPONSE: Respondent will produce.

  8.      All communications and documents between you and any person from March 31, 2019 to
  the present regarding the Contract.

  RESPONSE: Respondent will produce.

  9.      All communications and documents between you and any person from March 31, 2019 to
  the present regarding the First Amendment.


                                              3




                                                                 EXHIBIT 15 PAGE 3 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 132 of 182




  RESPONSE: Respondent will produce.

  10.     All communications and documents between you and any person from March 31, 2019 to
  the present regarding the Power Pole.

  RESPONSE: Respondent will produce.

  11.     All communications and documents between you and any person from March 31, 2019 to
  the present regarding the Title Commitment.

  RESPONSE: Respondent will produce.

  12.     All communications and documents between you and any person from March 31, 2019 to
  the present regarding the Termination Letter.

  RESPONSE: Respondent will produce.

  13.    All communications and documents between you and any investors regarding the Property.

  RESPONSE: Respondent objects to this Request as vague and overbroad in scope by not being
  sufficiently limited in definition. The term “investors” is not defined or limited, and is overbroad
  in the general meaning. Respondent further objects to the extent this request seeks non-relevant
  information that will not lead to discoverable admissible evidence, potentially containing private
  financial information of third parties not subject to this lawsuit.

  14.    All communications and documents between you and any investors regarding the Contract.

  RESPONSE: See objection to Request for Production 13.

  15.  All communications and documents between you and any investors regarding the First
  Amendment.

  RESPONSE: See objection to Request for Production 13.

  16.   All communications and documents between you and any investors regarding the Power
  Pole.

  RESPONSE: See objection to Request for Production 13.

  17.  All communications and documents between you and any investors regarding the Title
  Commitment.

  RESPONSE: See objection to Request for Production 13.

  18.   All communications and documents between you and any investors regarding the
  Termination Letter.

                                                   4




                                                                        EXHIBIT 15 PAGE 4 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 133 of 182




  RESPONSE: See objection to Request for Production 13.

  19.    All communications and documents between you and any lenders regarding the Property.

  RESPONSE: Respondent objects to this Request as vague and overbroad in scope by not being
  sufficiently limited in definition. The term “lenders” is not defined or limited, and is overbroad in
  the general meaning. Respondent further objects to the extent this request seeks non-relevant
  information that will not lead to discoverable admissible evidence, potentially containing private
  financial records not subject to this lawsuit.

  20.    All communications and documents between you and any lenders regarding the Contract.

  RESPONSE: See objection to Request for Production 20.

  21.  All communications and documents between you and any lenders regarding the First
  Amendment.

  RESPONSE: See objection to Request for Production 20.

  22.   All communications and documents between you and any lenders regarding the Power
  Pole.

  RESPONSE: See objection to Request for Production 20.

  23.  All communications and documents between you and any lenders regarding the Title
  Commitment.

  RESPONSE: See objection to Request for Production 20.

  24.   All communications and documents between you and any lenders regarding the
  Termination Letter.

  RESPONSE: See objection to Request for Production 20.

  25.    All internal communications and documents from March 31, 2019 to October 26, 2022
  regarding your decision to purchase the Property.

  RESPONSE: Respondent objects to this Request to the extent it calls attorney client privileged
  information. Subject thereto: will produce.

  26.    All internal communications and documents from March 31, 2019 to October 26, 2022
  regarding your decision to the terminate the Contract.

  RESPONSE: Respondent objects to this Request to the extent it calls attorney client privileged
  information. Subject thereto: will produce.


                                                   5




                                                                        EXHIBIT 15 PAGE 5 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 134 of 182




  27.    All documents and communications from March 31, 2019 to October 26, 2022 regarding
  the Property’s value.

  RESPONSE: Respondent will produce.

  28.     All documents and communications from March 31, 2019 to October 26, 2022 regarding
  prevailing market conditions and your decision to either purchase the Property or terminate the
  Contract.

  RESPONSE: Respondent objects to this Request to the extent it calls attorney client privileged
  information. Subject thereto: will produce.

  29.    All documents and communications regarding the Power Pole.

  RESPONSE: Respondent will produce.

  30.    All documents and communications regarding the Power Pole between you and any
  neighbors or owners of lots adjacent to the Property.

  RESPONSE: Respondent objects to this Request to the extent as vague and overbroad in scope
  by not being sufficiently limited in definition. The term “neighbors” is not defined or limited, and
  is overbroad in the general meaning. Subject thereto Respondent will produce to the extent there
  is any such documentation.

  31.    All certificates or other evidence of liability insurance for acts of omissions arising out of
  the removal or relocation of the power pole procured by you, as required by paragraph 2 of the
  First Amendment.

  RESPONSE: None known of at this time.

  32.     All evidence of consent from CenterPoint Energy and/or the City of Houston, Texas related
  to the removal or relocation of the power pole procured by you, as required by paragraph 2 of the
  First Amendment.

  RESPONSE: Respondent will produce to the extent there is any such documentation.

  33.    All evidence that you provided plans for the removal or relocation of the power pole
  procured by you, as required by paragraph 2 of the First Amendment.

  RESPONSE: None known of at this time.




                                                   6




                                                                        EXHIBIT 15 PAGE 6 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 135 of 182




               EXHIBIT 16
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 136 of 182

To:         Barry Espinosa[bespinosa@oxberrygroup.com]; Shahin Jamea[sjamea@oxberrygroup.com]
Cc:         Stein, Jeff @ Houston[Jeff.Stein@cbre.com]
From:       Hudson, Brock @ Houston[Brock.Hudson@cbre.com]
Sent:       Tue 6/7/2022 8:55:19 PM (UTC)
Subject:    RE: 2627 Main - Lender Questions

 Thanks Barry.
 Sean – can you confirm if the plan is still for George to contribute all of the initial equity upfront? A potential mezz/pref equity
 group is asking for confirmation on what Oxberry’s initial equity contribution will be.
 Regards,
 Brock Hudson | Vice President
 CBRE | Capital Markets | Debt & Structured Finance
 T 713-787-1942 | C 713-430-6431
 From: Barry Espinosa <bespinosa@oxberrygroup.com>
 Sent: Monday, June 6, 2022 1:28 PM
 To: Shahin Jamea <sjamea@oxberrygroup.com>; Hudson, Brock @ Houston <Brock.Hudson@cbre.com>
 Cc: Stein, Jeff @ Houston <Jeff.Stein@cbre.com>
 Subject: RE: 2627 Main - Lender Questions

 External

 Brock,
 Please see below in red
 Best Regards,
 Barry Espinosa
 Development Manager

 oxberrygroup.com
 bespinosa@oxberrygroup.com
 1 Riverway, Ste 2050
 Houston, TX 77056
 Ph. (832) 803-6377
 From: Shahin Jamea <sjamea@oxberrygroup.com>
 Sent: Monday, June 6, 2022 12:59 PM
 To: Hudson, Brock @ Houston <Brock.Hudson@cbre.com>
 Cc: Stein, Jeff @ Houston <Jeff.Stein@cbre.com>; Barry Espinosa <bespinosa@oxberrygroup.com>
 Subject: RE: 2627 Main - Lender Questions
 Barry – Please answer below.

 Shahin “Sean” Jamea, J.D.
 Principal
 From: Hudson, Brock @ Houston <Brock.Hudson@cbre.com>
 Sent: Monday, June 6, 2022 12:10 PM
 To: Shahin Jamea <sjamea@oxberrygroup.com>
 Cc: Stein, Jeff @ Houston <Jeff.Stein@cbre.com>
 Subject: 2627 Main - Lender Questions
 Good afternoon Sean,
 Please see 2627 Main lender questions below. Can you please assist?
       • Does sponsor have all of their entitlements? Site and Building permit drawings will be submitted to the City on 7/15;
       permits are expected around October and December, respectively.
       • Can you confirm if Element Architects will be the architect? Has Oxberry used them before? Yes, EA is the Architect of
       Record. They specialize in Multifamily and Senior Housing. It is our first project with them.
       • Does sponsor have 100% of the CDS? 100% CDs are expected 07/01
       • Can you confirm Flintco will be the GC and the budget provided is the latest and greatest? FlintCo is cooperating with us to
       get preliminary pricing, but the project will be hard bid once we get 100% CDs. The budget provided is the latest and
       greatest. FlintCo is continuing to help us get a tighter price based on the DD Set submitted 6/3.

 Any insight you could provide would be greatly appreciated.

                                                                                           EXHIBIT 16 PAGE 1 OF 2
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 137 of 182

Regards,
Brock Hudson
CBRE | Capital Markets | Debt & Structured Finance
2800 Post Oak Blvd, Suite 500 | Houston, TX 77056
T +1 713 787 1942 | C +1 713 430 6431
brock.hudson@cbre.com




                                                             EXHIBIT 16 PAGE 2 OF 2
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 138 of 182




               EXHIBIT 17
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 139 of 182




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

   KH-REIT II FUNDING XXII, LLC                    §
         Plaintiff,                                §
                                                   §
   v.                                              §            CAUSE NO. 4:22-CV-03730
                                                   §
   GRANT MEADOWS, L.L.C.                           §
        Defendant.                                 §


                 DEFENDANT’S OBJECTIONS AND RESPONSES TO
           PLAINTIFF’S FIRST REQUEST FOR ADMISSION TO DEFENDANT

  TO:    KH-REIT II FUNDING XXI, LLC, by and through its attorneys of record, Matthew
         Baumgartner, Armbrust & Brown, 100 Congress Avenue, Suite 1300, Austin, Texas 78701

         Grant Meadows, L.L.C. (“Grant Meadows” or “Respondent”), a defendant in the above-

  styled and numbered cause of action and serves these Objections and Responses to Plaintiff’s First

  Request for Admission, pursuant to the Federal Rules of Civil Procedure 36.

                                               Respectfully submitted,

                                               By: /s/ J. Robert MacNaughton
                                               J. Robert MacNaughton – attorney in charge
                                               State Bar No. 00789944
                                               SDTX No. 18350
                                               robert@porterfirm.com
                                               2221 S. Voss Rd.,
                                               Houston, Texas 77057
                                               713-621-0700 Telephone
                                               713-621-0709 Facsimile

  OF COUNSEL:

  PORTER LAW FIRM, PLLC
  Weston P. Ray
  State Bar No. 24098307
  weston@porterfirm.com
  2221 S. Voss Road, Suite 200

                                                  1




                                                                      EXHIBIT 17 PAGE 1 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 140 of 182




  Houston, Texas 77057
  Tel.: 713-621-0700
  Fax: 713-621-0709

                                                     ATTORNEYS FOR DEFENDANT

                                 CERTIFICATE OF SERVICE

          A true and correct copy of the foregoing was served on the attorneys of record or pro se
  party as listed on March 17, 2023.

  Matthew Baumgartner
  David King
  Guillermo Alarcon
  ARMBRUST & BROWN, PLLC
  100 Congress Avenue, Suite 1300
  Austin, Texas 78701


                                                       /s/ J. Robert MacNaughton
                                                         J. Robert MacNaughton




                                                 2




                                                                     EXHIBIT 17 PAGE 2 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 141 of 182




                        RESPONSES TO REQUESTS FOR ADMISSION

  1.     Admit you removed, or caused to be removed, the Power Pole.

  RESPONSE: Denied.

  2.      Admit that the First Amendment required you to provide appropriate plans for removal and
  relocation of the Power Pole to KH-REIT for review and approval before removal or relocation of
  the Power Pole at least three business days before removal or relocation of the Power Pole.

  RESPONSE: Denied.

  3.    Admit that you did not provide plans for removal or relocation of the Power Pole to KH-
  REIT before the Power Pole’s removal.

  RESPONSE: Denied.

  4.     Admit that the First Amendment required you to provide to KH-REIT certificates or other
  evidence of liability insurance for acts or omissions arising out of the removal or relocation of the
  Power Pole at least three business days before removal or relocation of the Power Pole.

  RESPONSE: Denied.

  5.       Admit you did not provide to KH-REIT certificates or other evidence of liability insurance
  at least three business days before removal or relocation of the Power Pole.

  RESPONSE: Denied.

  6.    Admit that you did not obtain liability insurance for acts or omissions arising out of the
  removal or relocation of the Power Pole.

  RESPONSE: Denied.

  7.     Admit that the First Amendment entitled KH-REIT to three business days to approve plans
  for removal or relocation of the Power Pole.

  RESPONSE: Denied.

  8.      Admit that KH-REIT was not given three business days to approve plans for removal or
  relocation of the Power Pole.

  RESPONSE: Denied.




                                                   3




                                                                        EXHIBIT 17 PAGE 3 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 142 of 182




  9.      Admit that the First Amendment required you to provide consent from CenterPoint and/or
  the City of Houston to KH-REIT at least three business days before removal or relocation of the
  Power Pole.

  RESPONSE: Denied.

  10.  Admit that you did not provide consent from CenterPoint and/or the City of Houston to
  KH-REIT at least three business days before removal or relocation of the Power Pole.

  RESPONSE: Denied.

  11.    Admit that you did not give KH-REIT any notice that the Power Pole was to be removed.

  RESPONSE: Denied.

  12.     Admit that removal or relocation of the Power Pole was not a condition to closing under
  the terms of the Contract.

  RESPONSE: Denied.




                                                4




                                                                    EXHIBIT 17 PAGE 4 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 143 of 182




               EXHIBIT 18
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 144 of 182




                                                           CEHE0000004


                                                  EXHIBIT 18 PAGE 1 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 145 of 182




                                                           CEHE0000005


                                                  EXHIBIT 18 PAGE 2 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 146 of 182




                                                           CEHE0000006


                                                  EXHIBIT 18 PAGE 3 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 147 of 182




                                                           CEHE0000007


                                                  EXHIBIT 18 PAGE 4 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 148 of 182




                                                           CEHE0000008


                                                  EXHIBIT 18 PAGE 5 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 149 of 182




                                                           CEHE0000009


                                                  EXHIBIT 18 PAGE 6 OF 6
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 150 of 182




               EXHIBIT 19
        Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 151 of 182


EMAILS :: Between Brent Friedman & Sean Jamea
                                                                                               [Created: 28-Jun-23]




From: Brent Friedman <brent@parklanecompanies.com>
Sent: Tuesday, April 26, 2022 10:47 PM
To: 'Shahin Jamea' <sjamea@oxberrygroup.com>
Cc: becky@currentstanding.com
Subject: RE: Surveys. [GSB]

Hey,
Sorry. Yes. The recorded deed references the PSA for all purposes. Attached is from the PSA, related to post-
closing obligation for electrical service.



Brent Friedman
Current Standing Developments
2322 Bissonnet Street Suite_02
Houston, Texas 77005
 (713) 332-0060 | Office
 (713) 530-6564 | Cell



From: Shahin Jamea <sjamea@oxberrygroup.com>
Sent: Thursday, April 21, 2022 4:38 PM
To: Brent Friedman <brent@parklanecompanies.com>
Cc: becky@currentstanding.com
Subject: Re: Surveys. [GSB]

Thanks Brent. Same here.
Please send me the agreement regarding electricity and transformer. We don’t find anything on the title commitment as a
recorded instrument.


Sean Jamea



On Apr 21, 2022, at 4:26 PM, Brent Friedman <brent@parklanecompanies.com> wrote:

Sean,
Thanks again for the time yesterday, and updates. Enjoyed it. And the project looks great.
In way of follow-ups promised:
       Lock code for auto gate on Fannin is: 1970. Just to make sure you have latest. (Or… will be. Apparently the
        lock was cut and will be replaced in coming days w new lock w this code).



                                                          -1-

                                                                                EXHIBIT 19 PAGE 1 OF 4
       Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 152 of 182

                                           EMAILS – Between Brent Friedman & Sean Jamea re: GSB _ Post-Closing Obligations
                                                                                                                (28-Jun-23)




      Re: transformer/elec. service, note that I’d misremembered this when I pointed to the location in the
       easement – that location was, instead, the planned location for trash dumpsters. You were right –
       according to the agmt, if a pad-mounted transformer is needed, it would not be located in the Easement
       area. Instead, the owner of the Caydon ppty wld provide such location on their ppty, with an easement for
       service and access.
      And, re: kVa service requirement for the bdg, I looked back at my notes from mtgs and emails w Caydon,
       and believe the civil and MEP determined that: Depending on the user(s)/use type(s), the requirement
       could be +750 kVa, on the “low-side”, or perhaps 2,000 kVa on realistic “high-side” scenario. And we’d
       asked Caydon: “In the event we have to lock-in today, inasmuch as we don’t yet know for sure what the
       exact capacity need is, do you guys know whether – if we were to go with 750 kVa, and later need to expand
       up to, say, 2,000 kVa – if this would just be a matter of adding 2 or 3 poles, assuming it could be pole-
       mounted?” And didn’t hear back on this.

Hope this helps. Let me know if I missed anything, or you need any other info from us, on this or otherwise.

Thanks,




Brent Friedman
Current Standing Developments
2322 Bissonnet Street Suite_02
Houston, Texas 77005
 (713) 332-0060 | Office
 (713) 530-6564 | Cell



From: Shahin Jamea <sjamea@oxberrygroup.com>
Sent: Wednesday, April 13, 2022 7:50 AM
To: Brent Friedman <brent@parklanecompanies.com>
Subject: Re: Surveys. [GSB]

Next Wednesday April 20th at 3:30? Same coffee shop in the village?


Sean Jamea



On Apr 13, 2022, at 7:46 AM, Brent Friedman <brent@parklanecompanies.com> wrote:

Morning Sean,
Just happened across this email and reminded me. Wanted to make sure you saw below. And, if you do still want to grab
coffee maybe one day next week, shoot me a text (c: 713-530-6564).
Thanks,


Brent Friedman


                                                          -2-

                                                                                 EXHIBIT 19 PAGE 2 OF 4
      Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 153 of 182

                                              EMAILS – Between Brent Friedman & Sean Jamea re: GSB _ Post-Closing Obligations
                                                                                                                      (28-Jun-23)




From: Brent Friedman brent@parklanecompanies.com
Sent: Wednesday, April 6, 2022 10:35 AM
To: Shahin Jamea sjamea@oxberrygroup.com
Subject: Re: Surveys

Hey Sean,
I just happened upon this email. Im sorry about the crickets.
Yes. Coffee next wk is good. I’m wide open after abt 2 on Tu. Or, if better, have slots We - Fr. Lmk what works. (Ideally
by text if you would, to make sure I don’t miss it again. C: 713-530-6564).
We may be going under contract soon on our property over there. Tell you more at coffee.


Brent Friedman



On Apr 4, 2022, at 12:20 PM, Shahin Jamea <sjamea@oxberrygroup.com> wrote:

Hi Brent,
We have the Caydon land under contract. I think your property manager was putting a lock on our gate so I asked her to stop.
I’m leaving town tomorrow and but excited to share our plans. Maybe coffee next week?


<image001.png>

Shahin “Sean” Jamea, J.D.
Principal


From: Brent Friedman <brent@parklanecompanies.com>
Sent: Tuesday, November 9, 2021 9:51 PM
To: Shahin Jamea <sjamea@oxberrygroup.com>
Subject: Re: Surveys

Great. See you then/there.



On Nov 9, 2021, at 8:10 PM, Shahin Jamea <sjamea@oxberrygroup.com> wrote:

Yup


<image001.png>

Shahin “Sean” Jamea, J.D.
Principal


                                                             -3-

                                                                                     EXHIBIT 19 PAGE 3 OF 4
      Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 154 of 182

                                               EMAILS – Between Brent Friedman & Sean Jamea re: GSB _ Post-Closing Obligations
                                                                                                                    (28-Jun-23)




From: Brent Friedman <brent@parklanecompanies.com>
Sent: Tuesday, November 9, 2021 4:06 PM
To: Shahin Jamea <sjamea@oxberrygroup.com>
Subject: Re: Surveys

Good. Badolinas at 10:15A on Thu?


Brent Friedman



On Nov 9, 2021, at 9:07 AM, Shahin Jamea <sjamea@oxberrygroup.com> wrote:

Coffee in rice village Thursday morning?

Sean Jamea



On Nov 9, 2021, at 10:01 AM, Brent Friedman <brent@parklanecompanies.com> wrote:

Hey Sean,
Agreed – hard to believe its been 6 yrs.
Contact info is below. Feel free to call/text anytime. Or, lmk if youd rather meet.


Brent Friedman


From: Shahin Jamea <sjamea@oxberrygroup.com>
Sent: Sunday, November 7, 2021 11:19 AM
To: Brent Friedman <brent@parklanecompanies.com>
Subject: RE: Surveys

Hi Brent,
Judging by below dates, it’s been a very long time. Hope all is well and that this is still a good email.
I’d like to talk to you about the Greensheet building.
Please send me your contact info and a good time to connect.
Thanks,


<image001.png>

Shahin “Sean” Jamea, J.D.
Principal



                                                               -4-

                                                                                       EXHIBIT 19 PAGE 4 OF 4
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 155 of 182




               EXHIBIT 20
     Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 156 of 182


NOTES :: Call w Sean Jamea re: Post-Closing Obligations
                                                                                                           [26-Sep-22]
NOTE: Text below in red font are notes from the meeting/call. Text which is also highlighted are “follow-up/action items”.



  Sean called and explained that he was interested in an update from us on the “post-closing-obligat-
    ions” matter with the current owner. He said he was hoping it had been resolved because ‘the last
    thing (he) wants’ is to get into a situation where he’s adverse to us.

  I explained that I hadn’t heard anything about it in a couple of months, but I think last I heard our att-
    orney sent their attorney a letter. And my guess is there has not been a resolution between them, as I
    imagine I would have heard about that. But, I’m happy to call and get an update and let him know.

  He said that would be great, but asked what I knew about the “obligations”, in general – bc, as he
    understands it, the seller has recently removed the T- poles in the parking lot.

  I said I’d tell him everything I know on it, which is :
        o   When Caydon approached us to purchase the property, we didn’t want to sell. After months of
            trying, the president of Caydon ultimately convinced me to meet to discuss our reservations to
            see if they might be able to resolve them.
        o   We met and I talked him through our 3 main reservations preventing us from selling – namely:
            Parking, electrical service and access to the rear of our building. They then – over the following
            weeks/months – set about to resolve those concerns. And were ultimately able to address
            these to our satisfaction and convince us to agree to sell.
        o   On the electrical service, they committed to be solely responsible to provide consistent elec-
            trical service to our building, both: (i) Initially – on an “interim” basis and during their constr-
            uction, until such time as they could place new transformers to service our property; and, (ii)
            Then service via the permanent transformers, thereafter. And that was where this obligation –
            and the others – as well as the easement-area designation, in our agreements came from.
        o   Our attorneys explained to us that they were quite sure that these obligations are the
            obligations of any Caydon successor/assigns, regardless of the circumstances. And I think last I
            heard on it, our attorney sent their attorney a letter explaining this.

  Sean reiterated about the seller having recently removed the T-poles, in a way seeming to suggest
    that this removal would mark the end of any post-closing obligation(s). So I asked him what the
    connection was between this removal and these obligations.

  He said that his understanding was that our attorneys’ letter said that they could not remove the T-
    poles, and that the Seller doing so indicated that they (Seller) believed that they were not concerned
    about these obligations, and also that they could now not provide this “interim” service.

  I said that I wouldn’t think removing the pole would remove this obligation, and they would still be
    obligated to provide temporary service when our building needs it. But, again, I’m happy to reach out
    to our attorneys for an update. He said “Great. Please. And let me know.”

  So, wanted to touch base w you on it. And, sending recap by email so you have it and can review –
    but, feel free to call to discuss if you’d like to.


                                                          -1-

                                                                                 EXHIBIT 20 PAGE 1 OF 1
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 157 of 182




               EXHIBIT 21
  Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 158 of 182


TEXTS :: Between Brent Friedman & Sean Jamea
                                                               [Created: 28-Jun-23]




                                     -1-

                                                    EXHIBIT 21 PAGE 1 OF 1
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 159 of 182




               EXHIBIT 22
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 160 of 182




                                                  EXHIBIT 22 PAGE 1 OF 2
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 161 of 182




                                                  EXHIBIT 22 PAGE 2 OF 2
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 162 of 182




               EXHIBIT 23
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 163 of 182

To:        Shahin Jamea[sjamea@oxberrygroup.com]
Cc:        Stein, Jeff @ Houston[Jeff.Stein@cbre.com]
From:      Hudson, Brock @ Houston[Brock.Hudson@cbre.com]
Sent:      Thur 10/20/2022 2:52:52 PM (UTC)
Subject:   Sonder Midtown

 Good morning Sean,
 Per our conversation from yesterday, we are going to slow play Plains on this deal.
 However, I wanted to check and see if you were still comfortable moving forward with the appraisal. Moving forward with the
 appraisal may be a good way to avoid any suspicion from the lender and keep the ball rolling albeit at a slower pace. Just let us
 know what you are comfortable with.
 Regards,
 Brock Hudson | Vice President
 CBRE | Capital Markets | Debt & Structured Finance
 T 713-787-1942 | C 713-430-6431




                                                                                         EXHIBIT 23 PAGE 1 OF 1
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 164 of 182




               EXHIBIT 24
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 165 of 182
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 166 of 182
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 167 of 182
                                    ARMBRUST & BROWN, PLLC
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 168 of 182
                                              ATTORNEYS & COUNSELORS
                                                  100 Congress Avenue
PHONE: (512) 435-2300                                  Suite 1300
FACSIMILE: (512) 435-2360                        Austin, TX 78701-2744             Federal Tax I.D. No.: XX-XXXXXXX

                                                 Billing Summary



         KH-REIT II FUNDING XXII, LLC                                                           May 08, 2023
         RBROWN@KNIGHTHEADFUNDING.CO                                                       Client:        049115
         M                                                                                 Matter:        000101
         ,




For Professional Services Rendered Through April 30, 2023


                                              Account Summary

Invoice # Matter Name                           Previous Balance Current Invoice       Credits         Total Due
192137 2701 MAIN STREET (HOUSTON)




Please return with all remittance for proper credit.

Total due reflects payments received as of the date of this invoice.

Thank you.




Amount of Payment: _____________________________
                                      ARMBRUST & BROWN, PLLC
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 169 of 182
                                                 ATTORNEYS & COUNSELORS
                                                     100 Congress Avenue
PHONE: (512) 435-2300                                      Suite 1300
FACSIMILE: (512) 435-2360                          Austin, Texas 78701-2744                Federal Tax I.D. No.: XX-XXXXXXX




       KH-REIT II FUNDING XXII, LLC                                                                May 08, 2023
       RBROWN@KNIGHTHEADFUNDING.CO                                                                 Client:      049115
                                                                                                   Matter:      000101
       M                                                                                           Invoice #:   192137
       ,
                                                                                                   Page:                 1


       RE: 2701 MAIN STREET (HOUSTON)




       For Professional Services Rendered Through April 30, 2023




SERVICES


Date            Person    Description of Services                                                   Hours         Amount
4/4/2023           MBB    Further revisions to discovery letter; Email to R. Brown; Call with           2.4     $1,284.00
                          R. Brown; Draft settlement response letter.
4/4/2023           GAA    Review and revise discovery letter to opposing counsel.                       0.1        $39.00




4/17/2023          MBB    Call with Robert MacNaughton regarding amending scheduling                    2.2     $1,177.00
                          order and creating a date certain for mutual document
                          exchange; Draft same; Emails with R. Brown regarding same.
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 170 of 182
                                                                        May 08, 2023
                                                                        Client:      049115
                                                                        Matter:      000101
                                                                        Invoice #:   192137


                                                                        Page:            2


SERVICES


Date         Person   Description of Services                            Hours      Amount




PERSON RECAP


Person                                          Level          Hours       Rate     Amount
MBB      MATTHEW BAUMGARTNER                    PARTNERS                $535.00
GAA      GUILLERMO A ALARCON               $390.00
                                             ASSOCIATES
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 171 of 182
                                                             May 08, 2023
                                                             Client:      049115
                                                             Matter:      000101
                                                             Invoice #:   192137


                                                             Page:            3



                              Total Services
                              Total Current Charges
                              Previous Balance
                              PAY THIS AMOUNT
                                    ARMBRUST & BROWN, PLLC
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 172 of 182
                                              ATTORNEYS & COUNSELORS
                                                  100 Congress Avenue
PHONE: (512) 435-2300                                  Suite 1300
FACSIMILE: (512) 435-2360                        Austin, TX 78701-2744             Federal Tax I.D. No.: XX-XXXXXXX

                                                 Billing Summary



         KH-REIT II FUNDING XXII, LLC                                                           June 15, 2023
         RBROWN@KNIGHTHEADFUNDING.CO                                                       Client:         049115
         M                                                                                 Matter:         000101
         ,




For Professional Services Rendered Through May 31, 2023


                                              Account Summary

Invoice # Matter Name                           Previous Balance Current Invoice       Credits         Total Due
193198 2701 MAIN STREET (HOUSTON)




Please return with all remittance for proper credit.

Total due reflects payments received as of the date of this invoice.

Thank you.




Amount of Payment: _____________________________
                                    ARMBRUST & BROWN, PLLC
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 173 of 182
                                              ATTORNEYS & COUNSELORS
                                                  100 Congress Avenue
PHONE: (512) 435-2300                                  Suite 1300
FACSIMILE: (512) 435-2360                        Austin, TX 78701-2744             Federal Tax I.D. No.: XX-XXXXXXX

                                                 Billing Summary



         KH-REIT II FUNDING XXII, LLC                                                           July 06, 2023
         RBROWN@KNIGHTHEADFUNDING.CO                                                       Client:         049115
         M                                                                                 Matter:         000101
         ,




For Professional Services Rendered Through June 30, 2023


                                              Account Summary

Invoice # Matter Name                           Previous Balance Current Invoice       Credits         Total Due
193678 2701 MAIN STREET (HOUSTON)




Please return with all remittance for proper credit.

Total due reflects payments received as of the date of this invoice.

Thank you.




Amount of Payment: _____________________________
                                     ARMBRUST & BROWN, PLLC
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 174 of 182
                                               ATTORNEYS & COUNSELORS
                                                   100 Congress Avenue
PHONE: (512) 435-2300                                    Suite 1300
FACSIMILE: (512) 435-2360                        Austin, Texas 78701-2744                  Federal Tax I.D. No.: XX-XXXXXXX




       KH-REIT II FUNDING XXII, LLC                                                                July 06, 2023
       RBROWN@KNIGHTHEADFUNDING.CO                                                                 Client:         049115
                                                                                                   Matter:         000101
       M                                                                                           Invoice #:      193678
       ,
                                                                                                   Page:                 1


       RE: 2701 MAIN STREET (HOUSTON)




       For Professional Services Rendered Through June 30, 2023




SERVICES


Date            Person   Description of Services                                                    Hours          Amount




6/26/2023         MBB    Draft discovery letter to opposing counsel. Email to Knighthead                2.4     $1,284.00
                         personnel regarding same, and regarding depositions.




                                             Total Professional Services



PERSON RECAP


Person                                             Level                          Hours               Rate         Amount
MBB         MATTHEW BAUMGARTNER                    PARTNERS                                        $535.00
GAA         GUILLERMO A ALARCON                    ASSOCIATES                                      $390.00
       Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 175 of 182
                                                                    July 06, 2023
                                                                    Client:         049115
                                                                    Matter:         000101
                                                                    Invoice #:      193678


                                                                    Page:                2


DISBURSEMENTS


Date     Description of Disbursements                                               Amount




                                        Total Services
                                        Total Disbursements
                                        Total Current Charges
                                        Previous Balance
                                        PAY THIS AMOUNT
                                    ARMBRUST & BROWN, PLLC
             Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 176 of 182
                                              ATTORNEYS & COUNSELORS
                                                  100 Congress Avenue
PHONE: (512) 435-2300                                  Suite 1300
FACSIMILE: (512) 435-2360                        Austin, TX 78701-2744             Federal Tax I.D. No.: XX-XXXXXXX

                                                 Billing Summary



         KH-REIT II FUNDING XXII, LLC                                                          August 15, 2023
         RBROWN@KNIGHTHEADFUNDING.CO                                                       Client:         049115
         M                                                                                 Matter:         000101
         ,




For Professional Services Rendered Through July 31, 2023


                                              Account Summary

Invoice # Matter Name                           Previous Balance Current Invoice       Credits         Total Due
194959 2701 MAIN STREET (HOUSTON)




Please return with all remittance for proper credit.

Total due reflects payments received as of the date of this invoice.

Thank you.




Amount of Payment: _____________________________
                                     ARMBRUST & BROWN, PLLC
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 177 of 182
                                               ATTORNEYS & COUNSELORS
                                                   100 Congress Avenue
PHONE: (512) 435-2300                                    Suite 1300
FACSIMILE: (512) 435-2360                        Austin, Texas 78701-2744                  Federal Tax I.D. No.: XX-XXXXXXX




       KH-REIT II FUNDING XXII, LLC                                                                August 15, 2023
       RBROWN@KNIGHTHEADFUNDING.CO                                                                 Client:        049115
                                                                                                   Matter:        000101
       M                                                                                           Invoice #:     194959
       ,
                                                                                                   Page:                 1


       RE: 2701 MAIN STREET (HOUSTON)




       For Professional Services Rendered Through July 31, 2023




SERVICES


Date            Person   Description of Services                                                    Hours         Amount




7/20/2023          GAA   Meeting with M. Baumgartner regarding deposition of S. Jamea;                  2.2       $858.00
                         emails with R. MacNaughton regarding deposition of B.
                         Espinosa; prepare for deposition of S. Jamea.
7/25/2023          GAA   Review documents in preparation for deposition; prepare                       13.4     $5,226.00
                         deposition outline; compile and prepare exhibits for deposition
                         of S. Jamea.
7/26/2023          GAA   Travel to and from Houston for deposition of S. Jamea.                        10.8     $4,212.00
7/27/2023          MBB   Discuss deposition and post-deposition motions and third-part                  0.5       $267.50
                         subpoenas with G. Alarcon.

                                             Total Professional Services
         Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 178 of 182
                                                                           August 15, 2023
                                                                           Client:        049115
                                                                           Matter:        000101
                                                                           Invoice #:     194959


                                                                           Page:              2




PERSON RECAP


Person                                    Level                    Hours      Rate      Amount
MBB      MATTHEW BAUMGARTNER              PARTNERS                         $535.00
GAA      GUILLERMO A ALARCON              ASSOCIATES                       $390.00

DISBURSEMENTS


Date       Description of Disbursements                                                 Amount

             OSTING/GB - KH REIT




                                           Total Services
                                           Total Disbursements
                                           Total Current Charges
                                           Previous Balance
                                             Less Payments
                                           PAY THIS AMOUNT
                Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 179 of 182
                                                    Fee Transaction Listing
                                                                                                       Entry by: All
      Listing Order: Timekeeper, Transaction Date, Client-Matter Code                                   Person: All
              Client: KH-REIT II FUNDING XXII, LLC                                                      Service: All
             Matter: 2701 MAIN STREET (HOUSTON)                                                       Fee State: (Incomplete) (UnReleased) (Released)
              Date:    12/30/1899     through    8/31/2023                                           Fee Status: (Selected) (Deferred)
 Record           Date        Prsn Stat                                       Description                                       Time         Amount

Client: 049115 - KH-REIT II FUNDING XXII, LLC                   Matter: 000101 - 2701 MAIN STREET (HOUSTON)
 1509486 8/24/2023 GAA S          Draft motion to compel and for discovery sanctions.                  4.9  $1,911.00
 1509488 8/25/2023 GAA S          Draft motion to compel and for sanctions.                            6.8 $2,652.00
 1509489 8/29/2023 GAA S          Draft motion to compel and for sanctions; compile exhibits for same. 5.2  $2,028.00
 1509490 8/30/2023 GAA S          Compile exhibits for motion to compel.                               3.7  $1,443.00
 1509491 8/31/2023 GAA S          Finalize motion to compel and exhibits.                              5.5  $2,145.00




 1505697 8/14/2023 MBB S                   Call with Robert MacNaughton re settlement and discovery issues;                         0.4         $214.00
                                           Begin draft of motion to compel;
 1505718 8/14/2023 MBB S                   Call with Robert MacNaughton re settlement and discovery issues;                         0.8         $428.00
                                           Draft follow-up letter re same;
 1506120 8/15/2023 MBB S                   Draft and send settlement letter to R. MacNaughton;                                      0.5        $267.50
 1508288 8/27/2023 MBB S                   Review and revise motion to compel and for sanctions; send same to                       2.2       $1,177.00
                                           R. Brown for client edits and comments;
                                                                                                   Matter Total

                                                                                           Fee Transaction Listing Total




Page: 1                                                           ARMBRUST & BROWN, PLLC                                                 08/31/2023 02:44pm
Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 180 of 182




               EXHIBIT 25
            Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 181 of 182

To:       Shahin Jamea[sjamea@oxberrygroup.com]
Cc:       Amy Graham[a.graham@elementarchitects.com]; Patrick Helemann[p.helemann@elementarchitects.com]; Barry
Espinosa[bespinosa@oxberrygroup.com]
From:     Michael Graham[graham@elementarchitects.com]
Sent:     Wed 3/1/2023 8:06:46 PM (UTC)
Subject: RE: Oxberry Payment Plan

 We understand and accept those terms. Thank you

 Michael Graham
 Partner / Principal
 Architect in TX, AZ, CO, CT, FL, GA, IL, IN, KY, LA, MD, MI, ME, MN, NV, NJ, NC, OK, PA, SC, TN




 1250 Wood Branch Park Dr, Suite 480, Houston, TX, 77079
 832. 300. 0236 | Direct
 713. 874. 0775 | Main
 713. 471. 4884 | Mobile




 From: Shahin Jamea <sjamea@oxberrygroup.com>
 Sent: Wednesday, March 1, 2023 1:44 PM
 To: Michael Graham <graham@elementarchitects.com>
 Cc: Amy Graham <a.graham@elementarchitects.com>; Patrick Helemann <p.helemann@elementarchitects.com>; Barry Espinosa
 <bespinosa@oxberrygroup.com>
 Subject: RE: Oxberry Payment Plan

                                                       ** Caution External Sender**



 Michael,

 First, I’m sorry that we’re at this junction. As a developer, this feels like 2008 all over again with investors bailing on us and not
 fulfilling their promises to fund pre-development expenses.

 I want to be upfront and clear with you. The development entity for this project and your contractual counter-party, Grant
 Meadows, L.L.C., doesn’t have any cash to fulfill its contractual obligations to you on the remaining $100K you’ve invoiced. The
 land has fallen out of contract and the seller is actively marketing the property for sale. As with many of other deals, there are no
 buyers yet and the land still on the market. I feel that Grant Meadows, L.L.C. would be the best buyer for the property when
 conditions improve but cannot be certain that it will end up with the land.

 I am willing to pay you $25K out of my own pocket today and another $25K on 4/1/23. This will come from me personally.

 As to the last $50K remaining, Grant Meadows, L.L.C. will agree to pay that only if it gains control of the land and is able to move
 forward with the deal. Me personally, or Oxberry Group, cannot give you any assurance of that. Also, should Grant Meadows, L.L.C.
 gain control of the land again, and in exchange for the $50K payment, it would expect you to continue performing under the
 original contract and finish the permitting/drawings per the contract. Of course we understand there would be additional fees
 under the contract as the project moves thru design and permitting to construction administration.

 Please discuss and let me know. If you approve, I can have check cut today.



                                                                                             EXHIBIT 25 PAGE 1 OF 2
           Case 4:22-cv-03730 Document 24-1 Filed on 08/31/23 in TXSD Page 182 of 182



Shahin “Sean” Jamea, J.D.
Principal


From: Michael Graham <graham@elementarchitects.com>
Sent: Wednesday, March 1, 2023 10:48 AM
To: Shahin Jamea <sjamea@oxberrygroup.com>
Cc: Amy Graham <a.graham@elementarchitects.com>; Patrick Helemann <p.helemann@elementarchitects.com>
Subject: Oxberry Payment Plan

Sean,
I spoke to my Partner and we agreed to work with you on the payment plan you suggested. To summarize our conversation from
yesterday:
      • You will pay $25,000 today
      • A second payment of $25,000 on 4/1/23
      • A third $50,000 payment at some later date.
      • You’re confident the project will move forward at some point, and we’re willing to work with you on these flexible
      payment terms.

I appreciate you recognizing this is a large amount for us and agreeing to pay out of pocket. Please keep us apprised of the status
of the project.
Best Regards,

Michael Graham
Partner / Principal
Architect in TX, AZ, CO, CT, FL, GA, IL, IN, KY, LA, MD, MI, ME, MN, NV, NJ, NC, OK, PA, SC, TN




1250 Wood Branch Park Dr, Suite 480, Houston, TX, 77079
832. 300. 0236 | Direct
713. 874. 0775 | Main
713. 471. 4884 | Mobile




                                                                                         EXHIBIT 25 PAGE 2 OF 2
